     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 1 of 142 PageID #:
                                       42313                                          1



07:44:33    1                 IN THE UNITED STATES DISTRICT COURT

            2                  FOR THE EASTERN DISTRICT OF TEXAS

            3                           MARSHALL DIVISION

            4   PERSONALIZED MEDIA                )(

            5   COMMUNICATIONS, LLC,              )(

            6         PLAINTIFF,                  )(    CIVIL ACTION NO.

            7                                     )(    2:15-CV-1366-JRG-RSP

            8   VS.                               )(    MARSHALL, TEXAS

            9                                     )(

           10   APPLE INC.,                       )(    MARCH 15, 2021

           11         DEFENDANT.                  )(    9:22 A.M.

           12             TRANSCRIPT OF VOIR DIRE OF THE JURY PANEL

           13             BEFORE THE HONORABLE JUDGE RODNEY GILSTRAP

           14                  UNITED STATES CHIEF DISTRICT JUDGE

           15

           16   FOR THE PLAINTIFF:         Mr. Douglas J. Kline
                                           Mr. J. Anthony Downs
           17                              Mr. Kevin P. Martin
                                           Mr. Robert Frederickson, III
           18                              GOODWIN PROCTER, LLP
                                           100 Northern Avenue
           19                              Boston, MA 02210

           20   COURT REPORTER:            Ms. Shelly Holmes, CSR, TCRR
                                           Official Court Reporter
           21                              United States District Court
                                           Eastern District of Texas
           22                              Marshall Division
                                           100 E . Houston
           23                              Marshall, Texas 75670
                                           (903) 923-7464
           24
                (Proceedings recorded by mechanical stenography, transcript
           25   produced on a CAT system.)
Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 2 of 142 PageID #:
                                  42314                                          2



     1   FOR THE PLAINTIFF:           Ms. Alexandra D. Valenti
                                      Ms. Autumn E. Soucy
     2                                GOODWIN PROCTER, LLP
                                      The New York Times Building
     3                                620 Eighth Avenue
                                      New York, NY 10018-1405
     4
                                      Mr. S. Calvin Capshaw, III
     5                                Ms. Elizabeth DeRieux
                                      CAPSHAW DERIEUX, LLP
     6                                114 E. Commerce Avenue
                                      Gladewater, TX 75647
     7
         FOR THE DEFENDANT:           Mr. Gregory S. Arovas
     8                                Mr. Robert A. Appleby
                                      Mr. Alan Rabinowitz
     9                                Mr. Jonathan D. Brit
                                      KIRKLAND & ELLIS, LLP
    10                                601 Lexington Avenue
                                      New York, NY 10022
    11
                                      Mr. Marcus E. Sernel
    12                                Ms. Meredith Zinanni
                                      Mr. Jake Rambeau
    13                                KIRKLAND & ELLIS, LLP
                                      300 North LaSalle Street
    14                                Suite 2400
                                      Chicago, IL 60654
    15
                                      Mr. Ellisen S. Turner
    16                                KIRKLAND & ELLIS, LLP
                                      2049 Century Park East
    17                                Suite 3700
                                      Los Angeles, CA 90067
    18
                                      Mr. Sean M. McEldowney
    19                                KIRKLAND & ELLIS, LLP
                                      655 15th Street NW
    20                                Suite 1200
                                      Washington, DC 20005
    21
                                      Ms. Melissa R. Smith
    22                                GILLAM & SMITH, LLP
                                      303 South Washington Avenue
    23                                Marshall, TX 75670

    24

    25
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 3 of 142 PageID #:
                                       42315                                           3



            1                        P R O C E E D I N G S

            2           (Venire panel in.)

07:44:33    3           COURT SECURITY OFFICER:        All rise.

07:44:34    4           THE COURT:     Thank you.     Be seated, please.

09:22:24    5           Good morning, ladies and gentlemen.           Thank you for

09:22:33    6   being here.

09:22:35    7           My name is Rodney Gilstrap, and I am the Chief

09:22:40    8   United States District Judge for the United States District

09:22:41    9   Court for the Eastern District of Texas.

09:22:42   10           I have lived here in Marshall, Texas, since 1981.

09:22:49   11   I practiced law in this community and in this general East

09:22:53   12   Texas area for 30 years.      And after practicing law for 30

09:22:56   13   years, I was nominated and confirmed as a United States

09:23:01   14   District Judge in 2011.

09:23:02   15           So I've had this job since then.           I will make a

09:23:07   16   small confession to all of you.        I wasn't born in Texas.         I

09:23:11   17   was born in Florida.     But I got here as quickly as I could.

09:23:16   18   I came to Texas at the ripe old age of 18 and enrolled as a

09:23:22   19   student at Baylor University.       I finished my college work

09:23:26   20   there and stayed and went to law school at Baylor

09:23:29   21   University School of Law.

09:23:30   22           I am married.      I have two grown children.         And my

09:23:33   23   wife owns and operates a retail floral business here in

09:23:36   24   Marshall.

09:23:36   25           Now, I tell you all these things about myself
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 4 of 142 PageID #:
                                       42316                                          4



09:23:39    1   because in a few minutes, I'm going to ask each of you to

09:23:43    2   give the same kind of information to me about yourselves.

09:23:46    3   And I think you're entitled to know as much about me as I'm

09:23:49    4   going to shortly find out about each of you all.

09:23:52    5            We are about to engage in the selection of a jury

09:23:56    6   in a civil case involving allegations of patent

09:23:59    7   infringement.

09:24:00    8            However, before we go any further, I'd like to

09:24:06    9   briefly mention some of the public health and safety

09:24:09   10   precautions that we're going to be taking during this

09:24:12   11   trial.

09:24:13   12            Each of you should have got a letter signed by me

09:24:15   13   when you were summonsed setting forth a great number of the

09:24:19   14   public health precautions that we're going to be

09:24:22   15   implementing throughout this trial.         There will be some

09:24:24   16   additional safeguards that I'll discuss with you as we go

09:24:27   17   through the trial process.

09:24:28   18            However, the eight of you that are selected to

09:24:33   19   serve as the jury in this case, and we will select eight of

09:24:36   20   you to serve as the jury, I'll be implementing these

09:24:41   21   precautions with regard to our eight-member jury.

09:24:44   22            Throughout the trial, the jury will have their

09:24:47   23   temperature taken each morning when they enter the

09:24:50   24   courthouse with a handheld thermometer.          Once the jury is

09:24:56   25   seated in the jury box, I'm going to ask those eight
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 5 of 142 PageID #:
                                       42317                                          5



09:24:59    1   persons to replace these cloth or material masks that

09:25:03    2   you're wearing with either a see-through mask or a face

09:25:11    3   shield.   And if you'd like to, you can wear both.

09:25:15    4             But it's an important part of the trial process

09:25:17    5   for the lawyers and the Court to be able to see the faces

09:25:21    6   of the jury, to read their expressions, to have an idea of

09:25:26    7   whether what I'm saying to you or the lawyers are arguing

09:25:29    8   in front of you is getting through or not getting through.

09:25:34    9   It's necessary for the trial to be what it should be for

09:25:37   10   the jury's faces to be seen.

09:25:39   11             So, those of you that are selected to serve as our

09:25:43   12   eight-person jury, once you're seated in the box, I'm going

09:25:46   13   to ask you to take off a mask that can't be seen through

09:25:50   14   and covers up about three-fourths of your face, and put on

09:25:54   15   a plastic replacement, either a face shield or a plastic

09:25:57   16   mask, or if you'd like to, both.

09:25:59   17             But as I say, it's critical for the process to

09:26:01   18   work as it should for the lawyers and the jury to be able

09:26:06   19   to see each other's faces.

09:26:07   20             The lawyers are going to remain with their masks

09:26:11   21   at counsel table, but whenever they speak to the jury,

09:26:13   22   whenever they examine a witness, they will go to the

09:26:16   23   podium, and at the podium, they will remove their mask, and

09:26:19   24   when they're finished, they'll put their mask back on when

09:26:23   25   they go back to counsel table.       So you'll see their faces,
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 6 of 142 PageID #:
                                       42318                                          6



09:26:26    1   they'll see your faces, and the witnesses will unmask at

09:26:30    2   the witness stand, so when that part of the process goes

09:26:32    3   on, everybody will see everybody.

09:26:33    4           Also, we're going to seat our eight-person jury in

09:26:38    5   our jury box so that there'll be four people on the first

09:26:43    6   row spread out with an empty chair between you, and the

09:26:45    7   second four people will be on the back row spread out with

09:26:48    8   an empty chair between you.       No two people on the jury will

09:26:52    9   be seated directly side-by-side.

09:26:54   10           Also, during the course of the trial, the Court

09:26:56   11   has ordered that the clerk's office provide lunches for the

09:27:00   12   jury in the jury room.     So you are not going to leave the

09:27:04   13   courthouse and go out to the community -- into the

09:27:07   14   community and mix and mingle with the general public and

09:27:09   15   then come back to the courthouse.

09:27:11   16           Your lunches will be brought to you when we break

09:27:13   17   for lunch, and you'll have those in the jury room, so each

09:27:18   18   day when you arrive, you'll be in this building until the

09:27:21   19   end of the day when I send you home until the next day.

09:27:24   20   You won't be coming and going from the building.

09:27:27   21           Again, that's a -- one of the safety precautions

09:27:29   22   that we're going to implement.

09:27:31   23           Also, each night when the jury leaves, a special

09:27:37   24   cleaning will take place in the jury room, the jury box,

09:27:41   25   and the restrooms.     There are two separate sets of
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 7 of 142 PageID #:
                                       42319                                            7



09:27:44    1   restrooms that are adjacent to the jury room.           All three of

09:27:48    2   those areas will be deeply cleaned or specially cleaned

09:27:51    3   each evening in addition to the general cleaning that goes

09:27:55    4   on in the courtroom.

09:27:56    5           Also, you probably can't see them, but there are

09:27:58    6   two new air filtration systems we've added to the

09:28:02    7   courtroom.   They're right in front of the bar on each far

09:28:04    8   end of the room, and they'll be filtering the air with

09:28:09    9   commercial filtration throughout the process of the trial.

09:28:12   10           So we've done, in short, ladies and gentlemen,

09:28:15   11   everything we can think of to minimize any public health

09:28:18   12   risk and to make this trial as safe as we can make it.                And

09:28:22   13   I wanted to make sure you were aware of that.           If there are

09:28:25   14   other precautions you need to be made aware of, I will

09:28:28   15   mention those to you as we go forward.

09:28:30   16           The key and the purpose of all of this is not only

09:28:33   17   do we have a fair and impartial trial, but we have a fair,

09:28:36   18   impartial, and a safe trial.

09:28:38   19           Now, if you'll indulge me a minute, I'd like to

09:28:43   20   briefly review with you how we came to have our American

09:28:47   21   civil jury trial system.

09:28:48   22           If you go back in ancient history and if you begin

09:28:52   23   with the Pentateuch, the first five books of the Old

09:28:56   24   Testament, you'll find that the ancient Hebrew nation

09:28:59   25   empaneled juries for the purpose of establishing property
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 8 of 142 PageID #:
                                       42320                                            8



09:29:03    1   ownership and property value.       The ancient Greeks began

09:29:06    2   using a jury system about 1500 BC.

09:29:10    3           The Romans, as they did with many things, copied

09:29:14    4   the jury system from the Greeks.        And it was the Romans who

09:29:18    5   brought the jury system to what is now Great Britain or

09:29:22    6   England in the 4th Century AD when they crossed the English

09:29:26    7   Channel and conquered that island.

09:29:28    8           So, the jury system came to Great Britain in the

09:29:32    9   4th Century AD.    By the 12th Century AD, there had been 800

09:29:37   10   years of an active and robust jury system in England.             But

09:29:41   11   in the 12th century, a tyrannical king came to the throne

09:29:46   12   of Great Britain named King John, and King John became

09:29:53   13   embroiled in various disputes with his nobles that led that

09:29:58   14   country to the verge of a civil war.

09:30:01   15           One of those disputes was King John's efforts to

09:30:03   16   do away with the right to trial by jury.          That series of

09:30:06   17   disputes did not ripen into a civil war.          A resolution of

09:30:09   18   all the disputes between King John and his nobles was

09:30:12   19   reached at a place in England called Runnymede where the

09:30:15   20   king and his nobles executed a document that you probably

09:30:19   21   have all heard of before.      That document is called the

09:30:22   22   Magna Carta.

09:30:23   23           In fact, ladies and gentlemen, you might be

09:30:27   24   interested to know that 28 of our 50 United States have

09:30:30   25   adopted in their own state constitutions the exact language
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 9 of 142 PageID #:
                                       42321                                          9



09:30:35    1   from the Magna Carta that guarantees the right to trial by

09:30:39    2   jury.

09:30:40    3           So you can see that our founding fathers as

09:30:46    4   British colonists when they came to this country were well

09:30:51    5   learned in and familiar with the jury trial system, and

09:30:53    6   that followed them to North America when Great Britain

09:30:57    7   colonized what's now our country.

09:31:00    8           And the jury trial system flourished in colonial

09:31:06    9   America under the rule of Great Britain for over a hundred

09:31:10   10   years until another tyrannical king came to the throne of

09:31:16   11   Great Britain.    This time his name was King George, III and

09:31:20   12   King George, III as you remember from American history

09:31:22   13   became embroiled with his American colonists on a great

09:31:26   14   number of issues.    One of the issues amongst all of the

09:31:28   15   others was King George, III's attempt to do away with the

09:31:33   16   right to trial by jury in colonial America.

09:31:35   17           In fact, when Thomas Jefferson sat down to write

09:31:38   18   the Declaration of Independence setting forth the various

09:31:42   19   reasons and disputes and issues that necessitates -- or

09:31:47   20   necessitated our country separating from Great Britain and

09:31:51   21   forming our own independent nation, the effort to curtail

09:31:56   22   the right to trial by jury was specifically spelled out by

09:31:59   23   Thomas Jefferson in the Declaration of Independence.

09:32:02   24           If you get the Declaration of Independence and you

09:32:04   25   read it, you will find one of the complaints against the
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 10 of 142 PageID #:
                                       42322                                           10



09:32:08    1   British Crown necessitating our separation and independence

09:32:12    2   was the effort to curtail the right to trial by jury.

09:32:15    3            So you can see, ladies and gentlemen, that the

09:32:18    4   right to trial by jury was an important part of our

09:32:21    5   founding as an independent country.

09:32:23    6            And, in fact, when we gained our independence and

09:32:28    7   after several years we adopted the governing document that

09:32:32    8   is the Supreme law of the land in this country, the

09:32:36    9   Constitution of the United States, the right to trial by

09:32:41   10   jury was incorporated into the Constitution as a part of

09:32:45   11   the first 10 amendments known as the Bill of Rights.

09:32:48   12            And the Seventh Amendment to the United States

09:32:50   13   Constitution which was ratified in 1791 specifically

09:32:55   14   guarantees the right to trial by jury to resolve civil

09:32:58   15   disputes between American citizens.

09:32:59   16            So since 1791, for well over 200 years, every

09:33:07   17   American has had the right, the constitutionally guaranteed

09:33:10   18   right to resolve their civil disputes through a trial by

09:33:14   19   jury.

09:33:14   20            I will let you know that I personally view the

09:33:22   21   right to trial by jury as one of the most important rights

09:33:25   22   we have as Americans, and I hope those of you that

09:33:28   23   participate in this trial will come to see it for the

09:33:33   24   invaluable institution that it is, as you participate in

09:33:37   25   the process as we go forward.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 11 of 142 PageID #:
                                       42323                                           11



09:33:38    1              Now, during the course of this trial, the lawyers

09:33:45    2   are going to ask you various questions as a part of their

09:33:51    3   efforts, along with the Court, to help secure a fair and an

09:33:53    4   impartial jury to hear the issues in this case.

09:33:56    5              I want you to understand when the lawyers ask you

09:33:59    6   questions, they're not trying to pry into your personal

09:34:04    7   affairs.    They're not attempting to be nosy.         They are

09:34:07    8   attempting to ask pertinent questions to secure -- or help

09:34:11    9   secure a fair and an impartial jury.

09:34:13   10              The important thing for each of you on the

09:34:17   11   panel -- the venire panel to remember is when these

09:34:22   12   questions will be asked there are no wrong answers.             As

09:34:24   13   long as your responses to the questions asked are full,

09:34:28   14   complete, and truthful, then there are no wrong answers to

09:34:31   15   any of the questions that you'll be asked today.

09:34:33   16              Also, ladies and gentlemen, I don't expect there

09:34:39   17   to be any improper questions asked of the panel.             These are

09:34:43   18   experienced trial lawyers on both sides of this case.                They

09:34:46   19   understand the Federal Rules of Civil Procedure, they

09:34:49   20   understand the local rules of this Court, they understand

09:34:52   21   the Court's rulings on specific matters in this case.

09:34:56   22              If a question should be asked that I view as

09:34:59   23   improper, I will certainly stop them.          But I don't

09:35:02   24   anticipate that happening.       These are very experienced

09:35:04   25   trial counsel.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 12 of 142 PageID #:
                                       42324                                           12



09:35:05    1            Also, ladies and gentlemen, I don't know if this

09:35:09    2   will happen today.     It rarely does, but it's within the

09:35:13    3   realm of possibility, as they say, so I'm going to mention

09:35:16    4   it to you.   If you're asked a question that you view in

09:35:20    5   your own personal mind and in your own circumstances is so

09:35:24    6   private and so personal that you're not comfortable

09:35:28    7   answering that question in front of everybody in the room,

09:35:31    8   you always have the right to simply say, I'd like to talk

09:35:35    9   about that with Judge Gilstrap.

09:35:36   10            And if you answer in that way, I will provide an

09:35:41   11   opportunity where you can answer that question outside of

09:35:44   12   the presence of everybody else on the panel.

09:35:46   13            I don't expect that to happen.         It rarely comes

09:35:49   14   up, but if it should come up, you have the ability to give

09:35:53   15   that answer and I'll respond accordingly.

09:35:57   16            Now, this case is going to begin the trial as soon

09:36:03   17   as we select the jury today.       So we will actually start the

09:36:06   18   case later today after the jury is selected.           And I'm --

09:36:10   19   it's my expectation that the case will go throughout the

09:36:13   20   rest of this week, and it will either end on Friday of this

09:36:18   21   week, or it's possible it could carry over until Monday of

09:36:21   22   next week.

09:36:21   23            So today is the 15th, as Shakespeare would say,

09:36:27   24   beware of the ides of March, but I expect the case to

09:36:32   25   finish either on the 19th, which is Friday of this week, or
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 13 of 142 PageID #:
                                       42325                                           13



09:36:35    1   maybe -- hopefully not, but maybe on Monday, the 22nd,

09:36:39    2   which would be Monday of next week.         That's an estimate,

09:36:42    3   ladies and gentlemen.

09:36:42    4             Trials are not precise scientific events.           But

09:36:47    5   that's my best estimate.      And I need to know at this time

09:36:51    6   if there are any of you who are on the panel that if you

09:36:56    7   were selected, you would have a serious impediment to being

09:37:00    8   able to be present throughout the trial, whether it ends on

09:37:05    9   this Friday or whether it ends on Monday of next week.

09:37:09   10             And by that, I mean if you have a surgical

09:37:12   11   procedure scheduled for yourself or a member of your

09:37:15   12   immediate family who is dependent upon you, then that's

09:37:20   13   something I need to know about.        If you have

09:37:25   14   business-related travel that is prepaid and non-refundable

09:37:28   15   and you're going to jeopardize your job if you don't go,

09:37:32   16   that also qualifies.

09:37:35   17             But if there's something of a very serious nature

09:37:38   18   that would be an impediment to you being present throughout

09:37:42   19   the trial, then that's something I need to know about.

09:37:45   20             If there's anybody that believes you have a

09:37:48   21   situation like that, I need you to raise your hands,

09:37:51   22   please.

09:37:51   23             All right.    I don't see any hands in the

09:37:57   24   courtroom.   Thank you very much.

09:37:58   25             Now, I'm going to call for announcements at this
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 14 of 142 PageID #:
                                       42326                                           14



09:38:05    1   time in the case of Personalized Media Communications, LLC,

09:38:10    2   versus Apple Inc.       This is Civil Case No. 2:15-CV-1366.

09:38:17    3              Ladies and gentlemen, not all of the respective

09:38:20    4   trial teams are here in the courtroom based on social

09:38:24    5   distancing concerns.       They will be here after the jury is

09:38:28    6   selected and seated and we begin the trial, and I'm going

09:38:31    7   to allow counsel to introduce everybody on their trial

09:38:34    8   teams once the entirety of their respective trial teams are

09:38:38    9   present.

09:38:38   10              But at this time, I'm going to call for

09:38:41   11   announcements on the record from the parties.            What says

09:38:43   12   the Plaintiff?

09:38:44   13              MS. DERIEUX:     Elizabeth DeRieux on behalf of

09:38:46   14   Plaintiff, Personalized Media Communications, and we are

09:38:50   15   ready to proceed, Your Honor.

09:38:51   16              THE COURT:     Thank you.

09:38:51   17              What says the Defendant?

09:38:53   18              MS. SMITH:     Good morning, Your Honor.      Melissa

09:38:55   19   Smith on behalf of Apple, the Defendant.          I'm joined by

09:38:58   20   Mr. Greg Arovas, and we're ready to proceed, Your Honor.

09:39:00   21              THE COURT:     Thank you.

09:39:01   22              As I told you, ladies and gentlemen, this is a

09:39:07   23   case arising under the patent laws of the United States.

09:39:11   24   And what the Plaintiff, Personalized Media Communications,

09:39:14   25   which you're going to hear referred to throughout the trial
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 15 of 142 PageID #:
                                       42327                                            15



09:39:17    1   either as simply the Plaintiff, or probably for short

09:39:21    2   you'll hear the Personalized Media Communications referred

09:39:24    3   to as PMC.

09:39:26    4            What the Plaintiff, PMC, is claiming is that a

09:39:30    5   patent which it owns was infringed by the Defendant, Apple

09:39:34    6   Inc.   And you'll hear the Defendant referred to either

09:39:37    7   simply as the Defendant or Apple throughout the trial.                 And

09:39:44    8   the Plaintiff is seeking money damages because of that

09:39:47    9   alleged infringement.

09:39:50   10            Now, the Defendant, Apple, denies that it

09:39:52   11   infringes the Plaintiff's patent, and Apple contends that

09:39:55   12   that patent is invalid.

09:39:56   13            Now, what I've just told you is a very shorthand

09:40:01   14   version of describing the case in layman's terms.

09:40:05   15            I know you've all seen the video prepared by the

09:40:08   16   Federal Judicial Center which was played to you by the

09:40:11   17   clerk's office this morning.       And having seen that, you

09:40:14   18   already know more about patent cases than most citizens do

09:40:17   19   when they arrive for jury duty.

09:40:19   20            As I mentioned, the lawyers on both sides are

09:40:22   21   about to question the panel as an effort to obtain

09:40:26   22   information to help them properly discharge their duty to

09:40:29   23   help the Court secure a fair and an impartial jury.

09:40:32   24            Again, they are not trying to pry into your

09:40:35   25   affairs unduly.    They're simply trying to gain relevant
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 16 of 142 PageID #:
                                       42328                                           16



09:40:39    1   information for that important purpose.          And as I

09:40:42    2   mentioned, the answers to their questions, as long as your

09:40:45    3   responses are full, complete, and truthful, there will be

09:40:48    4   no wrong answers.

09:40:49    5            One thing I do want to mention to you, ladies and

09:40:55    6   gentlemen, because it's possible the lawyers will ask you

09:40:58    7   about your ability to apply this, if you're selected on the

09:41:02    8   jury, is what's called the burden of proof.

09:41:04    9            In a patent case like this, the jury may be called

09:41:08   10   upon to apply two different burdens of proof.            The jury may

09:41:14   11   apply the burden of proof known as the preponderance of the

09:41:19   12   evidence, I'll say that again, the preponderance of the

09:41:25   13   evidence, as well as a second burden of proof known as

09:41:27   14   clear and convincing evidence, clear and convincing

09:41:32   15   evidence.

09:41:32   16            Now, when responding to lawyers' questions about

09:41:37   17   your ability to apply the burden of proof, I need to

09:41:39   18   instruct you that when any party has the burden of proof on

09:41:42   19   any claim or defense by a preponderance of the evidence, it

09:41:46   20   means that the jury must be persuaded by the credible or

09:41:50   21   believable evidence that that claim or defense is more

09:41:54   22   probably true than not true.       Let me say that again for

09:42:00   23   emphasis, more probably true than not true.

09:42:04   24            This is sometimes talked about as being the

09:42:07   25   greater weight and degree of credible testimony.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 17 of 142 PageID #:
                                       42329                                           17



09:42:08    1              Let me give you an example that I hope will be

09:42:12    2   helpful.    If you'll look in front of me and in front of our

09:42:16    3   court reporter, you should be able to see in the courtroom

09:42:19    4   a statue of the Lady of Justice.        She's blindfolded.       She

09:42:23    5   holds lowered at her right side the sword of justice.

09:42:26    6              She holds raised in her left hand the Scales of

09:42:31    7   Justice.    The Scales of Justice are balanced and equal,

09:42:35    8   exactly the same.     And that's where these two parties

09:42:38    9   should start out in this case, in exactly the same balanced

09:42:43   10   and equal position.

09:42:43   11              But when you think about the burden of proof,

09:42:45   12   think about over the course of the trial, the Plaintiff

09:42:47   13   will put on their case, and that evidence will go on one

09:42:50   14   side of the scales, and the Defendant will put on their

09:42:52   15   case, and their evidence will go on the other side of the

09:42:56   16   scales.

09:42:56   17              And then when all the evidence is in, all the

09:42:59   18   evidence for both parties has been placed on one side or

09:43:02   19   the other of those scales, you, the jury, will be asked

09:43:05   20   certain questions, and if the party who has the burden of

09:43:09   21   proof on that question by a preponderance of the evidence

09:43:13   22   has the scales tip in their favor, even if they tip ever so

09:43:18   23   slightly, then they have met the burden of proof of a

09:43:21   24   preponderance of the evidence, more probably true than not

09:43:29   25   true, the greater weight and degree of credible testimony.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 18 of 142 PageID #:
                                       42330                                           18



09:43:32    1            On the other hand, the second burden of proof that

09:43:36    2   the jury will be called upon to apply is known as clear and

09:43:40    3   convincing evidence.      Clear and convincing evidence, ladies

09:43:47    4   and gentlemen, means that the jury must have an abiding

09:43:52    5   conviction that the truth of the party's factual

09:43:55    6   contentions are highly probable.        I'll say that again for

09:43:59    7   emphasis, an abiding conviction that the truth of the

09:44:03    8   party's factual contentions are highly probable.

09:44:08    9            This clear and convincing evidence standard is a

09:44:11   10   higher burden of proof than the preponderance of the

09:44:14   11   evidence standard.

09:44:16   12            If you think about the same example with the

09:44:18   13   statue of Lady Justice that I gave you and the evidence for

09:44:23   14   both parties is placed on their respective sides of those

09:44:27   15   scales and the scales start off equal and balanced, at the

09:44:31   16   end of the trial, if a party has the burden of proof on an

09:44:36   17   issue by clear and convincing evidence, to meet that burden

09:44:39   18   of proof those scales must tip in their favor.

09:44:42   19            And they must tip more than ever so slightly, they

09:44:46   20   must definitely tip in that party's favor.           And if they do,

09:44:50   21   then that party meets the burden of proof known as clear

09:44:52   22   and convincing evidence.

09:44:52   23            Now, it's important for you to understand that

09:44:56   24   neither of these burdens of proof should be confused with a

09:45:01   25   third and separate and unrelated burden of proof that I'm
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 19 of 142 PageID #:
                                       42331                                           19



09:45:05    1   sure you've all heard about on television and in the media

09:45:08    2   called beyond a reasonable doubt.

09:45:10    3            Beyond a reasonable doubt is the burden of proof

09:45:13    4   applied in a criminal case.       It has absolutely no

09:45:18    5   application whatsoever in a civil case like this.             You

09:45:25    6   should not confuse clear and convincing evidence with

09:45:28    7   beyond a reasonable doubt.       It is not as high a standard as

09:45:31    8   beyond a reasonable doubt.       But it is a higher standard

09:45:35    9   than the preponderance of the evidence.

09:45:37   10            Now, I give you these instructions, as I say, in

09:45:41   11   case either or both sides in their questioning of you ask

09:45:44   12   about your ability to apply those two burdens of proof in

09:45:48   13   this case if you're selected to serve as a jury -- a juror.

09:45:52   14            Now, before the lawyers address the panel, I'm

09:45:57   15   going to ask each of you one at a time to now tell me as

09:46:00   16   much about you as I told you about me when I came out here

09:46:03   17   this morning.    You should see on the screens in front of

09:46:06   18   you, and you may have laminated copies, I'm not sure, but

09:46:10   19   you should have access to nine specific questions that I'm

09:46:18   20   going to ask each of you to answer.         And we're going to do

09:46:21   21   this in the following fashion:

09:46:22   22            Both of these Court Security Officers will be in

09:46:25   23   the gallery with two separate handheld microphones.             When

09:46:31   24   it's your turn to answer those questions, if you will

09:46:34   25   stand, if you will either lower or remove your masks so I
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 20 of 142 PageID #:
                                       42332                                           20



09:46:37    1   can see the entirety of your face, and the lawyers can,

09:46:39    2   too, and if you will then take a handheld microphone given

09:46:43    3   to you by one of the Court Security Officers, then holding

09:46:46    4   that microphone close enough to where we can hear

09:46:49    5   everybody -- everybody can hear in this big room, then

09:46:51    6   answer those nine questions.

09:46:53    7              And when you've finished answering those nine

09:46:56    8   questions, hand the handheld microphone back to the Court

09:47:00    9   Security Officer, raise your mask, and have a seat.             That's

09:47:03   10   how we're going to do it.

09:47:04   11              And the reason we're using two handheld

09:47:07   12   microphones is after Panel Member No. 1 answers those nine

09:47:14   13   questions, then that microphone will be cleaned and

09:47:18   14   disinfected, and the second microphone will be used with

09:47:22   15   the second person, and we'll follow that process

09:47:24   16   throughout.    So none of you are going to get a microphone

09:47:27   17   that hasn't been wiped down and disinfected and cleaned

09:47:31   18   just before you get it.      I wanted you to be aware of that,

09:47:34   19   as well.

09:47:35   20              And we'll do that throughout all the members of

09:47:37   21   the panel, and we'll begin with Panel No. 1, and if I can

09:47:46   22   ask the Court Security Officers to take their place, and

09:47:50   23   we'll go through and let each member of the panel answer

09:47:52   24   these nine questions.

09:48:01   25              All right.   We'll begin with Panel Member No. 1,
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 21 of 142 PageID #:
                                       42333                                           21



09:48:05    1   Mr. Jones.

09:48:06    2              JUROR JONES:     James Jones.    I live in McLeod,

09:48:10    3   Texas.     I have two kids.       I work for Nix Trucking.     Been

09:48:14    4   there for two years.       I haul chips.     High school diploma.

09:48:21    5   My wife's name is Jennifer Jones.          She works for HealthCARE

09:48:24    6   Express.     She works the front desk.       She's been there for

09:48:29    7   right at two years.       And I have no prior jury services.

09:48:32    8              THE COURT:     All right.    Thank you, Mr. Jones.

09:48:34    9              We'll go next to Panel Member No. 2, Ms. Haley.

09:48:40   10              JUROR HALEY:     My name is Debra Haley.      I have four

09:48:52   11   grown children and numerous grandchildren.           I don't work

09:48:58   12   anymore other than at home.          I have -- I did work as a

09:49:05   13   sitting service.     I managed a sitting service.         I did that

09:49:09   14   for about 10 years before I got remarried and retired.

09:49:12   15              THE COURT:     And when you say "sitting service,"

09:49:14   16   you mean go into people's homes?

09:49:16   17              JUROR HALEY:     For the elderly.     It's for the

09:49:17   18   elderly.

09:49:17   19              THE COURT:     And sitting for the elderly.       Thank

09:49:19   20   you.

09:49:19   21              JUROR HALEY:     I didn't do that -- I did do that

09:49:22   22   part a little bit, but mainly I just -- I managed the

09:49:25   23   office.     I did the paperwork and scheduling.

09:49:27   24              THE COURT:     Okay.    Thank you.   Please continue.

09:49:31   25              JUROR HALEY:     My educational background, a high
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 22 of 142 PageID #:
                                       42334                                           22



09:49:34    1   school diploma.     And my spouse's name is Revis Haley.             And

09:49:38    2   he doesn't work.     He's retired Army/Air Force.         And he's

09:49:43    3   been retired for a few years.        And I -- the only thing I've

09:49:50    4   ever done was the grand jury.        I did that a couple years

09:49:53    5   ago.

09:49:53    6              THE COURT:   All right, ma'am.      Thank you very

09:49:54    7   much.

09:49:56    8              Next is Panel No. 3 -- Panel Member No. 3,

09:50:01    9   Ms. Goodman.

09:50:02   10              JUROR GOODMAN:    My name is Beth Goodman.        I live

09:50:09   11   in Daingerfield, Texas.      I have one child.       I am employed

09:50:15   12   by the Daingerfield Housing Authority as a clerk.             I've

09:50:20   13   worked there approximately four years.          I had one year of

09:50:24   14   college.    My spouse's name is Jim.       He is employed at the

09:50:30   15   Morris County Sheriff's Department as a jailer.            He's

09:50:36   16   worked there approximately four months.          And I've had one

09:50:42   17   prior jury service in a civil case.

09:50:43   18              THE COURT:   And where was that prior jury service,

09:50:46   19   ma'am?

09:50:47   20              JUROR GOODMAN:    In Morris County.

09:50:49   21              THE COURT:   In state court?      There's not a federal

09:50:51   22   court in Morris County.

09:50:53   23              JUROR GOODMAN:    No, no, it was -- it must have

09:50:55   24   been state court.

09:50:55   25              THE COURT:   What kind of case was it, do you
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 23 of 142 PageID #:
                                       42335                                           23



09:50:57    1   remember?

09:50:57    2              JUROR GOODMAN:    It had to do with a high school

09:50:59    3   student, theft.

09:51:00    4              THE COURT:   All right.     Thank you very much,

09:51:02    5   ma'am.

09:51:02    6              All right.   Next is Panel Member No. 4, Mr. Cox.

09:51:09    7              JUROR COX:   My name is James Cox.

09:51:15    8              THE COURT:   Hold the microphone a little closer,

09:51:17    9   Mr. Cox.

09:51:17   10              JUROR COX:   My name is James Cox.

09:51:20   11              THE COURT:   Check that and see if it's working.

09:51:22   12   I'm not hearing Mr. Cox.

09:51:28   13              JUROR COX:   Hello.

09:51:29   14              THE COURT:   Now you're good.      Go ahead.

09:51:30   15              JUROR COX:   My name is James Cox.       I have two

09:51:33   16   children.     Place of employment, I work for American

09:51:36   17   Electric Power as an instrumentation technician working

09:51:41   18   with computers, instruments, whatever.          Been there 16

09:51:44   19   years.     Educational background, high school degree --

09:51:46   20   education, Associate's degree in electronics.            Spouse's

09:51:51   21   name is Sheila Cox.     She works for the Daingerfield School

09:51:55   22   District as a coach and teacher.        She's been there about

09:52:01   23   15, 16 years.     Jury service, no, sir.

09:52:05   24              THE COURT:   All right.     Thank you, Mr. Cox.

09:52:07   25              Next is Panel Member No. 5, Mr. Parker.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 24 of 142 PageID #:
                                       42336                                           24



09:52:15    1            JUROR JAMES PARKER:       Hello.    All right.     My name

09:52:18    2   is James Parker.     I live here in Marshall, Texas.          I have

09:52:22    3   three children.     I work for Christus Good Shepherd out of

09:52:26    4   Longview.     And I've been there for 14 years.        My

09:52:31    5   educational is for biomedical equipment technician.

09:52:35    6   Spouse's name is Sabrina Parker, and she just started work

09:52:39    7   for Blue Cross Blue Shield for about a week and a half.                No

09:52:44    8   prior service.

09:52:44    9            THE COURT:     And what do you do for Christus Good

09:52:48   10   Shepherd?

09:52:49   11            JUROR JAMES PARKER:       I'm the biomedical

09:52:50   12   technician.

09:52:51   13            THE COURT:     All right, sir.

09:52:52   14            JUROR JAMES PARKER:       Work on the patient

09:52:53   15   equipment.

09:52:53   16            THE COURT:     Thank you, sir.

09:52:54   17            And next is Panel Member No. 6, Mr. Overstreet.

09:53:01   18            JUROR OVERSTREET:      My name is Arthur Overstreet.

09:53:05   19            THE COURT:     Could you take that -- could you pull

09:53:06   20   that mask down, Mr. Overstreet?

09:53:09   21            JUROR OVERSTREET:      Yes, sir.

09:53:10   22            THE COURT:     Thank you.

09:53:11   23            JUROR OVERSTREET:      My name is Arthur Overstreet.

09:53:14   24   And I lived in Camp County all my life.          I have three

09:53:20   25   children.     Workplace is Hiland Dairy in Tyler, Texas.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 25 of 142 PageID #:
                                       42337                                           25



09:53:24    1            THE COURT:     What do you do for them, sir?

09:53:26    2            JUROR OVERSTREET:      Shipping and receiving.

09:53:30    3            THE COURT:     Okay.

09:53:32    4            JUROR OVERSTREET:      And high school diploma.

09:53:35    5   Pittsburg High School diploma and divorced.

09:53:40    6            THE COURT:     All right.     What about prior jury

09:53:41    7   duty?

09:53:42    8            JUROR OVERSTREET:      Yes, sir.     It's been months ago

09:53:45    9   here in Tyler -- here in Marshall.

09:53:45   10            THE COURT:     In this court?

09:53:47   11            JUROR OVERSTREET:      Yes, sir.

09:53:47   12            THE COURT:     And you say it's been months ago?

09:53:49   13            JUROR OVERSTREET:      No. It's been probably years.

09:53:51   14            THE COURT:     Okay.   What kind of -- do you remember

09:53:54   15   what kind of case it was?

09:53:55   16            JUROR OVERSTREET:      It was a patent.

09:53:57   17            THE COURT:     All right.     And you served on the

09:53:59   18   jury.   Did you serve as a foreperson or a member of the

09:54:04   19   jury?

09:54:05   20            JUROR OVERSTREET:      Member of the jury but they

09:54:06   21   settled out of court.

09:54:06   22            THE COURT:     Okay.   You didn't return a verdict?

09:54:08   23            JUROR OVERSTREET:      No.

09:54:08   24            THE COURT:     Okay.   Thank you very much.

09:54:08   25            JUROR OVERSTREET:      Thank you.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 26 of 142 PageID #:
                                       42338                                               26



09:54:13    1              THE COURT:   That's very helpful.

09:54:14    2              Next is Panel Member No. 7, Ms. Parker.          We've got

09:54:18    3   at least two Parkers in our group.

09:54:21    4              JUROR KALEY PARKER:     My name is Kaley Parker.        I

09:54:26    5   live in Queen City, Texas.       I do have two children that we

09:54:29    6   adopted.     I currently work for the Queen City ISD.          I'm a

09:54:35    7   special education teacher assistant.          I have a high school

09:54:40    8   diploma with a year of college.          My husband is David

09:54:44    9   Parker.     He works for Chevron.     He is -- works in the

09:54:47   10   oilfield obviously, logistics coordinator, and also takes

09:54:51   11   over the COVID testing for all offshore rigs, and he's been

09:54:55   12   there for 11 years.      And I have no prior jury services.

09:54:59   13              THE COURT:   Thank you, Ms. Parker.

09:55:01   14              Next is No. 8, Panel Member No. 8, Mr. Moore.

09:55:08   15              JUROR BRIAN MOORE:     Yes.    I'm Brian Moore from

09:55:09   16   Atlanta, Texas.     I have three children, two stepchildren.

09:55:13   17   I work for Baker Hughes Petrolite, Upstream Chemicals.                 I

09:55:18   18   am a driver there.      Been there for eight years.        I have a

09:55:21   19   high school diploma.      My spouse's name is Rita Moore.          She

09:55:27   20   is disabled.     And I have no prior jury services.

09:55:30   21              THE COURT:   All right, sir.      Thank you, Mr. Moore.

09:55:32   22              Next is Panel Member No. 9, Mr. Quarles.

09:55:38   23              JUROR QUARLES:    My name is Jerry Quarles.        I live

09:55:42   24   in Hallsville, Texas.       Been there 37 years.      Have two grown

09:55:46   25   sons.     Work for AP SWEPCO for 37 years, Pirkey Power Plant
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 27 of 142 PageID #:
                                       42339                                           27



09:55:52    1   in plant operations in various positions.           Educational is

09:55:57    2   high school diploma.       My spouse's name is Brenda.          She was

09:56:01    3   a librarian aid for 20 years in Hallsville High School,

09:56:08    4   school districts.       And no prior service.

09:56:12    5              THE COURT:     All right, sir, thank you,

09:56:16    6   Mr. Quarles.

09:56:16    7              Next is Panel Member No. 10, Ms. Smith.

09:56:22    8              JUROR SMITH:     Hello, my name is Angelique Smith.

09:56:27    9   I live in Diana, Texas.       I have two children, one grown

09:56:31   10   that has moved out and one still in high school.            I

09:56:32   11   currently work for myself as a metal scrapper and flipper

09:56:35   12   and part-time construction.       I've been doing that for about

09:56:39   13   the last four years after being injured at Walmart after 13

09:56:44   14   years there.     My educational background is high school

09:56:46   15   diploma.     I've been divorced for eight years, something

09:56:50   16   like that.     And I served on a jury in Gilmer, Texas a

09:56:55   17   number of years ago, which was a domestic violence alleging

09:57:00   18   attempted murder and ended in a mistrial.

09:57:02   19              THE COURT:     Thank you very much.

09:57:03   20              Next is Panel Member No. 11, Mr. Thomas.

09:57:09   21              JUROR THOMAS:     Good morning, Your Honor.

09:57:20   22              THE COURT:     Good morning.

09:57:21   23              JUROR THOMAS:     My name is James Thomas.       I live in

09:57:24   24   Marshall, Texas.     I've got two grown children.         I'm

09:57:27   25   currently the building superintendent for Harrison County.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 28 of 142 PageID #:
                                       42340                                           28



09:57:30    1   I've been there for four years.        I've got a high school

09:57:33    2   diploma, and I'm not married, and I've served on a civil

09:57:37    3   case in a state's district court.

09:57:39    4            THE COURT:     How long ago?

09:57:41    5            JUROR THOMAS:     It's been over roughly a year ago.

09:57:43    6            THE COURT:     All right.     Do you remember what kind

09:57:44    7   of case it was?

09:57:45    8            JUROR THOMAS:     I believe it was a suit over -- I

09:57:51    9   don't remember exactly.      It was some suit, Judge, been a

09:57:54   10   while.

09:57:54   11            THE COURT:     All right.     Thank you.

09:57:55   12            All right.     Next is Panel Member No. 12,

09:57:59   13   Ms. Turner.

09:58:00   14            JUROR TURNER:     Good morning.      Jeanette Turner.

09:58:05   15   Live in Marshall, Texas.      Two children.      I'm retired from

09:58:09   16   the University of Texas Health Science Center at Tyler as a

09:58:16   17   human resources and benefits manager.          I worked there 24

09:58:19   18   years, eight months.      College diploma.      Divorced.     I've

09:58:25   19   served on one civil jury at the 71st District Court here in

09:58:30   20   Marshall, Texas.

09:58:31   21            THE COURT:     How long ago has that been,

09:58:33   22   Ms. Turner?

09:58:34   23            JUROR TURNER:     That has been about 10 years.

09:58:36   24            THE COURT:     Do you remember what the case was

09:58:37   25   about?
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 29 of 142 PageID #:
                                       42341                                           29



09:58:38    1              JUROR TURNER:     It was about an accident.

09:58:40    2              THE COURT:    Okay.   Thank you very much, ma'am.

09:58:43    3              JUROR TURNER:     Yes, sir.

09:58:44    4              THE COURT:    Next is Panel Member No. 13, Mr. Rand.

09:58:47    5              JUROR RAND:     Hi, my name is Flemon Rand.       I've got

09:58:51    6   one grown daughter.      I work for JBS/Pilgrim's Pride and

09:58:57    7   before that I worked for U.S. Steel for 32 years.

09:59:01    8   Education, high school and some technical hours for

09:59:08    9   wastewater management, water management.          Spouse is Juanita

09:59:14   10   Rand.   Retired.   Last jury service was a criminal murder

09:59:19   11   case.   And he pleaded -- he wound up pleading guilty to the

09:59:25   12   charge before we had a chance to make our decision in the

09:59:28   13   jury.

09:59:28   14              THE COURT:    Where was that, Mr. Rand?

09:59:31   15              JUROR RAND:     Upshur County.

09:59:35   16              THE COURT:    And what did your wife do before she

09:59:38   17   retired?

09:59:39   18              JUROR RAND:     She was a state resource officer

09:59:41   19   for -- applying for Medicaid/Medicare.

09:59:44   20              THE COURT:    Thank you, sir.

09:59:46   21              JUROR RAND:     Yes, sir.

09:59:47   22              THE COURT:    All right.      Next is Panel Member

09:59:48   23   No. 14, Ms. Washington.

09:59:50   24              JUROR WASHINGTON:     My name is Janie Washington.          I

09:59:56   25   live here in Marshall, Texas.          I have three adult children.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 30 of 142 PageID #:
                                       42342                                           30



09:59:59    1   I work for Marshall Pottery, Deroma, and I've been there

10:00:07    2   for 23 years.    And I have a high school diploma, and I also

10:00:16    3   have a beauty salon.      I'm not married.      And I did two --

10:00:27    4   served jury twice.

10:00:28    5             THE COURT:    And where was that, ma'am, here in

10:00:30    6   Marshall?

10:00:32    7             JUROR WASHINGTON:     Here in Marshall.

10:00:33    8             THE COURT:    Okay.   And what kind of case was that

10:00:34    9   -- cases was that?

10:00:35   10             JUROR WASHINGTON:     One was theft and the other was

10:00:39   11   drug trafficking.

10:00:40   12             THE COURT:    And what do you do for Deroma?

10:00:44   13             JUROR WASHINGTON:     Warehouse and shipping manager.

10:00:46   14             THE COURT:    Okay.   And you said you had a beauty

10:00:48   15   parlor or something like that.         Does that mean you actually

10:00:51   16   operate one in addition to your other job?

10:00:54   17             JUROR WASHINGTON:     Yes, sir, to supplement my

10:00:56   18   income.

10:00:57   19             THE COURT:    Okay.   That's what I thought.        Thank

10:00:58   20   you, ma'am.

10:01:00   21             JUROR WASHINGTON:     Yes.

10:01:00   22             THE COURT:    Next is No. 15, Ms. Moore.

10:01:04   23             JUROR CAROLYN LOUISE MOORE:        I'm Carolyn Moore.        I

10:01:06   24   live in Union Grove.      I have two grown children.        And I

10:01:09   25   work at Seymour's part-time.       And worked for Dillard's
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 31 of 142 PageID #:
                                       42343                                           31



10:01:15    1   cosmetics for 30 years.      I have a high school background

10:01:18    2   plus training in the cosmetology.         Not married.     And I have

10:01:22    3   never served on a jury.

10:01:23    4              THE COURT:   Thank you, Ms. Moore.

10:01:25    5              Next is Panel Member No. 16, Ms. Gibbons.

10:01:29    6              JUROR GIBBONS:    My name is Rachel Gibbons.        I live

10:01:35    7   in Jefferson, Texas, and I've lived there for almost 10

10:01:38    8   years.     I have four children, one is graduated last year

10:01:42    9   and the other three are still in school.          And then I do not

10:01:49   10   work.     I've been a stay-at-home mom.      And done that for 19

10:01:55   11   years.

10:01:56   12              THE COURT:   You work plenty hard.       You just don't

10:01:58   13   work outside the home.

10:02:03   14              JUROR GIBBONS:    I was a high school drop-out.         I

10:02:05   15   was on the wrong path then.       And, yeah, I've straightened

10:02:09   16   up, though.     My spouse's name is Milam Gibbons, and he

10:02:14   17   works at ProFrac as a driver/trainer, he teaches people how

10:02:17   18   to drive 18-wheelers, and he's worked there for

10:02:21   19   approximately three years.       And I have never served on jury

10:02:26   20   duty.

10:02:26   21              THE COURT:   Good.   Thank you, ma'am.

10:02:28   22              All right.   Next is No. 17, Ms. Dotson.

10:02:33   23              JUROR DOTSON:    Good morning.     My name is Melissa

10:02:37   24   Dotson.     I have two adult children.      I live in Marshall.

10:02:43   25   Work for MHC Kenworth.      I've been with them a little over
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 32 of 142 PageID #:
                                       42344                                           32



10:02:50    1   four years.   I'm a lead counter -- so I sell the parts.

10:02:54    2   I'm married to Chris Dotson, who works for Longview Police

10:02:57    3   Department.   He's been with them currently 15 years.

10:03:00    4   Before that he was with another department for 15 years.

10:03:06    5   No prior jury service.

10:03:09    6            THE COURT:     All right.     And I assume MHC Kenworth

10:03:14    7   is a trucking company?

10:03:15    8            JUROR DOTSON:     Yes, sir.     It's a service and

10:03:17    9   part's department.     It's a dealership.

10:03:19   10            THE COURT:     All right.     Thank you, ma'am.

10:03:21   11            JUROR DOTSON:     You're welcome.

10:03:22   12            THE COURT:     All right.     Next is No. 18, Mr. Groce.

10:03:28   13            JUROR GROCE:     Good morning.      My name is Vernon

10:03:33   14   Groce.   And I live in Atlanta, Texas.         I have three

10:03:36   15   children, two boys and a girl.        And I'm the pastor of Holly

10:03:41   16   Street Church of God.

10:03:43   17            I've been there for nine years.          I've been

10:03:47   18   pastoring about 32 years.       I have a high school education

10:03:49   19   and a chaplains license and ministerial expert training.

10:03:49   20   And my wife's name is Tabitha Groce and she works for the

10:03:57   21   Atlanta school district as a teacher's aid, and she's been

10:04:00   22   there about two years, I believe, and I've never been

10:04:03   23   selected for a jury.

10:04:04   24            THE COURT:     All right.     Sir, thank you very much.

10:04:10   25            Next is No. 19, Ms. Pierce.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 33 of 142 PageID #:
                                       42345                                           33



10:04:16    1             JUROR PIERCE:    Hi, my name is Traquaysha Pierce

10:04:21    2   and I live in Marshall, Texas.        I have no kids and I'm

10:04:25    3   currently unemployed.      I have a high school diploma.         And I

10:04:32    4   have never been to jury service.

10:04:33    5             THE COURT:    All right.     Ma'am, thank you.

10:04:35    6             Next is No. 20, Mr. Ladish or Ladish.

10:04:40    7             JUROR LADISH:    Good morning, my name is Ken

10:04:42    8   Ladish.

10:04:43    9             THE COURT:    Ladish.

10:04:44   10             JUROR LADISH:    And I'm from Gilmer, Texas.         I've

10:04:46   11   got three grown children.       Currently I'm retired.        I used

10:04:50   12   to work for JW Power as an inventory coordinator too where

10:04:57   13   I balanced inventory and closed out work orders and made

10:05:00   14   sure the projected dollar amount matched the ending dollar

10:05:07   15   amount.   I was there for a little over 25 years doing that.

10:05:12   16   I dropped out as a junior in college.          And I'm divorced.

10:05:15   17   And I've had no previous jury service.

10:05:18   18             THE COURT:    All right.     Thank you, sir.

10:05:20   19             Next is Panel Member No. 21, Ms. Blevins.

10:05:32   20             JUROR BLEVINS:     I am Dawn Blevins.      I live in

10:05:35   21   Marshall, Texas.     I have three Children.       I work at Scott

10:05:39   22   Industries.   What we do there is we process, manufacture

10:05:46   23   the components of specialized cylinders for hydraulics,

10:05:51   24   pneumatics, oilfield use.       And I receive the purchased

10:05:56   25   material test reports throughout the entire company.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 34 of 142 PageID #:
                                       42346                                               34



10:05:59    1            There's 13 plants in the United States and one up

10:06:01    2   in Canada.   And I do all the invoicing for, processing, and

10:06:04    3   sales at my plant location.       I've been there 15 years.            I

10:06:08    4   have a high school diploma and some college.           I am widowed.

10:06:16    5   My husband did floor installation for the nine years that

10:06:19    6   we were married and did that before then, and I've never

10:06:22    7   served on a jury.

10:06:23    8            THE COURT:     Thank you, Ms. Blevins.

10:06:24    9            Next is Panel Member No. 22.

10:06:29   10            JUROR FRUIA:     My name is Robin Fruia.        I live in

10:06:35   11   Gilmer, Texas.    I have four children.        My place of

10:06:40   12   employment is Longview Community Ministries.           We provide

10:06:47   13   emergency food and financial assistance for families in

10:06:51   14   crisis in Longview.     I've worked there for 10 years.          I

10:06:54   15   have a Bachelor's degree.       My husband is Tracy Fruia, he

10:06:59   16   works at CHRISTUS Good Shepherd in Longview.

10:07:04   17            He's a perfusionist and he's been there for 32

10:07:05   18   years.   And I served on a criminal case in Gregg County

10:07:08   19   many years ago, but it was settled, so I wasn't there for

10:07:15   20   too long.

10:07:15   21            THE COURT:     And that was your only prior jury

10:07:17   22   duty.

10:07:19   23            JUROR FRUIA:     Yes, sir.

10:07:20   24            THE COURT:     Thank you very much, ma'am.

10:07:22   25            Next is Panel Member No. 23, Ms. Davis.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 35 of 142 PageID #:
                                       42347                                            35



10:07:25    1            JUROR DAVIS:     My name is Jennifer Davis.          And I

10:07:27    2   live in Pittsburg, Texas.        I have one child.     I am

10:07:31    3   self-employed.     I have two small businesses.        I do online

10:07:35    4   sales and marketing.      I'm an independent Paparazzi

10:07:40    5   consultant.     My other job is I do construction clean-up and

10:07:45    6   residential clean-up.

10:07:46    7            I have worked at the first job as an independent

10:07:49    8   consultant for about seven months.         And my cleaning job,

10:07:55    9   I've had about eight years.        I have some college.        I have

10:07:59   10   some business certificates.        I have a certificate in

10:08:04   11   long-term care facilities as an activity director and a

10:08:09   12   dietary manager.     My husband's name is Bryan Davis.           He

10:08:13   13   works at Mid America Pet Food in Mt. Pleasant.            And he does

10:08:20   14   shipping, and he's worked there two or three years.              And I

10:08:25   15   haven't had no prior jury services.

10:08:27   16            THE COURT:     Okay.    Thank you, Ms. Davis.

10:08:29   17            Next is Panel Member No. 24, Ms. Nolan.

10:08:34   18            JUROR NOLAN:     Yes.    Hello.   My name is Mary Alise

10:08:37   19   Nolan.   I have three grown children.        I worked for Gilmer

10:08:41   20   ISD 29 years.     I'm an instructional coach there.           And I

10:08:44   21   coach teachers from 8th through 12th in English.              I --

10:08:47   22   educational background, I have a master's and an

10:08:51   23   administrative certification beyond that.           My spouse's name

10:08:53   24   is Scott Nolan.     His place of employment, he owns Nolan

10:08:59   25   Properties, which is a real estate brokerage.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 36 of 142 PageID #:
                                       42348                                           36



10:09:02    1              And he also is a painting contractor by trade.              He

10:09:04    2   has worked -- had that -- been a realtor for the past five

10:09:08    3   years and owned his own company for 35.          And I have had no

10:09:12    4   prior jury services.

10:09:12    5              THE COURT:     Thank you, ma'am.

10:09:13    6              Next is Panel Member No. 25, Ms. Miles.

10:09:18    7              JUROR MILES:     Good morning.     My name is Melissa

10:09:21    8   Miles.     I live in Marion County Texas on Monterey Lake.             I

10:09:29    9   have three adult children.       I work at the VA in Shreveport

10:09:32   10   as a registered nurse.       Worked there for 16 years.        I have

10:09:36   11   an Associate degree in nursing.        My husband's name is

10:09:41   12   Kevin.     He works at KLX Energy Services, he's a machinist.

10:09:47   13   He's been there for seven years.        And I have had no jury

10:09:51   14   service.

10:09:51   15              THE COURT:     All right.   Thank you, Ms. Miles.

10:09:52   16              Next is Panel Member No. 26, Ms. Alexander.

10:09:56   17              JUROR ALEXANDER:     I live in Hallsville, Texas.           I

10:10:00   18   have one child.     I'm a special education teacher at

10:10:03   19   Hallsville ISD.     I've worked for many years but I've worked

10:10:07   20   for Hallsville before.       I have a Bachelor's degree.        My

10:10:10   21   spouses's name is Daren Alexander, and he works for

10:10:13   22   Everything Marketing in Shreveport, and a web developer.

10:10:18   23   He's worked there for the last 10 years.          And I've never

10:10:21   24   been on a jury.

10:10:23   25              THE COURT:     All right.   Thank you, Ms. Alexander.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 37 of 142 PageID #:
                                       42349                                            37



10:10:25    1              Next is Panel Member No. 27, Ms. Bertussi.

10:10:31    2              JUROR BERTUSSI:     Hello.   My name is Rachelle

10:10:34    3   Bertussi.     I live in Hughes Springs, Texas.        I have no

10:10:37    4   children.     I work at Goldwater Bank processing and

10:10:40    5   coordinating mortgage loan applications.          Also, I work in a

10:10:47    6   salon on the weekends.       I have a certification in cosmetic

10:10:51    7   tattooing and am a licensed tattoo artist in Texas.             I have

10:10:57    8   a high school diploma and two years of college.            I am not

10:11:03    9   married.     And no prior jury service.

10:11:04   10              THE COURT:     Thank you, ma'am.

10:11:05   11              All right.     Next is Panel Member No. 28,

10:11:09   12   Ms. Black.

10:11:09   13              JUROR BLACK:     My name is Jodi Black.      I live in

10:11:17   14   Diana, Texas.     I have a son, a step-daughter, and I am

10:11:20   15   currently raising my two nieces.        I am a home health

10:11:24   16   pediatric nurse.     I've been with this company for 10 years.

10:11:30   17              THE COURT:     What company is that?

10:11:32   18              JUROR BLACK:      Berson Pediatrics home health.         I

10:11:39   19   am married to Drew Black, he works -- he's a plant manager

10:11:43   20   for Cactus Flow Products in Longview, but he also is a

10:11:47   21   crappie guide on the side, and he also runs 903 Outdoors.

10:11:54   22   It's a social media small business.         No prior jury

10:12:02   23   services.

10:12:03   24              THE COURT:     What about your educational

10:12:04   25   background, ma'am.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 38 of 142 PageID #:
                                       42350                                             38



10:12:05    1            JUROR BLACK:     Oh.    High school diploma and I am a

10:12:08    2   LVN nurse from Panola college.

10:12:12    3            THE COURT:     Thank you, ma'am.

10:12:13    4            All right.     Next is Panel Member No. 29,

10:12:16    5   Mr. McGriff.

10:12:18    6            JUROR MCGRIFF:      My name is Richard McGriff.         I

10:12:20    7   have two daughters.     I live in Marion County.         I work for

10:12:26    8   Prysmian Group in Scottsville.        Been there for 16 years.

10:12:27    9            THE COURT:     What was the name of that business,

10:12:30   10   sir?

10:12:30   11            JUROR MCGRIFF:      Prysmian, known as General Cable,

10:12:33   12   I guess, around here.

10:12:34   13            THE COURT:     I see.

10:12:36   14            JUROR MCGRIFF:      We got bought out a couple years

10:12:39   15   back.

10:12:39   16            THE COURT:     Right.    The word starts with a P.          I

10:12:41   17   see it on the sign when I drive down Highway 80.            I never

10:12:44   18   know how to pronounce it.

10:12:46   19            JUROR BLACK:     Yes, sir.

10:12:46   20            THE COURT:     Okay.

10:12:47   21            MR. MCGRIFF:     High school background.        My wife's

10:12:48   22   name is Ashley McGriff.      She works at Magnolia Place in

10:12:54   23   Jefferson.     She's been there for about a year as a nurse.

10:12:58   24   I served on one jury in Marion County.          I guess it would be

10:13:05   25   a criminal case.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 39 of 142 PageID #:
                                       42351                                           39



10:13:06    1            THE COURT:     How long ago?

10:13:09    2            JUROR MCGRIFF:      I want to say it was at least five

10:13:11    3   or six years ago.

10:13:12    4            THE COURT:     All right, sir.      Thank you very much.

10:13:14    5            JUROR MCGRIFF:      Thank you.

10:13:15    6            THE COURT:     Next is Panel Member No. 30,

10:13:18    7   Ms. Strong.

10:13:20    8            JUROR STRONG:     Hello, can you hear me?

10:13:22    9            THE COURT:     Yes, ma'am.

10:13:25   10            JUROR STRONG:     My name is Sally Strong.         I live in

10:13:28   11   Harleton.     I have one grown son.     I worked -- I'm retired

10:13:31   12   now but I worked for East Texas Council of Governments for

10:13:36   13   16 years.     Worked in the work force system improvement

10:13:37   14   department.     I was lead monitor for subsidized child care

10:13:42   15   services in east -- 14 counties of East Texas.            And I have

10:13:45   16   a Bachelor's degree.      My husband's name is Jeffrey.         He's

10:13:51   17   self-employed as a wireless Internet installer.            And he's

10:13:56   18   been doing that for about 17 years.         And I've never served

10:14:02   19   in a jury.

10:14:02   20            THE COURT:     Thank you, Ms. Strong.

10:14:03   21            All right.     Next is Panel Member No. 31,

10:14:08   22   Ms. Langley.

10:14:09   23            JUROR LANGLEY:      My name is Paulette Langley.         I

10:14:13   24   live in Marshall, Texas.      I have two grown children.         Two

10:14:17   25   boys.   My -- I'm retired, but I worked for Baker Hughes
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 40 of 142 PageID #:
                                       42352                                           40



10:14:25    1   Drilling Fluids for 22 years before.           And now I'm a

10:14:29    2   caregiver for my mother who has Alzheimer's, late stages.

10:14:39    3   We're going for the record how she can have it the longest.

10:14:43    4              And I worked at Baker Hughes for 22 years.            And I

10:14:46    5   had one year of college. My husband's name is Leslie

10:14:50    6   Langley.     He works for Witco or Pergan chemical, and he

10:14:54    7   works in the transportation department.           And he's worked

10:14:57    8   there 23 years, and I've worked -- I've done civil and

10:15:00    9   criminal.     I've served on a jury for civil and criminal

10:15:04   10   here in Marshall.

10:15:04   11              THE COURT:     Okay.   All right.     Ms. Langley, are

10:15:07   12   there other people that could provide care for your mother

10:15:09   13   if you were selected to serve?

10:15:12   14              JUROR LANGLEY:     Well, my husband took the day off

10:15:14   15   today, but I do have somebody I can --

10:15:18   16              THE COURT:     All right.

10:15:19   17              JUROR LANGLEY:     -- rely on.

10:15:21   18              THE COURT:     Thank you, ma'am.

10:15:22   19              Next is Panel Member No. 32, Mr. Adams.

10:15:25   20              JUROR ADAMS:     Good morning.      My name is Gary

10:15:30   21   Adams.     I live in Camp County.      I have one daughter.       I

10:15:34   22   retired after a 35-year career with BP Corporation.              My

10:15:39   23   background, I have a Bachelor of Science in mechanical

10:15:42   24   engineering and did graduate work in petroleum engineering.

10:15:45   25   My spouse's name is Janet.        She is retired also, also
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 41 of 142 PageID #:
                                       42353                                           41



10:15:49    1   worked as a florist.       And no prior jury service.

10:15:53    2              THE COURT:   All right.     Thank you, Mr. Adams.

10:15:56    3              Next is Panel Member No. 33, Ms. Carter.

10:16:00    4              JUROR CARTER:    Hello.   Sorry.    My name is Nancy

10:16:05    5   Carter.     I live in Gilmer, Texas.      I have three grown

10:16:08    6   children.     I teach economics at Tyler Junior College right

10:16:13    7   now.   I've been there for five years.         Prior to that, I

10:16:18    8   taught at other colleges and universities.

10:16:21    9              I have Bachelor's and Master's both in economics.

10:16:26   10   I have doctoral work in industrial engineering and in --

10:16:32   11   they called it educational computing, basically trying to

10:16:35   12   get better at teaching online.        So I have that.

10:16:38   13              My husband's name is Glen Carter.        He is retired.

10:16:43   14   He was a construction design engineer for the New Mexico

10:16:48   15   state highway department.       And, yeah, I -- he worked there

10:16:54   16   for 27 years.     And prior jury service, I served on a -- it

10:17:04   17   was criminal -- I think it was somewhere between insurance

10:17:08   18   fraud and theft.     That was the debate was which one it was

10:17:13   19   in New Mexico.     And then I was selected for a jury here in

10:17:19   20   Gilmer, but they settled when we broke to -- for everybody

10:17:25   21   to get ready, we came back to be seated, and it was

10:17:28   22   settled.     So I really don't know what it was about.

10:17:30   23              THE COURT:   All right.     Thank you, Ms. Carter.

10:17:32   24              All right.   Next is Panel Member No. 34,

10:17:36   25   Mr. Endsley.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 42 of 142 PageID #:
                                       42354                                           42



10:17:37    1              JUROR ENDSLEY:    Good morning.     My name is Darrell

10:17:42    2   Endsley.    And I live in Queen City, Texas.         And I have four

10:17:46    3   adult children.     I'm retired.      And I retired from the

10:17:52    4   Federal Bureau of Prisons after 30 years, and I lived in

10:17:55    5   Queen City all my life.      And I have a high school degree

10:18:00    6   and some college.

10:18:01    7              My wife's name is Shannon.       And she's retired as a

10:18:05    8   school teacher from Queen City Independent School District.

10:18:11    9   And she lived there probably about 25 years.           And I was on

10:18:14   10   a grand jury about 20 years ago for Cass County.

10:18:18   11              THE COURT:    All right.     And your wife worked for

10:18:21   12   Queen City ISD.

10:18:23   13              JUROR ENDSLEY:    Yes.

10:18:26   14              THE COURT:    Did you say 25 years?

10:18:26   15              JUROR ENDSLEY:    About 28 almost 30 years.

10:18:29   16              THE COURT:    Okay.     Thank you, sir.

10:18:30   17              All right.    Next is Panel Member No. 35, Ms. Bush.

10:18:34   18              JUROR BUSH:    Hello.     My name is Christine Bush and

10:18:41   19   I live in Harleton, Texas.         I have three grown children and

10:18:45   20   three grown stepchildren.        I work at Summer Meadows nursing

10:18:47   21   home and rehab in Longview, Texas.         And I'm an MDS

10:18:48   22   coordinator.    I've worked there for 16 years.          I have a

10:18:52   23   high school diploma and one year of junior college.             My

10:18:55   24   husband's name is Allen Bush.         He works for Lindenmeyr

10:19:02   25   Munroe.    It's formerly Olmsted-Kirk, and he's worked there
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 43 of 142 PageID #:
                                       42355                                           43



10:19:05    1   for 16 years.     And I've only served on a grand jury.

10:19:09    2              THE COURT:    What does your husband do, ma'am?

10:19:11    3              JUROR BUSH:     He is a -- he was a toilet paper

10:19:16    4   person during the coronavirus salesman.

10:19:19    5              THE COURT:    Okay.

10:19:19    6              JUROR BUSH:     So A salesman.

10:19:20    7              THE COURT:    All right.    Next is Panel Member No.

10:19:23    8   36.

10:19:24    9              JUROR HUKILL:     Good morning, my name is Henry

10:19:27   10   Hukill.     I live in Harleton. I have two kids, three step

10:19:31   11   kids.     I am currently employed with West Fraser, formerly

10:19:37   12   known as Norbord in Jefferson, Texas.          I'm in the finishing

10:19:41   13   department there.       I've been there for four years.        Prior

10:19:43   14   to that, I have 22 years retired Army.          I have a degree in

10:19:47   15   business.     My wife's name is Tracy.      She's a housewife.

10:19:50   16   Been a housewife for 10 years.        And I have never served on

10:19:55   17   any jury duty.

10:19:56   18              THE COURT:    All right, sir.     Thank you very much.

10:19:58   19              Next is Panel Member No. 37, Ms. Clawson.

10:20:02   20              JUROR CLAWSON:     My name is Catherine Clawson.        I'm

10:20:04   21   from Jefferson, Texas.       I have no kids.     I am a pumper for

10:20:10   22   Hart and McFarland Oil Producers.         I've been there for

10:20:12   23   about three years.       I'm currently in college.       I'm not

10:20:14   24   married.     And I have never served on a jury.

10:20:16   25              THE COURT:    Thank you, ma'am.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 44 of 142 PageID #:
                                       42356                                               44



10:20:17    1              Next is No. 38, Ms. Ferguson.

10:20:22    2              JUROR FERGUSON:    Hi, my name is Autumn Ferguson.

10:20:29    3   I live in Longview, Texas.       I don't have any children.            I

10:20:35    4   manage a video game and electronics store in Longview

10:20:38    5   called Game X Change.      I have worked there for six years.

10:20:45    6              I've been the manager for five.        I graduated high

10:20:49    7   school in 2014.     I'm not married, but I do have a live-in

10:20:54    8   spouse.     His name is Cody.    And he works at the same

10:20:57    9   business I do.     He's been there for 15 years.         And I've

10:21:02   10   never been on a jury.

10:21:03   11              THE COURT:   Thank you very much.

10:21:05   12              Next is No. 38, Mr. Driggers.

10:21:10   13              JUROR DRIGGERS:    Good morning.     My name is Casey

10:21:13   14   Driggers.     Live in Gilmer, Texas.      My children are

10:21:17   15   four-legged.     No human children.     I work for Broson

10:21:21   16   Incorporated out of Gilmer, Texas.         We own Custom

10:21:21   17   Commodities Transport and Elliot Truck Line.

10:21:27   18              I'm the executive vice president of safety and

10:21:29   19   personnel for that company.       I've worked there about five

10:21:33   20   years.     Have a high school diploma.      About two years of

10:21:39   21   college.     No degrees or certificates.       I do hold a Texas

10:21:47   22   Commission of Law Enforcement certificate license for the

10:21:52   23   past 12 years.     Currently reserve with the Gilmer Police

10:21:55   24   Department.

10:21:55   25              My spouse's name is Ashley Driggers.         She works
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 45 of 142 PageID #:
                                       42357                                           45



10:21:58    1   for ETEX Telephone Cooperative out of Gilmer.            She does a

10:22:03    2   little bit of everything there.        She's worked there about

10:22:06    3   12 years.    I am -- I cannot serve on a jury because nobody

10:22:14    4   will pick me because of my law enforcement.           But I have

10:22:17    5   testified and been an expert witness.

10:22:21    6              THE COURT:   You have served as a juror?

10:22:23    7              JUROR DRIGGERS:      No, sir.

10:22:24    8              THE COURT:   Okay.     Thank you, Mr. Driggers.

10:22:26    9              Next is No. 40, Mr. Berryhill.

10:22:31   10              JUROR BERRYHILL:      Morning.

10:22:31   11              THE COURT:   Morning.

10:22:32   12              JUROR BERRYHILL:      I'm Waymonn Berryhill.      I've

10:22:36   13   lived in Longview for 30 years.        Let's see, I have three

10:22:41   14   grown children.     I'm retired.     I worked last at Albertson's

10:22:50   15   as a scan coordinator.       What that is, is just determining

10:22:54   16   that the shelf price matches the computer.           I have a high

10:23:03   17   school diploma and about two years of college.            I'm a

10:23:08   18   widower.    Prior jury duty, I served on a criminal -- charge

10:23:20   19   here in Longview.

10:23:21   20              THE COURT:   All right, sir.

10:23:22   21              JUROR BERRYHILL:      Sorry, here in Marshall.

10:23:23   22              THE COURT:   How long ago has that been, sir?

10:23:26   23              JUROR BERRYHILL:      About 10 years ago.

10:23:28   24              THE COURT:   Thank you very much.

10:23:28   25              All right.   Ladies and gentlemen, thank you very
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 46 of 142 PageID #:
                                       42358                                           46



10:23:32    1   much for that information.

10:23:33    2            Now, I need to say a couple more things to you

10:23:37    3   before I turn the questioning over to the lawyers.

10:23:39    4            The jurors that are actually to serve as our

10:23:44    5   eight-person jury in this case will serve in the role as

10:23:47    6   the judges of the facts.      And the jury will make the sole

10:23:51    7   determination what the facts are in this case.

10:23:56    8            Now, my job as the judge is to rule on questions

10:24:01    9   of law, procedure, and evidence that might arise, to

10:24:03   10   maintain the decorum of the court, and to oversee an

10:24:07   11   efficient progression of the trial.

10:24:09   12            Also I want to say a couple things to you about

10:24:11   13   our judicial system that hopefully will put things in a

10:24:14   14   proper perspective for you.

10:24:15   15            In any jury trial, besides the parties themselves,

10:24:21   16   there are always three participants, the jury, the judge,

10:24:24   17   and the lawyers.

10:24:26   18            With regard to the lawyers, I think it's important

10:24:28   19   for each of you to understand that our judicial system is

10:24:32   20   an adversary system, which simply means that during the

10:24:36   21   course of the trial, each of the parties, through their

10:24:40   22   counsel, will attempt to present their respective cases to

10:24:44   23   the jury in the very best light possible.

10:24:46   24            Now, it's no surprise to any of you that lawyers

10:24:50   25   are sometimes criticized in the public and in the media,
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 47 of 142 PageID #:
                                       42359                                           47



10:24:55    1   but it's been the Court's perception that at least some of

10:24:58    2   that criticism comes from a basic misunderstanding of our

10:25:04    3   adversary system of justice in which the lawyers act as

10:25:08    4   advocates for the competing parties.

10:25:10    5            And as an advocate, a lawyer is ethically and

10:25:14    6   legally obligated to zealously assert his or her client's

10:25:19    7   position under the rules of our adversary system, and by

10:25:23    8   presenting the best case possible on behalf of their

10:25:26    9   respective clients, the lawyers hopefully will enable the

10:25:30   10   jury to better weigh the relevant evidence, to determine

10:25:33   11   the truth, and to arrive at a just verdict based on that

10:25:38   12   evidence.

10:25:38   13            This adversary system of justice has served our

10:25:42   14   nation well for well over 200 years, and America's lawyers

10:25:46   15   have been, are now, and will continue in the future to be

10:25:49   16   an indispensable part of this process.

10:25:52   17            So as we go forward with this trial, even though

10:25:57   18   it's possible over the course of the trial from time to

10:26:01   19   time I might frown at the lawyers, I'm simply trying to

10:26:05   20   make sure that their advocacy doesn't get outside the

10:26:11   21   boundaries of our adversary system and our rules of

10:26:13   22   procedure.

10:26:14   23            But those of you selected to serve on the jury

10:26:16   24   should keep in mind that the lawyers are just doing their

10:26:19   25   jobs, and I think it's important for all of to you
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 48 of 142 PageID #:
                                       42360                                           48



10:26:20    1   understand that as we go forward.

10:26:22    2             Also, ladies and gentlemen, for those of you

10:26:26    3   selected to serve on this jury, over the course of the

10:26:28    4   trial, I am going to do my very best to make sure that the

10:26:33    5   jury has no idea about what I think about the witnesses or

10:26:38    6   the evidence in this case, because determining the facts in

10:26:43    7   this case from the witnesses and the evidence is the jury's

10:26:47    8   job, it is not my job.

10:26:50    9             And the jury should not take any expressions or

10:26:54   10   comments that say see or hear or think they see or hear as

10:26:58   11   coming from me as something to consider in making the

10:27:00   12   ultimate decision about what the facts are in this case.

10:27:03   13   And I think it's important for you to keep that in mind, as

10:27:06   14   well.

10:27:06   15             All right.     At this time, Plaintiff's counsel may

10:27:11   16   address the panel.

10:27:12   17             Ms. DeRieux, would you like a warning on your

10:27:17   18   time?

10:27:18   19             MS. DERIEUX:     Yes, Your Honor.     Five minutes,

10:27:28   20   please.

10:27:28   21             THE COURT:     All right.    You may proceed from the

10:27:31   22   podium when you're ready.

10:27:32   23             MS. DERIEUX:     Good morning.     I'm going to start

10:27:40   24   with the information that Judge Gilstrap started with and

10:27:42   25   that you've already shared with us, so we sort of start on
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 49 of 142 PageID #:
                                       42361                                           49



10:27:47    1   a fair and even playing field here.

10:27:48    2            My name is Elizabeth DeRieux.         I live in

10:27:51    3   Gladewater, Texas.     I have four adult children and nine

10:27:55    4   grandbabies.    I work as an attorney.       And my firm is

10:28:04    5   Capshaw DeRieux and our offices are in Gladewater.             I've

10:28:08    6   been a lawyer 36 years, and we started our specific firm

10:28:12    7   about eight years ago.

10:28:13    8            I have an English degree from Lamar University.               I

10:28:16    9   started my career as an English teacher in high school and

10:28:21   10   then later went to law school and have a law degree from

10:28:27   11   the University of Houston.       I'm married to Pete Adams.

10:28:32   12   He's also an attorney although he's retired from his

10:28:33   13   practice.

10:28:33   14            And he runs a book store in Gladewater, known as

10:28:36   15   Gladewater Books.     So the curmudgeon that sits behind the

10:28:41   16   counter at Gladewater Books is my husband.           I have never

10:28:45   17   been selected to serve on a jury.

10:28:49   18            So I want to start with just a few remarks to give

10:28:57   19   you a very high-level understanding of the case that we're

10:28:59   20   going to be discussing in an effort to help you respond to

10:29:02   21   the questions so that we can all evaluate whether or not

10:29:06   22   you're the right person for this jury.          The case concerns

10:29:12   23   one United States patent, and we'll be referring to it as

10:29:16   24   the '091 patent, and it's owned by PMC, the Plaintiff.

10:29:19   25            And the patent lays out detailed methods for how
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 50 of 142 PageID #:
                                       42362                                           50



10:29:24    1   to encrypt and decrypt signals to protect digital content

10:29:31    2   such as apps or music or movies, for example.

10:29:33    3             The Defendant, as you've heard, is Apple.           And

10:29:36    4   Apple's FairPlay, and you'll hear this word a lot as we go

10:29:41    5   through the trial, FairPlay functionality is accused of

10:29:44    6   infringing the '091 patent.       That is -- our contention is

10:29:50    7   that Apple is using the patented technology without

10:29:54    8   permission.

10:29:55    9             THE COURT:     Ms. DeRieux, let me interrupt a

10:29:57   10   minute.

10:29:58   11             If I could ask the two gentlemen that serve as

10:30:04   12   CSOs to stand at the back of the room.          That way your

10:30:08   13   physiques won't block anybody on the panel from seeing the

10:30:13   14   person at the podium.

10:30:13   15             Thank you.

10:30:13   16             Go ahead, Ms. DeRieux.

10:30:14   17             MS. DERIEUX:     Apple uses FairPlay each time the

10:30:16   18   content is downloaded by an Apple device, and that

10:30:21   19   includes, for example, downloads of books or music or TV

10:30:25   20   shows or apps or movies through iTunes or app stores.               The

10:30:31   21   patented technology allows Apple to protect against piracy

10:30:33   22   of the copyrighted content that it distributes.            And

10:30:36   23   without those protections, Apple's ability to distribute

10:30:39   24   their content online would be severely limited.

10:30:42   25             Apple, as you've heard, denies that it is
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 51 of 142 PageID #:
                                       42363                                           51



10:30:45    1   trespassing on our property, and it also claims that the

10:30:50    2   '091 patent is really not worth that much money.

10:30:51    3            So I'm going to try to spend the next 25 or 30

10:30:55    4   minutes with you listening to you.         So I want you to feel

10:31:01    5   free to talk to me.     This is our one opportunity to hear

10:31:04    6   from our jurors.     And the rest of the time, if you're

10:31:07    7   selected for the jury, you're going to have to listen to

10:31:10    8   the lawyers and the witnesses.

10:31:11    9            If you have any personal beliefs, if you have

10:31:15   10   likes or dislikes or life experiences that might start you

10:31:18   11   leaning toward one side or the other, this is our

10:31:21   12   opportunity to learn about that.        Leaning toward one side

10:31:26   13   or the other, you often hear the word "bias" or

10:31:29   14   "prejudice," and outside this courtroom context, bias and

10:31:34   15   prejudice might feel like bad words.

10:31:36   16            So I don't want to point to you and say are you

10:31:39   17   biassed or prejudiced.      Because in this context, that's not

10:31:43   18   really what we're talking about.        We're talking about a

10:31:45   19   very universal experience that we all have.           We all bring

10:31:48   20   our experiences to the courtroom.         We bring our own

10:31:50   21   personal beliefs to the courtroom.

10:31:52   22            And that's not something to be ashamed of.            That's

10:31:54   23   something to be proud of and to talk about here so that we

10:31:58   24   can find out if you are the right person for this case.

10:32:01   25            Let me start out by asking, have -- did all of you
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 52 of 142 PageID #:
                                       42364                                           52



10:32:07    1   see the video this morning?       I'm just testing to see if

10:32:11    2   you're listening to me.

10:32:12    3              Have any of you seen any other videos about the

10:32:16    4   patent system or about the Patent Office other than the one

10:32:21    5   that you heard about -- that you've listened to this

10:32:24    6   morning before we started?       Anybody else seen any other

10:32:28    7   patent videos?     Thank you.

10:32:30    8              Have any of you ever read or seen or heard

10:32:36    9   anything else about the patent system before you got here

10:32:40   10   this morning that left you with strong opinions, one way or

10:32:45   11   the other, about the patent system?         The patent system in

10:32:50   12   America is terrible, it's wonderful?         Anyone else?

10:32:52   13              Okay.   You heard in that video this morning that a

10:33:02   14   patent -- excuse me -- that a patent is a piece of

10:33:05   15   property.     And when the Patent Office issues that patent,

10:33:10   16   I'm going to refer to it as an analogy.          It's like the

10:33:14   17   deed.     But we can't call the sheriff.       There are no patent

10:33:19   18   police.     We can't call them and say, somebody's trespassing

10:33:22   19   on our property.

10:33:22   20              So the one thing we can do is to come into a

10:33:25   21   District Court with a lawsuit, such as this one, and

10:33:29   22   enforce that patent.

10:33:31   23              Do we have any landowners on our panel today?

10:33:35   24              Let me see your hands again.

10:33:41   25              All right.   I'm going to try to call your names as
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 53 of 142 PageID #:
                                       42365                                           53



10:33:47    1   well as your numbers, and if I mess up your name, please

10:33:50    2   correct me.   I'll try not to mess it up twice.

10:33:53    3            Ms. Smith is No. 10.       She's going to -- he's going

10:33:57    4   to bring you a microphone, and I'm going to ask you some

10:34:00    5   questions.

10:34:02    6            THE COURT:     And would you stand up, please.

10:34:05    7            MS. DERIEUX:     Now, I believe you said that you own

10:34:07    8   some land.

10:34:09    9            JUROR SMITH:     Yes, ma'am.

10:34:10   10            MS. DERIEUX:     If an oil company drilled a well on

10:34:12   11   your property without your permission, what would you do?

10:34:16   12            JUROR SMITH:     Wonder how they got past the dogs

10:34:19   13   first.   I'm sure I would find out why they thought they

10:34:23   14   could drill there.

10:34:26   15            MS. DERIEUX:     And if they thought they could drill

10:34:28   16   there, would that be okay, if they said, Oh, we've got this

10:34:32   17   really good excuse, and we think it's okay.

10:34:35   18            JUROR SMITH:     No.

10:34:36   19            MS. DERIEUX:     Would you end it there?

10:34:38   20            JUROR SMITH:     Oh, I would definitely not end it

10:34:40   21   there.

10:34:41   22            MS. DERIEUX:     What would you do next?

10:34:43   23            JUROR SMITH:     I imagine I would want to seek

10:34:45   24   monetary comfort compensation or get their rig removed.

10:34:50   25            MS. DERIEUX:     Would you do that through a judicial
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 54 of 142 PageID #:
                                       42366                                           54



10:34:52    1   process such as this, or do you have another idea about how

10:34:54    2   you might address that?

10:34:55    3            JUROR SMITH:     I don't think people would be too

10:34:57    4   scared of me, so I would take it to a court process.

10:35:01    5            MS. DERIEUX:     Okay.    Thank you.

10:35:03    6            JUROR SMITH:     Thank you.

10:35:04    7            MS. DERIEUX:     I'm going to ask Mr. Parker, I

10:35:06    8   believe you're No. 5.      We have different Parkers on our

10:35:10    9   panel this morning.

10:35:11   10            Now I'm going to refer in some cases to statements

10:35:15   11   that were made on the questionnaires that you submitted.

10:35:19   12   And if I -- you know what, we looked at those really

10:35:23   13   quickly, and if I asked you a question and said, Do you

10:35:26   14   remember when you said that on the questionnaire and you

10:35:28   15   didn't say that on your questionnaire, remind me of that

10:35:32   16   because I've got that wrong.

10:35:34   17            So I'm going to start with Mr. Parker and say I

10:35:37   18   believe you made a remark on your questionnaire that it's

10:35:40   19   your personal belief that things should be handled outside

10:35:44   20   of court.

10:35:44   21            JUROR JAMES PARKER:       Yes.   I work in a field where

10:35:45   22   we have to work closely with each other and nothing -- all

10:35:49   23   things can be worked out, you know, one-on-one, if given

10:35:52   24   the right time and place.

10:35:53   25            MS. DERIEUX:     And is that related to your
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 55 of 142 PageID #:
                                       42367                                           55



10:35:55    1   profession?

10:35:56    2             JUROR JAMES PARKER:      Profession and way of life.

10:35:59    3             MS. DERIEUX:    All right.     Given that that is your

10:36:02    4   belief, do you believe that that would start you in this

10:36:05    5   case either for or against either of the parties in -- in

10:36:10    6   court if you were to be seated as part of the jury?

10:36:14    7             JUROR JAMES PARKER:      Why, yes.    I mean, that's

10:36:17    8   just a belief I've always lived by for 41 years.            There's

10:36:21    9   no way of changing it.      I say it every day, your whole job

10:36:25   10   revolves around conflict.       Things are going to break.

10:36:29   11   People don't understand it.       That's just part of life.

10:36:32   12             MS. DERIEUX:    If you were seated on this jury,

10:36:35   13   could you give my client a fair hearing and follow the

10:36:40   14   instructions from the Court?

10:36:43   15             JUROR JAMES PARKER:      I would try.     But I couldn't

10:36:45   16   promise you that.

10:36:46   17             MS. DERIEUX:    All right.     I understand.      Thank

10:36:47   18   you.    That's a -- I want to just hold Mr. Parker up as a

10:36:51   19   perfect example of a juror giving us information to help us

10:36:54   20   make the right decision here.

10:36:56   21             Is there anybody here that feels that patent

10:37:02   22   rights should be treated differently than property, like

10:37:08   23   land?    In other words, I made this analogy, it's like a

10:37:11   24   deed,    what if it was on your property, and you're saying,

10:37:15   25   oh, well, I get that if it's on my real estate, but patents
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 56 of 142 PageID #:
                                       42368                                           56



10:37:20    1   are somehow different.       Anybody hold that view?

10:37:23    2              Let me ask it the other way.       Does it make sense

10:37:26    3   in your head and consistent with your personal beliefs that

10:37:30    4   an owner of patent rights would treat those rights in a way

10:37:35    5   that is similar to the way you would treat your own

10:37:38    6   personal real estate rights?       Is that consistent with your

10:37:41    7   beliefs?

10:37:41    8              All right.     I'm going to talk to you just a minute

10:37:50    9   about PMC.    This is probably not a company that you've

10:37:54   10   heard of.    But the Plaintiff is a company founder -- excuse

10:37:58   11   me, founded by the inventor of the '091 patent.            And it was

10:38:03   12   developed to license technology in its patents.            PMC does

10:38:06   13   not manufacture devices, and it does not produce or provide

10:38:13   14   music or video content.

10:38:14   15              Is there anybody that believes that a company that

10:38:17   16   owns patents but that does not actually manufacture devices

10:38:22   17   or provide or produce videos or music, is that company

10:38:28   18   entitled to less protection than a company that actually

10:38:31   19   sells products or content?

10:38:41   20              I'm going to ask Mr. Jones, Juror No. 1.

10:38:51   21              JUROR JONES:     To be frank, I really don't

10:38:53   22   understand the question because --

10:38:56   23              MS. DERIEUX:     Let me try it again.     No, that's

10:38:57   24   fair.   Let me try it again.

10:38:59   25              You will hear that Apple produces products and
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 57 of 142 PageID #:
                                       42369                                           57



10:39:04    1   sells products.    My client, PMC, does not sell products nor

10:39:09    2   does it produce video content or music.

10:39:13    3             JUROR JONES:    Uh-huh.

10:39:14    4             MS. DERIEUX:    And my question is, is one company

10:39:16    5   that doesn't sell products at a disadvantage, from your

10:39:20    6   point of view, because it doesn't actually sell the

10:39:22    7   products?

10:39:23    8             JUROR JONES:    Yeah, I agree.      I mean, yeah, I'd

10:39:28    9   say they're at a disadvantage.

10:39:30   10             MS. DERIEUX:    And why is that?

10:39:32   11             JUROR JONES:    Because they don't sell nothing.

10:39:35   12   They just own a patent.      That's all they're holding is a

10:39:37   13   piece of paper.

10:39:38   14             MS. DERIEUX:    All right.     Thank you.

10:39:39   15             JUROR JONES:    You're welcome.

10:39:40   16             MS. DERIEUX:    Do I have anybody on the panel that

10:39:43   17   wants to disagree with Mr. Jones and take the other

10:39:45   18   position, that you think that a company that owns a patent

10:39:50   19   has a right to enforce it, whether they sell the products

10:39:53   20   or not?

10:39:57   21             I'm want to ask Mr. Moore, No. 8.

10:40:06   22             JUROR BRIAN MOORE:      It's their property.       They

10:40:11   23   deserve to protect it, whether they make anything or they

10:40:14   24   make anything, they have a patent on it.

10:40:16   25             MS. DERIEUX:    All right.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 58 of 142 PageID #:
                                       42370                                           58



10:40:17    1             JUROR BRIAN MOORE:       That's my belief.

10:40:19    2             MS. DERIEUX:     Yes, sir.    Thank you.

10:40:20    3             Let me ask Ms. Alexander.       I believe you're

10:40:35    4   No. 26.   On your questionnaire, if I don't have this

10:40:38    5   confused, you made a note that you were once accused of

10:40:43    6   using someone else's idea?

10:40:47    7             JUROR ALEXANDER:     (Shakes head negatively.)

10:40:48    8             MS. DERIEUX:     That wasn't you?     Sorry.

10:40:50    9             Has anybody else on the panel ever had a personal

10:40:58   10   experience where they -- either someone used an idea that

10:41:00   11   they came up with, without permission, or that you were

10:41:05   12   accused of using someone else's idea?          Is there anybody on

10:41:08   13   the panel that's had a personal experience?

10:41:13   14             That's No. 28.     You are Ms. Black.      Did you say

10:41:25   15   that on your questionnaire and I got it confused?

10:41:28   16             JUROR BLACK:     Pretty much.

10:41:29   17             MS. DERIEUX:     Okay.    I'm sorry for the confusion.

10:41:31   18   Thank you for helping.

10:41:33   19             JUROR BLACK:     Me and my husband run a small

10:41:37   20   business online, it's 903 Outdoors, I don't know if any of

10:41:41   21   you guys heard of it.      But we were accused from a Oklahoma

10:41:45   22   similar small business that we were copyrighting their logo

10:41:48   23   and their idea.    They didn't have any kind of proof.            I

10:41:55   24   mean, we were contacted from an attorney.           But we just

10:41:57   25   chose to settle it with them.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 59 of 142 PageID #:
                                       42371                                           59



10:42:03    1              You know, not go public with it, not go to court

10:42:06    2   with it.    We settled between the two parties.          We changed

10:42:08    3   our logo.    They agreed to let us stay within the 903 area.

10:42:14    4   They stayed in Oklahoma.      And we worked it out like that.

10:42:18    5              MS. DERIEUX:   Is there anything that you carry

10:42:23    6   from that experience that you think would cause you to

10:42:26    7   lean, either for or against, PMC if you were seated as a

10:42:35    8   juror in this case?

10:42:36    9              JUROR BLACK:   Yes and no.     We -- you know, at the

10:42:42   10   time, this has been -- I mean, we -- my husband started

10:42:45   11   running this company probably 12 years ago.           And at the

10:42:49   12   time that this happened, we didn't really have a lot

10:42:54   13   invested in it.    They had only been a business probably a

10:42:59   14   year before us.

10:43:04   15              We really didn't think that our logo looked

10:43:07   16   anything like theirs.      We didn't think -- I mean, we didn't

10:43:10   17   even know who they were.      How could we have copied you

10:43:13   18   guys.   Where did y'all come from?        You know.    And so I

10:43:16   19   think that we chose to settle -- we just chose to work it

10:43:21   20   out and settle, and, you know, not make a big stink about

10:43:25   21   it.

10:43:26   22              I feel like money -- you know, at that time, I

10:43:29   23   told my husband, let's just work it out and not -- and

10:43:33   24   let's get it out of the way before we start making more

10:43:35   25   money, we have more merchandise, and we have more invested,
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 60 of 142 PageID #:
                                       42372                                           60



10:43:40    1   you know, rather than get later down the road and we've got

10:43:43    2   more things involved, if that makes any sense. I dont know.

10:43:47    3            MS. DERIEUX:     It does.     Thank you very much.

10:43:52    4   That's very helpful.

10:43:52    5            Does anybody on the panel own stock in Apple?             I

10:44:00    6   need to see your hands, and keep them up because we need to

10:44:03    7   identify anybody.

10:44:05    8            You are No. --

10:44:08    9            JUROR ADAMS:     32.

10:44:11   10            MS. DERIEUX:     -- 32.

10:44:12   11            Anybody else on the panel own stock?           You own

10:44:17   12   stock in Apple?     Ms. Black.

10:44:20   13            Anyone else?

10:44:25   14            Is it Mr. Rand?

10:44:29   15            JUROR QUARLES:      Quarles, No. 9.

10:44:32   16            MS. DERIEUX:     Gotcha.

10:44:34   17            And I saw another hand.        Anyone else on the panel

10:44:43   18   own stock?

10:44:55   19            JUROR ADAMS:     Can I clarify the inquiry?

10:44:55   20            MS. DERIEUX:     Yes, sir.

10:44:57   21            JUROR ADAMS:     Yes, I don't own individual Apple

10:45:00   22   stock.   I own it through mutual funds, through aggregate

10:45:06   23   funds, so I just wanted to make that distinction.

10:45:10   24            MS. DERIEUX:     Thank you.

10:45:12   25            And if anybody else has that circumstance, let's
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 61 of 142 PageID #:
                                       42373                                           61



10:45:12    1   raise your hand as well.

10:45:12    2             Yes, ma'am, you're Ms. Langley?

10:45:12    3             JUROR LANGLEY:     Yes.

10:45:13    4             MS. DERIEUX:     And you also own Apple stock?

10:45:14    5             JUROR LANGLEY:     We're in mutual funds.

10:45:19    6             MS. DERIEUX:     Gotcha.     Anyone else?

10:45:19    7             Okay.   I see another hand.

10:45:19    8             Yes, ma'am?

10:45:28    9             JUROR MILES:     25, Melissa Miles.

10:45:28   10             MS. DERIEUX:     I'm sorry.     Stand up SO --

10:45:30   11             JUROR MILES:     25.

10:45:30   12             THE COURT:     We're going to have to take these one

10:45:33   13   at a time and make sure we identify everybody individually.

10:45:37   14             JUROR MILES:     Hi.     25, Melissa Miles.    We also own

10:45:41   15   some mutual funds with Apple.

10:45:43   16             MS. DERIEUX:     Okay.     Thank you.

10:45:44   17             Anybody I missed that I didn't get your name and

10:45:49   18   number?   Okay.

10:45:50   19             During the trial, the jury's going to hear from a

10:45:57   20   royalty and financial expert who's going to explain the

10:46:00   21   financial benefits that Apple received using PMC's patents.

10:46:05   22             Is there anybody on the panel that feels that no

10:46:09   23   matter what the evidence shows and even if you found

10:46:14   24   infringement, there's just no way you could ever see

10:46:16   25   yourself writing down substantial or a large amount of
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 62 of 142 PageID #:
                                       42374                                           62



10:46:21    1   damages regardless of what the evidence of damages is?

10:46:28    2   Anybody have a strong reaction to that one way or the

10:46:31    3   other?

10:46:36    4            All right.     Is there anybody on the panel that

10:46:40    5   owns an Apple product?

10:46:47    6            Let me ask it the other way.

10:46:51    7            Is there anybody on the panel who does not own an

10:46:54    8   Apple product?

10:47:00    9            Is there anybody on the panel who has never owned

10:47:02   10   an Apple product?

10:47:04   11            Okay.   I'm going to take just a minute.           I'm going

10:47:07   12   to ask you to keep your hands up until I say your number.

10:47:12   13            Number 2 and 9 and 17.        I can't see everybody.          I

10:47:27   14   believe Ms. -- No. 12 and 13 and 20.         You are 16.

10:47:43   15            JUROR GIBBONS:      I did own one, but then I sold it

10:47:46   16   because --

10:47:47   17            THE COURT:     All right.     Folks, folks, we're going

10:47:48   18   to have to get a microphone, we're going to have to stand

10:47:51   19   up, and we're going to have to use that so I can hear you

10:47:53   20   and the court reporter can hear you.         I know there are a

10:47:56   21   lot of hands up, but please don't speak unless you're

10:48:00   22   specifically called on, and then do it the way that I've

10:48:02   23   discussed it with you.

10:48:04   24            Go ahead, Ms. DeRieux.

10:48:06   25            MS. DERIEUX:     I'm going to ask the officer to hand
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 63 of 142 PageID #:
                                       42375                                           63



10:48:08    1   Ms. Gibbons the microphone so she can say for the record

10:48:13    2   what she just said on -- in response to my question.

10:48:20    3              JUROR GIBBONS:     I did purchase an Apple --

10:48:23    4   actually my husband won it at a Christmas party for work.

10:48:28    5   And it was a tablet, a big tablet thing.          I tried it out

10:48:32    6   for a little while, and I didn't like it, so I ended up

10:48:35    7   giving it to my dad.

10:48:36    8              MS. DERIEUX:     Thank you.

10:48:37    9              No. 23, Ms. Davis?

10:48:44   10              THE COURT:     Please hand her a microphone.

10:48:46   11              JUROR DAVIS:     I've never had or owned any Apple

10:48:49   12   product.

10:48:49   13              MS. DERIEUX:     All right.     Did I get everybody that

10:48:59   14   raised their hand?      Did I miss any hands?

10:49:03   15              No. 14.

10:49:05   16              Anyone else?

10:49:06   17              I'm going to ask -- I believe -- I hope I'm

10:49:11   18   pronouncing this correctly.       No. -- Juror No. 27,

10:49:16   19   Ms. Bertussi?

10:49:23   20              JUROR BERTUSSI:     Bertussi.

10:49:24   21              MS. DERIEUX:     Bertussi.    I need to practice that.

10:49:26   22              I believe on your questionnaire, you mentioned

10:49:29   23   that you had had some training in specialized technology,

10:49:33   24   but I wanted to just ask you to give us a little more

10:49:36   25   information about the training and knowledge that you have
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 64 of 142 PageID #:
                                       42376                                           64



10:49:38    1   in technology.

10:49:44    2            JUROR BERTUSSI:      Mostly just with computers, you

10:49:47    3   know, processing applications in Excel and, you know,

10:49:49    4   things like that.     Not really too technical.

10:49:53    5            MS. DERIEUX:     So what were --

10:49:55    6            JUROR BERTUSSI:      As far as certifications in IT or

10:49:58    7   anything.

10:49:58    8            MS. DERIEUX:     I see.    So you were trained in -- in

10:50:00    9   the end of the process where you -- where the user would

10:50:02   10   learn to use those programs as opposed to troubleshooting

10:50:06   11   on the TI side; is that correct?

10:50:09   12            JUROR BERTUSSI:      Correct.

10:50:09   13            MS. DERIEUX:     Okay.    Is there anything about that

10:50:12   14   training that would keep you from focusing on the evidence

10:50:15   15   and following the evidence and the law as the judge gave

10:50:18   16   it?

10:50:20   17            JUROR BERTUSSI:      I don't think so.

10:50:23   18            MS. DERIEUX:     Okay.    Is there anything about an

10:50:32   19   experience that you've had with an Apple product that

10:50:36   20   would -- is there anyone here who believes that they would

10:50:39   21   start out with an opinion or you would start out leaning

10:50:45   22   either for or against one of the parties because of your

10:50:50   23   personal experience with Apple consumer products?

10:50:54   24            Ms. Gibbons?     Is this a different answer than your

10:50:59   25   experience that you were talking about a minute ago?             I'm
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 65 of 142 PageID #:
                                       42377                                           65



10:51:02    1   going to ask you to take the mic.

10:51:06    2            JUROR GIBBONS:      Not -- I've tried like with my

10:51:08    3   kids or my husband has one.        I've messed with them a little

10:51:12    4   bit, but it's just -- I think -- I don't like the way they

10:51:16    5   operate, and I think they're overrated.

10:51:20    6            MS. DERIEUX:     Thank you.     I'm sorry, if she could

10:51:23    7   have the microphone back.       Let me just ask one more

10:51:25    8   question.

10:51:26    9            Is there anything about those experiences and

10:51:29   10   opinions that you bring to the courtroom today that would

10:51:33   11   start you out one way or the other?

10:51:38   12            JUROR GIBBONS:      No.

10:51:39   13            MS. DERIEUX:     Do you believe that you could follow

10:51:40   14   the evidence and the instructions from the Court and be a

10:51:43   15   fair juror if you were selected?

10:51:45   16            JUROR GIBBONS:      Yes, ma'am.

10:51:46   17            MS. DERIEUX:     Okay.    Thank you.

10:51:46   18            How many of you do not have any apps that you

10:51:51   19   personally downloaded from an app store on a personal

10:52:00   20   mobile device.    Maybe I'm asking this a little backwards.

10:52:03   21            Have you ever downloaded an app onto your personal

10:52:12   22   mobile device?    Raise your hand.

10:52:16   23            Okay.   Is there anybody who didn't raise their

10:52:19   24   hand who has never downloaded an app?

10:52:32   25            I'm going to ask Ms. Goodman, No. 3.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 66 of 142 PageID #:
                                       42378                                           66



10:52:44    1              THE COURT:     You have five minutes remaining,

10:52:47    2   counsel.

10:52:47    3              MS. DERIEUX:     Thank you.

10:52:47    4              How many apps have you personally downloaded if

10:52:51    5   you remember, just approximately?

10:52:55    6              JUROR GOODMAN:     No more than 10.

10:52:57    7              MS. DERIEUX:     All right.     And how often would you

10:52:58    8   say that you do that?

10:53:02    9              JUROR GOODMAN:     Oh, goodness, as the need arises,

10:53:06   10   not -- not too frequently.

10:53:09   11              MS. DERIEUX:     Okay.   Is there anything about your

10:53:11   12   experience in downloading personal apps that you believe

10:53:14   13   you would bring into the courtroom and would affect your

10:53:18   14   service as a juror in this case?

10:53:20   15              JUROR GOODMAN:     No, ma'am.

10:53:20   16              MS. DERIEUX:     All right.     Thank you.

10:53:28   17              JUROR GOODMAN:     Uh-huh.

10:53:29   18              MS. DERIEUX:     Has anyone on the panel ever stood

10:53:32   19   in line to buy the latest technology, the latest iPhone,

10:53:36   20   the latest computer, and you know when it's going to be

10:53:40   21   released?

10:53:42   22              Yes, ma'am, thank you.

10:53:44   23              And, Mr. Parker?

10:53:52   24              JUROR JAMES PARKER:      Yes.

10:53:56   25              MS. DERIEUX:     Can you tell me a little bit about
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 67 of 142 PageID #:
                                       42379                                           67



10:53:58    1   that experience?

10:53:58    2            THE COURT:     Let's take a microphone to Panel

10:53:58    3   Member No. 5, please.

10:54:00    4            JUROR JAMES PARKER:       It's just like waiting for

10:54:01    5   any other video game.      You wait, as soon as you comes out,

10:54:06    6   you make your purchase and hope for the best.

10:54:09    7            MS. DERIEUX:     And what was the technology that you

10:54:10    8   had gotten in line ahead of time for?

10:54:13    9            JUROR JAMES PARKER:       The latest one would be the

10:54:14   10   iPhone 12.   I waited for it on the wait list, and when it

10:54:20   11   came out, it was shipped to me.

10:54:21   12            MS. DERIEUX:     Great.    Thank you.

10:54:22   13            Ms. Haley?     I believe you said that you had a

10:54:35   14   sitting service, but that you also at some point served as

10:54:39   15   a paralegal in a law firm; is that correct?

10:54:42   16            JUROR HALEY:     I didn't have any training, per se,

10:54:44   17   other than in the office.       But, yes, I did for

10:54:48   18   approximately -- a total of four years.          I worked for the

10:54:51   19   attorney for five.

10:54:53   20            MS. DERIEUX:     And what kind of law did you

10:54:55   21   participate in as a paralegal?

10:54:57   22            JUROR HALEY:     He did family, family law mainly.

10:55:01   23            MS. DERIEUX:     Okay.

10:55:01   24            JUROR HALEY:     Some accidents.      I did the -- some

10:55:05   25   of the processing serving.        I did all kinds of stuff.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 68 of 142 PageID #:
                                       42380                                           68



10:55:08    1            MS. DERIEUX:     Anything about that experience that

10:55:09    2   would impact your ability to be fair in this case?

10:55:12    3            JUROR HALEY:     No.

10:55:12    4            MS. DERIEUX:     All right.     Thank you.

10:55:13    5            Can I ask y'all to look around and see if there's

10:55:17    6   anybody that you know on the panel?

10:55:24    7            Keep your hands up for me.

10:55:25    8            And this is what I'm -- I'm going to ask you each

10:55:28    9   if you were selected with your friends, your colleague,

10:55:32   10   your boss, your cousin, whoever else you know on the panel,

10:55:39   11   is there anybody that feels they couldn't make an

10:55:41   12   independent decision and not be influenced by their friend,

10:55:46   13   colleague, neighbor, boss, whoever is on the panel?             Is

10:55:49   14   there anybody that has -- that would be concerned about

10:55:52   15   that?   You don't have to tell me a lot of detail.            I just

10:55:55   16   need a hand.

10:55:56   17            Ms. Gibbons.     I need to know who that person is.

10:56:03   18            JUROR GIBBONS:      Debra Haley is my mother, and my

10:56:07   19   mom is a very awesome woman, so I believe that her opinion

10:56:12   20   of something would kind of hinder mine.

10:56:14   21            MS. DERIEUX:     You are a great daughter.         Thank

10:56:17   22   you.

10:56:17   23            Anybody else that knows someone else on the panel

10:56:22   24   that thinks it might have an impact on your ability to be

10:56:26   25   independent?
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 69 of 142 PageID #:
                                       42381                                           69



10:56:27    1              All right.     Let me have your hands again just one

10:56:32    2   more time on the people that know someone.

10:56:36    3              No. 17.   Tell me who you know and how you're

10:56:39    4   related.

10:56:40    5              JUROR DOTSON:     I know Ms. Langley through my

10:56:44    6   family, through my parents.

10:56:45    7              MS. DERIEUX:     And if you were both selected for

10:56:47    8   the jury, do you think you could have an independent, even

10:56:50    9   if it -- even if it conflicted with her view, could you

10:56:53   10   form your own independent judgment.

10:56:55   11              JUROR DOTSON:     Yes, I could.

10:56:56   12              MS. DERIEUX:     Thank you.

10:56:59   13              I'm just going to gather my thoughts here and see

10:57:19   14   if there's anybody else I need to talk to.

10:57:21   15              Mr. Overstreet?

10:57:28   16              JUROR OVERSTREET:     Yes, ma'am.

10:57:30   17              MS. DERIEUX:     Yes, he's going to bring you a

10:57:32   18   microphone.    Tell me, again, how long ago it was that you

10:57:41   19   served on the jury.

10:57:42   20              JUROR OVERSTREET:     Almost like close to a year.

10:57:45   21              MS. DERIEUX:     Do you think anything that you

10:57:47   22   learned or remembered from that experience would impact

10:57:49   23   your ability to serve fairly and independently on this

10:57:52   24   jury?

10:57:53   25              JUROR OVERSTREET:     No, like I say, I -- they
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 70 of 142 PageID #:
                                       42382                                           70



10:57:55    1   settled out of court before --

10:57:57    2            MS. DERIEUX:     How much of the evidence did you

10:57:58    3   hear?   Did you actually --

10:58:00    4            JUROR OVERSTREET:        I heard all of it.     But, you

10:58:02    5   know, like I said, they settled out of court before.

10:58:07    6            MS. DERIEUX:     Okay.

10:58:07    7            THE COURT:     Ms. DeRieux, your time has expired.

10:58:12    8            MS. DERIEUX:     Thank you.

10:58:13    9            THE COURT:     Thank you, sir.

10:58:14   10            All right.     Defendants may now address the panel.

10:58:19   11            Ms. Smith, would you like a warning on your time?

10:58:22   12            MS. SMITH:     Please, Your Honor.       Five minutes.

10:58:24   13            THE COURT:     All right.     You may proceed when

10:58:28   14   you're ready.

10:58:29   15            MS. SMITH:     May it please the Court.

10:58:37   16            Good morning, everybody.        In the way of

10:58:44   17   reintroduction, again, my name is Melissa Smith, and I'm

10:58:46   18   joined by Mr. Greg Arovas, and we represent Apple.

10:58:48   19            Now, the first thing and the most important thing

10:58:54   20   I'm going to do this morning is to thank you all.             2020 was

10:59:00   21   by anyone's measure a very, very challenging year.             2021,

10:59:03   22   for those of us living in East Texas, we have, you know,

10:59:07   23   boiling water and bursting pipes and tons of snow and it

10:59:12   24   hasn't been any easier.

10:59:14   25            I've spent time poring over your questionnaires.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 71 of 142 PageID #:
                                       42383                                           71



10:59:17    1   We've got teachers, we've got first responders, we've got

10:59:21    2   medical professionals, and as I look at you guys, we've got

10:59:23    3   a whole group of people that have a million places you

10:59:24    4   probably are needed and quite frankly that you'd rather be.

10:59:28    5              So on behalf of Apple, we appreciate you showing

10:59:31    6   up today.     It's an important case for us.        And we

10:59:34    7   appreciate you making jury service a priority.            Thank you.

10:59:38    8              Ms. DeRieux went through the questions with you,

10:59:45    9   and Judge Gilstrap did as well, and so that's where I will

10:59:48   10   start.

10:59:48   11              I went to the University of Texas undergrad and

10:59:51   12   graduated from UT in 1994.       Like Judge Gilstrap, I went to

10:59:55   13   Baylor Law School.     I got out of there in '97.         In '97 I

11:00:00   14   moved to Jefferson, Texas, just down the road out in the

11:00:03   15   country.     I started practicing in Marshall.        I've been

11:00:06   16   practicing here in Marshall for 24 years.

11:00:08   17              A man named Gil Gillam hired me, gave me my first

11:00:13   18   job.     After about eight or nine years, he made me his

11:00:17   19   partner, and we have been together every day in my 24 years

11:00:20   20   of practice.

11:00:20   21              We have a law firm that some of you probably drove

11:00:22   22   by today when you were driving to the courthouse.             It's an

11:00:23   23   old yellow house that sits right behind this building.

11:00:26   24   It's called Gillam and Smith.

11:00:28   25              Personally, I am married.      My husband's name is
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 72 of 142 PageID #:
                                       42384                                           72



11:00:31    1   Stephen.     He is retired law enforcement, although he is

11:00:36    2   having a hard time giving it up, so he's a reserve officer

11:00:39    3   in Marion County right now.       We have a seven-year-old girl,

11:00:43    4   I used to call her baby girl, but not a baby anymore, and a

11:00:47    5   nine-year-old little boy.       So when I'm not doing this, I

11:00:50    6   try to spend every single minute with those folks.

11:00:52    7              Now, Judge Gilstrap gives us just precious little

11:00:57    8   time, just a few minutes to give you an overview of this

11:01:00    9   case.   And what I'll tell you about this case is that Apple

11:01:03   10   takes these charges very, very seriously.

11:01:06   11              And the one thing you need to take away from this

11:01:09   12   visit with me is that it is Apple's position that they do

11:01:15   13   not, have never used the '091 patent in this case or any of

11:01:23   14   the ideas in the '091 patent.

11:01:25   15              Now, for those of you that are lucky enough to get

11:01:29   16   chosen and to hear this case all week, you're going to

11:01:33   17   hear -- you can -- and many of you -- some of you are

11:01:34   18   really young, but many of you, like me, can remember, the

11:01:39   19   Internet -- as I call it, the Internet explosion, when the

11:01:43   20   Internet became a part of all of our lives.           And that

11:01:45   21   created problems, because with the Internet, immediately we

11:01:48   22   saw piracy, we saw hackers, and Apple had a problem.

11:01:53   23              Apple needed to secure the things that they needed

11:01:55   24   online, the books, the music, the apps that Ms. DeRieux

11:01:59   25   mentioned.     They needed some security measure from those
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 73 of 142 PageID #:
                                       42385                                           73



11:02:03    1   hackers and the pirates.        And the answer to that problem

11:02:05    2   was called FairPlay.      And Ms. DeRieux mentioned FairPlay.

11:02:08    3   And you're going to hear a lot about that in this case.

11:02:10    4            Now, what you also hear is Personalized Media had

11:02:17    5   its own problems.     And those problems are problems they had

11:02:21    6   back in the '80s.     Different problems, different solution,

11:02:25    7   and very, very different technology from what Apple uses in

11:02:32    8   FairPlay.

11:02:32    9            Now, we asked you all if you knew anybody in the

11:02:36   10   room, but what we failed to ask you thus far is if you know

11:02:40   11   any of the lawyers in the room.

11:02:41   12            Before getting here today, did anyone have a

11:02:45   13   relationship or any knowledge of the Capshaw DeRieux firm,

11:02:49   14   Ms. DeRieux or her partner, Mr. Capshaw, by raising hands.

11:02:54   15   Anyone know that firm?

11:02:55   16            All right.     Ms. DeRieux is joined today or for

11:03:00   17   those of you that get to serve on the case by a firm called

11:03:04   18   Goodwin Procter, and they have offices in DC and Boston.

11:03:08   19   Is anyone familiar with the Goodwin Procter firm?

11:03:14   20            No hands.

11:03:15   21            All right.     Ms. Goodman, may I speak with you?

11:03:20   22   No. 3.   While we're talking about lawyers, you probably

11:03:25   23   knew this was coming, didn't you?

11:03:27   24            JUROR GOODMAN:      Ask it and we'll see.

11:03:30   25            MS. SMITH:     Okay.    You have some experience
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 74 of 142 PageID #:
                                       42386                                           74



11:03:32    1   working for a private firm; is that correct?

11:03:35    2            JUROR GOODMAN:      I did.

11:03:35    3            MS. SMITH:     Okay.      And how long did you do that?

11:03:38    4            JUROR GOODMAN: 23 years.

11:03:39    5            MS. SMITH:     All right.      And that was the Nix law

11:03:42    6   firm; is that correct?

11:03:42    7            JUROR GOODMAN:      Yes, ma'am.

11:03:43    8            MS. SMITH:     All right.      Now, the Nix law firm,

11:03:45    9   I've seen a lot of their billboards and their media and

11:03:48   10   stuff, and they don't often say, we're here to represent

11:03:51   11   the wrongly accused, do they?

11:03:53   12            JUROR GOODMAN:      No.

11:03:54   13            MS. SMITH:     They're Plaintiff's lawyers.

11:03:55   14            JUROR GOODMAN:      Yes.

11:03:55   15            MS. SMITH:     And so they sit over at the table just

11:03:58   16   like Ms. DeRieux's crew; is that correct?

11:04:00   17            JUROR GOODMAN:      That's correct.

11:04:02   18            MS. SMITH:     All right.      Well, heart to heart, do I

11:04:04   19   have anything to worry about, because I'm over here

11:04:06   20   representing a Defendant, with putting you on this jury

11:04:09   21   when you spent 23 years working on the Plaintiff's side at

11:04:12   22   Nix?

11:04:14   23            JUROR GOODMAN:      No.

11:04:14   24            MS. SMITH:     I appreciate your honesty.

11:04:18   25            JUROR GOODMAN:      You're welcome.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 75 of 142 PageID #:
                                       42387                                           75



11:04:19    1              MS. SMITH:    Now, I don't think -- we heard --

11:04:20    2   Ms. DeRieux told you that Personalized Media doesn't make

11:04:24    3   any products, and so I don't think you've heard of them

11:04:27    4   before.     But has anybody ever, before getting in the

11:04:30    5   courthouse today, heard of Personalized Media by a showing

11:04:34    6   of hands?

11:04:42    7              Okay.   I'm going to pivot off of one of

11:04:46    8   Ms. DeRieux's questions a little bit.          She talked about if

11:04:50    9   you've ever been in a business dispute or land dispute or

11:04:53   10   something like that.       Is there anyone in this room that's

11:04:56   11   never been wrongly accused of something?          Not legally, just

11:05:02   12   in life.     Raise your hands.     You've never been wrongly

11:05:06   13   accused.     Never been.

11:05:07   14              JUROR ENDSLEY:    No.

11:05:08   15              MS. SMITH:    You're a lucky man. Okay, I'm going to

11:05:10   16   talk to those of you that are -- I mean, this can be as

11:05:11   17   easy as -- you know, my kids are seven and nine and they

11:05:14   18   still haven't learned to replace the toilet paper when they

11:05:18   19   use the bathroom.       So it can be, you know, an everyday

11:05:21   20   thing.     But I'll -- I want to pick on someone we haven't

11:05:25   21   heard a lot from.

11:05:26   22              How about Ms. Parker.

11:05:29   23              Now, I don't want to know any details.         I don't

11:05:34   24   want to know any details.        But how did that make you feel

11:05:41   25   when you were wrongly accused?
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 76 of 142 PageID #:
                                       42388                                           76



11:05:44    1            JUROR KALEY PARKER:       Oh, very upset.

11:05:46    2            MS. SMITH:     Okay.   And you stuck up for yourself;

11:05:47    3   did you not?

11:05:48    4            JUROR KALEY PARKER:       Yes.

11:05:49    5            MS. SMITH:     Okay.   And if you were wrongly accused

11:05:50    6   of taking something, and I think Ms. DeRieux used the words

11:05:54    7   "substantial money involved," would you defend yourself?

11:05:56    8            JUROR KALEY PARKER:       Definitely.     Yeah.

11:05:57    9            MS. SMITH:     Would you hesitate to go to court to

11:06:00   10   defend yourself?

11:06:01   11            JUROR KALEY PARKER:       No.

11:06:01   12            MS. SMITH:     Okay.   Now, it's a little bit

11:06:03   13   different because Samsung is a company.          Do you think

11:06:07   14   Samsung -- or Apple, excuse me, is a company -- that's a

11:06:09   15   slip -- Apple is a company.       Do you -- is there any doubt

11:06:12   16   in your mind that Apple has every ability to show up in

11:06:15   17   court and defend itself, or any other company?

11:06:18   18            JUROR KALEY PARKER:       No.

11:06:19   19            MS. SMITH:     Thank you, ma'am.

11:06:20   20            Now, Ms. Black, Ms. DeRieux spoke to you about the

11:06:34   21   dispute you had with your husband's 903 Outdoor business;

11:06:42   22   is that correct?

11:06:42   23            JUROR BLACK:     Yes, ma'am.

11:06:43   24            MS. SMITH:     Okay.   And you guys made a choice that

11:06:44   25   you weren't going to go to court; is that correct?
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 77 of 142 PageID #:
                                       42389                                           77



11:06:47    1             JUROR BLACK:     Correct.

11:06:48    2             MS. SMITH:     Is there anything about that choice

11:06:51    3   that would cause you to take issue with Apple in this case

11:06:52    4   because they have chosen to come to court and defend

11:06:55    5   themselves?   I can take it, ma'am.        I want you to speak --

11:07:06    6   speak your truth.

11:07:07    7             Because I'm trying to figure out who would be the

11:07:09    8   best fit for this panel.         So if you think -- if you're

11:07:12    9   going to fault Apple here for coming to court and defending

11:07:16   10   itself, I'd like -- I'd rather know now than come Friday.

11:07:20   11             JUROR BLACK:     Yeah.     Yes, ma'am.

11:07:24   12             MS. SMITH:     Okay.     I appreciate your honesty.

11:07:26   13             Now, is there any --

11:07:30   14             And you can sit down.

11:07:31   15             JUROR BLACK:     Okay.

11:07:31   16             MS. SMITH:     Is there anyone else out there, and

11:07:34   17   all of you, all but one, except for lucky No. 34 out there,

11:07:38   18   have been accused of something that they haven't done

11:07:40   19   before?   And is there anyone sitting out there that joins

11:07:44   20   Juror No. 28, Ms. Black, and says, you know what, there --

11:07:51   21   this shouldn't be a place where we hear these disputes.                Is

11:07:54   22   there anyone that feels like that?         Anyone that thinks

11:07:57   23   these things should just settle out of court?

11:08:01   24             Juror No. 5, Mr. Parker.        We heard a little bit

11:08:05   25   from you about this.      I think that you -- I read the same
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 78 of 142 PageID #:
                                       42390                                           78



11:08:10    1   quote, I think.    In your juror questionnaire, you said

11:08:13    2   everything can be handled outside of court.

11:08:15    3            So where does that put you with Apple in this

11:08:17    4   case?

11:08:18    5            JUROR JAMES PARKER:        In the same guidelines.

11:08:19    6            MS. SMITH:     Okay.     You understand Apple doesn't

11:08:21    7   want to be in this court, and we're not here by choice?

11:08:26    8            JUROR JAMES PARKER:        I understand that.

11:08:28    9            MS. SMITH:     And do you fault Apple for having to

11:08:31   10   come to court and defend itself?

11:08:33   11            JUROR JAMES PARKER:        I will fault them for not

11:08:35   12   trying to find a reasonable solution with the -- I guess

11:08:39   13   you'd call them the Plaintiff.

11:08:41   14            MS. SMITH:     Okay.     Thank you.   Thank you.     Thank

11:08:44   15   you, sir.

11:08:44   16            All right.     Let's see.     Ms. Haley, Juror No. 2.

11:08:58   17   You've raised four kids.        We met one of them, right?

11:09:02   18            JUROR HALEY:     Yeah.

11:09:04   19            MS. SMITH:     All right.     Carving out Ms. Gibbons

11:09:07   20   from this, because I'm sure she never got any squabbles

11:09:11   21   with her brothers and sisters, right?

11:09:13   22            JUROR HALEY:     There was plenty.

11:09:14   23            MS. SMITH:     Okay.     Let's work with that.

11:09:17   24            So when you were bringing up Ms. Gibbons and her

11:09:21   25   brothers and sisters, they obviously had fights, did they
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 79 of 142 PageID #:
                                       42391                                           79



11:09:24    1   not?

11:09:24    2            JUROR HALEY:     Oh, yes.

11:09:25    3            MS. SMITH:     Okay.    And did you find that it's

11:09:27    4   almost instinctive that when they -- when a fight breaks

11:09:31    5   out, they have this urge to be the first one to tell you

11:09:34    6   their side of the story?

11:09:35    7            JUROR HALEY:     (Nods head affirmatively.)

11:09:37    8            MS. SMITH:     Would you?

11:09:38    9            JUROR HALEY:     Yes.

11:09:39   10            MS. SMITH:     So they get in a fight and they race

11:09:41   11   to you to tell their side of the story first, right?

11:09:44   12            JUROR HALEY:     Yes.

11:09:44   13            MS. SMITH:     As a good momma, did you just take

11:09:47   14   that first story and not listen to any of the rest?

11:09:51   15            JUROR HALEY:     No.

11:09:51   16            MS. SMITH:     Why not?

11:09:52   17            JUROR HALEY:     Because I never knew which one was

11:09:54   18   telling me the truth.      It was -- and that was always hard

11:09:58   19   to figure out.

11:09:59   20            MS. SMITH:     Okay.    And as you might guess, this

11:10:06   21   trial is going to run just like that.          The Plaintiff always

11:10:07   22   gets to speak first.

11:10:08   23            JUROR HALEY:     Yes.

11:10:09   24            MS. SMITH:     And they're going to -- they're good

11:10:10   25   lawyers, they're going to say a lot of smart things, but
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 80 of 142 PageID #:
                                       42392                                           80



11:10:13    1   will you wait until Apple speaks to make up your mind?

11:10:16    2              JUROR HALEY:     Yes.

11:10:16    3              MS. SMITH:     Thank you, ma'am.    I appreciate it.

11:10:18    4              What do you have to say about that, Mr. Jones?

11:10:21    5   Can you agree to wait until you hear the whole side of the

11:10:24    6   story before you make up your mind?

11:10:26    7              JUROR JONES:     Yes, I do.

11:10:29    8              MS. SMITH:     Okay.    I appreciate that, sir.

11:10:32    9              Everyone else on the first row, I'm going to call

11:10:36   10   it Mr. Jones's row, by raising hands, can you all wait --

11:10:41   11   commit to wait until you've heard all the evidence in the

11:10:43   12   case to make up your mind?         Raise your hands.

11:10:47   13              Alright.     Ms. Goodman.

11:10:49   14              Mr. Overstreet, do you have an opinion about that?

11:10:53   15   Let's hear from you, Mr. Overstreet.          We haven't heard from

11:10:55   16   you much today.

11:10:56   17              JUROR OVERSTREET:       I don't use apps.    I just use

11:11:04   18   my phones for emergency --

11:11:07   19              THE COURT:     Just a minute.    I can't hear you,

11:11:09   20   Mr. Overstreet.       I don't know if that mic is not working,

11:11:11   21   your mask is not down.

11:11:13   22              JUROR OVERSTREET:       Hello, hello.   It's not

11:11:16   23   working.

11:11:17   24              THE COURT:     Hand it back to the Court Security

11:11:18   25   Officer.    Sometimes they get pushed off by mistake when
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 81 of 142 PageID #:
                                       42393                                           81



11:11:21    1   they're passed around.

11:11:25    2            Let's get the other microphone.

11:11:33    3            JUROR OVERSTREET:       I don't -- I don't --

11:11:35    4            MS. SMITH:     Yes --

11:11:36    5            JUROR OVERSTREET:       Oh, hello.

11:11:38    6            MS. SMITH:     Yes, sir.

11:11:46    7            JUROR OVERSTREET:       Okay.

11:11:47    8            MS. SMITH:     Thank you.

11:11:48    9            JUROR OVERSTREET:       No, I -- I don't -- I don't

11:11:50   10   know nothing about -- you know, really about Apple or any

11:11:52   11   other -- you know, what's on -- you know, really --

11:11:56   12            MS. SMITH:     Okay.

11:11:58   13            JUROR OVERSTREET:       -- about Apple because I don't

11:11:59   14   have Apple on my phone.

11:12:01   15            MS. SMITH:     All right.       Well, you sat through

11:12:03   16   another patent trial, did you not?

11:12:05   17            JUROR OVERSTREET:       Yes.

11:12:05   18            MS. SMITH:     And what was the subject matter of

11:12:08   19   that trial?

11:12:08   20            JUROR OVERSTREET:       That subject was about UPS --

11:12:14   21            MS. SMITH:     Okay.

11:12:14   22            JUROR OVERSTREET:       -- Yeah -- not UPS but -- let

11:12:18   23   me think what it was -- something to do -- I believe it was

11:12:25   24   something to do with --

11:12:26   25            MS. SMITH:     Well, it was -- let me help you.          It
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 82 of 142 PageID #:
                                       42394                                           82



11:12:29    1   was a patent case, and before you walked into that case,

11:12:31    2   did you know much about patents?

11:12:33    3            JUROR OVERSTREET:       No.

11:12:34    4            MS. SMITH:     But I bet -- you said you sat through

11:12:37    5   a good deal of that trial, right?

11:12:39    6            JUROR OVERSTREET:       Yes.

11:12:39    7            MS. SMITH:     Up to the bitter end?

11:12:42    8            JUROR OVERSTREET:       Just like this right here.

11:12:45    9            MS. SMITH:     Right.    And you learned a whole lot

11:12:47   10   about patents in that case --

11:12:48   11            JUROR OVERSTREET:       Yeah.

11:12:48   12            MS. SMITH:     -- did you not?

11:12:48   13            JUROR OVERSTREET:       Yeah.

11:12:49   14            MS. SMITH:     And so I promise you here that you'll

11:12:51   15   learn a whole lot about apps but my question was a little

11:12:53   16   bit different.    It was, just like in that other jury

11:12:54   17   service you had, can you wait until you hear from the

11:12:55   18   Plaintiff and the Defendant before you make up your mind?

11:12:58   19            JUROR OVERSTREET:       Yeah.

11:12:58   20            MS. SMITH:     Okay.    I appreciate that,

11:13:01   21   Mr. Overstreet.

11:13:01   22            All right.     I want to talk a little bit about

11:13:05   23   Apple products.

11:13:07   24            So we're lucky to have many, many of you as

11:13:11   25   customers, but I want to see by a showing of hands again
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 83 of 142 PageID #:
                                       42395                                             83



11:13:16    1   who the Apple customers are.       Who owns Apple products right

11:13:19    2   now?

11:13:19    3            All right.     Now keep your hands up if you are not

11:13:25    4   satisfied in some way with your Apple products.

11:13:29    5            Juror No. 18, Mr. Groce.        Tell me about that.

11:13:35    6            JUROR GROCE:     I used to own an Apple phone.          I

11:13:41    7   didn't like it.    I'm not very good with technology.           My

11:13:45    8   daughter owns an Apple phone.        And she don't like it.          I

11:13:50    9   have an Apple iPad, and I don't like it.

11:13:55   10            MS. SMITH:     Okay.   Well, that's obviously tough

11:13:58   11   stuff for me to hear as I stand here in front of you

11:14:02   12   representing Apple.

11:14:03   13            JUROR GROCE:     Again, I'm not very good in

11:14:06   14   technology.   If it's not simple, then I lose patience with

11:14:09   15   it.

11:14:10   16            MS. SMITH:     Okay.   Well, Mr. Groce, and my

11:14:12   17   question is going to be this, knowing that you've had a

11:14:14   18   negative experience with a series, not one, but many Apple

11:14:18   19   products, and I -- on behalf of Apple, I apologize for

11:14:22   20   that, but in this trial, do you think you might be a better

11:14:26   21   fit for a different trial, and I'll have you know, this

11:14:29   22   won't be the last jury summons you ever get, but you might

11:14:33   23   be a better fit for a different trial that didn't involve

11:14:37   24   Apple given your negative opinions of Apple products.

11:14:39   25            JUROR GROCE:     I don't know.      I'd have to know the
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 84 of 142 PageID #:
                                       42396                                           84



11:14:41    1   trial.

11:14:42    2              MS. SMITH:     Okay.   Okay.   Fair enough.    Thank you,

11:14:43    3   sir.     Appreciate it.

11:14:44    4              All right.     Ms. Gibbons, you didn't raise your

11:14:51    5   hand, but you had a discussion with Ms. DeRieux about your

11:14:54    6   Apple tablet.     You said that you felt that Apple was a

11:15:00    7   little bit overrated.       I think I -- I tried to listen

11:15:03    8   closely.     I think I wrote that down right.

11:15:07    9              JUROR GIBBONS:     Yes, ma'am.

11:15:08   10              MS. SMITH:     Okay.   Tell me about your feelings.

11:15:10   11              JUROR GIBBONS:     I just think they're complicated

11:15:12   12   to me.     You got to have a certain iTunes account to even

11:15:16   13   get on there and do anything.         And they're just not like

11:15:19   14   the Androids that I like.         And my husband has an Apple as

11:15:22   15   of right now that he -- I got him for Christmas, and he is

11:15:26   16   currently looking into another Android because he's not

11:15:29   17   satisfied either.

11:15:29   18              MS. SMITH:     Knowing all of that, same question as

11:15:33   19   I had for Mr. Groce, do you think you might be a better

11:15:35   20   fit, knowing that you've had these negative experiences

11:15:38   21   with Apple, do you think you might be a better fit for a

11:15:41   22   different kind of case?

11:15:41   23              JUROR GIBBONS:     I would like to think that I

11:15:43   24   wouldn't -- just because of the dislikes that I have with

11:15:47   25   their product doesn't mean that -- they're still people so,
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 85 of 142 PageID #:
                                       42397                                           85



11:15:50    1   I mean --

11:15:50    2              MS. SMITH:     And I guarantee you, I'm not going to

11:15:52    3   ask you to use an Apple product if you're chosen for this

11:15:56    4   case.   Do we have that deal?

11:15:59    5              JUROR GIBBONS:     Deal.

11:16:00    6              MS. SMITH:     Okay.   Thank you, ma'am.     I appreciate

11:16:01    7   it.

11:16:01    8              All right.     You've heard -- there's going to be a

11:16:03    9   lot of patents in this case.          You're going to hear about, I

11:16:06   10   think, probably six Apple patents, and you're going to hear

11:16:08   11   about one on the PMC side, as well.

11:16:09   12              I think I saw on some of the questionnaires that

11:16:12   13   you guys -- some of you had some inventors in the family.

11:16:15   14              Let's see, Juror No. 33, Ms. Carter.         There we go.

11:16:21   15   Haven't heard from you today.          Ms. Carter, I noticed on

11:16:26   16   your questionnaire that you'd said that patents last too

11:16:29   17   long, and that you had an uncle that had a patent.             Tell me

11:16:33   18   about that.

11:16:33   19              JUROR DAVIS:     I have two uncles.     One invented

11:16:37   20   a -- it was something to do with covering coal, loads of

11:16:42   21   coal as they -- I don't know -- I don't know all the

11:16:44   22   details.

11:16:44   23              The other one invented some kind of a basketball

11:16:48   24   goal, portable, movable, whatever, one, various sizes, with

11:16:54   25   his son.    And they both got them patented and did whatever.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 86 of 142 PageID #:
                                       42398                                           86



11:16:58    1              And my -- my objection to the length is that 20

11:17:02    2   years made great sense long ago.        But in -- you know, and,

11:17:09    3   again, I'm an economist.

11:17:10    4              MS. SMITH:     Okay.

11:17:11    5              JUROR CARTER:     This is my thing, so that's

11:17:13    6   where -- you know, lots of these things.          It just -- in

11:17:16    7   this day and age, 20 years is an awful long time in the

11:17:21    8   life of a company or a product or anything else to own that

11:17:27    9   intellectual property.

11:17:29   10              MS. SMITH:     So you'd probably agree if we have a

11:17:31   11   patent -- let's say we have a patent from the '80s, like a

11:17:34   12   1987 patent, you probably would have a hard time thinking

11:17:38   13   that that patent applied to a 2021 product?

11:17:43   14              JUROR CARTER:     At 20 years, isn't it already

11:17:47   15   expired?    Isn't that irrelevant?      I mean, right, I guess.

11:17:52   16              MS. SMITH:     I don't want to get -- delve into

11:17:54   17   patent law.

11:17:55   18              JUROR DAVIS:     Okay.

11:17:55   19              MS. SMITH:     But that wouldn't make sense to you,

11:17:59   20   would it?

11:17:59   21              JUROR DAVIS:     No.

11:17:59   22              THE COURT:     And to the extent we can all talk one

11:18:02   23   at a time, it would be helpful.

11:18:04   24              MS. SMITH:     All right.   I apologize, Your Honor.

11:18:06   25              THE COURT:     Let's continue.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 87 of 142 PageID #:
                                       42399                                           87



11:18:07    1             JUROR CARTER:     I'm sorry.

11:18:07    2             MS. SMITH:     Thank you, ma'am.

11:18:08    3             Juror No. 22, Ms. Fruia, did I say that right?

11:18:12    4             JUROR FRUIA:     Fruia.

11:18:13    5             MS. SMITH:     Fruia.     Third time is a charm,

11:18:16    6   Ms. Fruia.

11:18:17    7             JUROR FRUIA:     That's fine.

11:18:18    8             MS. SMITH:     Okay. Do you have an inventor in the

11:18:19    9   family?

11:18:21   10             JUROR FRUIA:     My had father had a patent on a

11:18:26   11   fishing product.     It was called the Keeper.        It was a

11:18:30   12   measurement tool that fishermen could mount to a boat, and

11:18:35   13   they could measure a fish to see if they needed to throw it

11:18:38   14   back or not.

11:18:39   15             MS. SMITH:     And ultimately did he make a product

11:18:40   16   with that.

11:18:41   17             JUROR FRUIA:     Yes, yes, ma'am.

11:18:42   18             MS. SMITH:     All right.     So and he never -- was he

11:18:51   19   ever involved in litigation?

11:18:53   20             JUROR FRUIA:     Not to my knowledge.

11:18:54   21             MS. SMITH:     Okay.

11:18:54   22             JUROR FRUIA:     This was in the '70s when it was

11:18:56   23   invented.

11:18:56   24             MS. SMITH:     Okay.    Thank you, ma'am.

11:18:59   25             JUROR FRUIA:     Uh-huh.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 88 of 142 PageID #:
                                       42400                                           88



11:18:59    1              MS. SMITH:    Juror No. 13, Mr. Rand?       I believe

11:19:08    2   your brother is an inventor; is that correct?

11:19:11    3              JUROR RAND:    Yes.    Yes.

11:19:12    4              MS. SMITH:    What's your brother do?

11:19:14    5              JUROR RAND:    He's a computer programmer and a

11:19:18    6   language programmer.      He does both.

11:19:22    7              MS. SMITH:    All right.      Okay, tell me a little bit

11:19:24    8   about his invention.

11:19:25    9              JUROR RAND:    It was for a new language, back in

11:19:29   10   the '80s.    He invented a new language where computers could

11:19:34   11   talk to each other.

11:19:35   12              MS. SMITH:    Okay.    All right.    And did -- this was

11:19:38   13   a software program?

11:19:40   14              JUROR RAND:    Yes.

11:19:41   15              MS. SMITH:    And was he eventually able to sell

11:19:42   16   that program to people or put it in some type of product?

11:19:47   17              JUROR RAND:    He got a patent on it.       I don't think

11:19:49   18   it's ever been sold or used.

11:19:51   19              MS. SMITH:    Okay.    And did he ever sue anybody

11:19:54   20   with it?

11:19:55   21              JUROR RAND:    No.    No, no.

11:19:57   22              MS. SMITH:    Okay.    Thank you, sir.

11:19:58   23              JUROR RAND:    Yes, ma'am.

11:19:59   24              MS. SMITH:    Now, the next set of questions, when

11:20:01   25   my partner was teaching me how to do voir dire, he said the
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 89 of 142 PageID #:
                                       42401                                           89



11:20:07    1   best way to get to know a big group of people in a room

11:20:11    2   like this is to have them tell you how they see themselves.

11:20:14    3             So the first question I have for you, we've got

11:20:18    4   some people who make quick decisions.          They can just make

11:20:21    5   decisions like this.      Good, bad or otherwise, they're

11:20:23    6   always quick.     Other people who take some time and want to

11:20:25    7   take every little detail.       By raise of hands, and I'm just

11:20:29    8   going to call out numbers, who are my quick decisionmakers

11:20:33    9   in my group?

11:20:36   10             All right.    I've got Ms. Fruia, and on the back

11:20:39   11   row, Ms. Ferguson, Mr. Driggers, Mr. Berryhill.            Did I get

11:20:43   12   that right?

11:20:45   13             All right.    Showing of hands, who are my folks

11:20:48   14   that take time, give everything thoughtful consideration?

11:20:52   15   Is that everyone else?      I just want to make sure I get a

11:20:54   16   hand from everybody.      All right.     Thank you all.

11:20:56   17             A little bit different question.          Some people

11:21:03   18   seek out leadership positions.         Some people are always the

11:21:08   19   persons that others want to be leaders.          So there are

11:21:10   20   leaders and then there are folks that are fine just being

11:21:12   21   part of the group.     Who are my -- who would say, I'm a

11:21:17   22   leader?   All right.    We've got a lot of leaders in there.

11:21:20   23             Okay.   1, sorry, 7, 8, 9, 10, 11, 13, 18, 23, and

11:21:32   24   Ms. Fruia.     And then I've got some on the back row.          Thank

11:21:36   25   you.   Thank you, guys.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 90 of 142 PageID #:
                                       42402                                           90



11:21:39    1            Who would put themselves in a category of having

11:21:43    2   kind of special technical knowledge by raising hands?

11:21:46    3   Mr. Cox; is that right?      Mr. Cox.

11:21:51    4            And who else do I have?         On the first three rows,

11:21:53    5   Mr. Cox, Ms. Rand, anybody else?

11:21:57    6            Okay.   Mr. Cox, can you tell me why you say that?

11:22:00    7   They're coming with the mic.

11:22:02    8            JUROR COX:     Just working with electronics and

11:22:07    9   instrumentation, computers.

11:22:09   10            MS. SMITH:     All right.      Self-taught?

11:22:12   11            JUROR COX:     No, college education.

11:22:14   12            MS. SMITH:     Okay.   What was your major.

11:22:17   13            JUROR COX:     Electronics.

11:22:18   14            MS. SMITH:     Okay.   And when you -- remind you what

11:22:20   15   you do -- what you did for work or do for work.

11:22:24   16            JUROR COX:     Instrumentation.

11:22:25   17            MS. SMITH:     Okay.   And where do you do that?

11:22:27   18            JUROR COX:     American Electric Power.

11:22:30   19            MS. SMITH:     And does that flow over into friends

11:22:31   20   and family, when someone needs something fixed, you're the

11:22:32   21   guy that's going to do it.

11:22:34   22            JUROR COX:     If I can't get out of it, yes.

11:22:36   23            MS. SMITH:     Okay.   Okay.     Are you the guy that

11:22:38   24   typically -- I've never read an owner's manual in my life.

11:22:38   25   Are you the guy that will read -- read the manual and
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 91 of 142 PageID #:
                                       42403                                           91



11:22:41    1   figure out how to -- how to fix things?

11:22:45    2            JUROR COX:     If all else fails, read the

11:22:48    3   directions.

11:22:48    4            MS. SMITH:     Okay.    Thank you, sir.     I appreciate

11:22:49    5   that.

11:22:50    6            Mr. Rand, I -- thank you.

11:22:52    7            No. 13.    I know where your brother puts himself in

11:22:58    8   that category.     Tell me about your experience.

11:23:00    9            JUROR RAND:     Well, I do -- I work steam boiling

11:23:06   10   engineering, fabrication.        And this involves electronics --

11:23:16   11   fire, pressure, you just got to do a maze of things.

11:23:20   12   You've got to know -- and you got to -- if something -- if

11:23:22   13   safety feature go down, you got to react quickly.

11:23:25   14            And then the question that was I asked earlier,

11:23:28   15   then sometimes you have to let it -- you have to just sit

11:23:30   16   back and monitor things instead of making a quick decision

11:23:33   17   because it could be a wrong decision, because it's a

11:23:37   18   dangerous job.

11:23:38   19            MS. SMITH:     Right.

11:23:39   20            JUROR RAND:     But you've got to know electronics.

11:23:41   21   Again, pressures, safety features, why this does this,

11:23:46   22   that, and...

11:23:47   23            MS. SMITH:     Okay.

11:23:48   24            THE COURT:     Five minutes remaining.

11:23:50   25            MS. SMITH:     Thank you, Mr. Rand.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 92 of 142 PageID #:
                                       42404                                           92



11:23:52    1            JUROR RAND:     Yes, ma'am.

11:23:53    2            MS. SMITH:     Has anyone ever gotten a call from a

11:23:57    3   telemarketer?    Has anybody not gotten a call?          I need to

11:24:03    4   talk to you about how not to get those.

11:24:05    5            Let's see, Ms. Smith, let's talk to you.

11:24:07    6            When a telemarketer calls, a salesman of some

11:24:12    7   sorts and you don't want what they're selling and you don't

11:24:15    8   need what they're selling, do you have -- do you hesitate

11:24:17    9   to tell them "no, thank you."

11:24:19   10            JUROR SMITH:     No.

11:24:20   11            MS. SMITH:     Okay.   I expect you'd agree that

11:24:22   12   companies have the same ability, when a salesman comes

11:24:25   13   knocking at the door, to say "no, thank you" if they don't

11:24:28   14   want it and they don't need it?        Would you agree with that?

11:24:31   15            JUROR SMITH:     That is correct.

11:24:31   16            MS. SMITH:     Thank you, Ms. Smith.

11:24:32   17            Does everyone agree with Ms. Smith that companies

11:24:36   18   have the same rights as individuals to say we don't want it

11:24:38   19   and we don't need it?

11:24:40   20            All right.     Thank y'all.

11:24:45   21            Ms. DeRieux said that they're going to ask you --

11:24:46   22   she was a little bit shy about the amount.           I didn't hear

11:24:47   23   an amount.   But she said they were going to ask for a

11:24:51   24   substantial or large amount of money.

11:24:53   25            And my question is this -- and I'll say, you know,
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 93 of 142 PageID #:
                                       42405                                            93



11:24:57    1   she's a good lawyer.      They're going to be good lawyers on

11:25:00    2   the other side.    They're going to put up a good case.            But

11:25:03    3   if the Plaintiff does not -- spends five days in this

11:25:08    4   courthouse and does not meet their burden -- and Judge

11:25:11    5   Gilstrap will tell you more about the burden -- but if the

11:25:14    6   Plaintiff doesn't meet their burden, can everyone commit to

11:25:19    7   giving them zero, by a showing of hands?

11:25:22    8            No one is out there saying, you know, they showed

11:25:24    9   up, they tried.    They gave it their best shot.          They should

11:25:29   10   deserve something.     Kind of an award for second place.              Is

11:25:32   11   there anyone that's thinking that way?

11:25:32   12            Ms. Goodman.

11:25:36   13            Bad question.     You're not thinking, well, gosh,

11:25:39   14   they showed up.    They're good lawyers.        They put on a case,

11:25:43   15   they tried.   They should deserve something.

11:25:43   16            Thank you.     Thanks.

11:25:43   17            All right.     I didn't share -- some of you may have

11:25:49   18   noted that I didn't share my own personal jury service with

11:25:52   19   you, and so I'll share it now.        I have been on a jury.           And

11:25:56   20   this ties into my last question.        I was on a jury when two

11:26:00   21   lawyers, that I still question today, thought I would be a

11:26:03   22   good fit for the jury.      It was a criminal case about a harm

11:26:07   23   to a very, very young child.

11:26:10   24            It was over in Marion County in State Court, and I

11:26:14   25   was about -- I felt like I was 10 months pregnant -- but I
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 94 of 142 PageID #:
                                       42406                                           94



11:26:18    1   was eight and a half months pregnant, and obviously

11:26:22    2   pregnant, and these lawyers thought that I would be a good

11:26:25    3   juror for some reason to sit on a case about someone

11:26:27    4   hurting a small baby.

11:26:29    5              So my question is this, they should have known

11:26:31    6   better.     But is there anything -- any question I haven't

11:26:37    7   asked -- you've heard a little bit about the case from each

11:26:41    8   side.     Is there anything that you want to tell me, anything

11:26:44    9   that I should know about you not being a good fit for this

11:26:48   10   panel or anything that Ms. DeRieux has said that causes you

11:26:51   11   to kind of start leaning toward the Plaintiff before you're

11:26:54   12   even selected for the case?       I don't always know the right

11:26:58   13   questions.

11:26:59   14              Ms. Nolan.     I know your brother.     I go back about

11:27:04   15   two decades with Brent, so.

11:27:07   16              JUROR NOLAN:     I just want to make that clear.

11:27:08   17              MS. SMITH:     And I appreciate that.     I should have

11:27:10   18   talked to you earlier.

11:27:11   19              And on that -- on that note, same question for

11:27:14   20   Ms. Goodman.     I mean, you've -- he does Plaintiff's work.

11:27:18   21   He's -- I've never seen a Goudarzi and Young billboard that

11:27:25   22   says we represent the wrongfully accused, right?            So you'd

11:27:29   23   probably start out leaning a little towards the Plaintiff's

11:27:30   24   side?

11:27:31   25              JUROR NOLAN:     I'm very fair and impartial.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 95 of 142 PageID #:
                                       42407                                            95



11:27:33    1            MS. SMITH:     Well I appreciate that.        Thank you,

11:27:34    2   ma'am.

11:27:34    3            No further questions.       And thank you all again for

11:27:37    4   your time this morning.

11:27:39    5            Thank you, Your Honor.

11:27:41    6            THE COURT:     Thank you, counsel.

11:27:43    7            Ladies and gentlemen, part of this process is

11:27:47    8   going to be requiring that there will be times I need to

11:27:52    9   talk to the lawyers outside of your presence.

11:27:54   10            Ordinarily, before we had a pandemic, I would

11:27:59   11   simply call them up here to the bench where you couldn't

11:28:02   12   hear them and we would talk quietly to each other at the

11:28:05   13   bench.   We can't do that in today's environment.

11:28:08   14            So I'm going to have to meet with the lawyers and

11:28:10   15   the court reporter in the jury room for a few minutes.                 And

11:28:12   16   then after I meet with them, it's possible that some of you

11:28:16   17   may be brought in to let me talk with you there one at a

11:28:21   18   time, and you'll be brought in and taken back to your

11:28:24   19   position by our Court Security Officers.

11:28:25   20            While I'm out of the courtroom, you should keep

11:28:27   21   your mask on.    You should stay in your seats.          You can, if

11:28:31   22   you would like to, have a quiet discreet conversation with

11:28:35   23   your neighbor to either side of you if you want to.             You

11:28:37   24   don't have to.

11:28:39   25            If you have a conversation with somebody in the
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 96 of 142 PageID #:
                                       42408                                           96



11:28:44    1   courtroom today, don't talk about anything that's happened

11:28:46    2   with regard to the case.      Talk about the weather, talk

11:28:50    3   about your grandchildren, talk about a sports team,

11:28:54    4   anything you'd like to discuss, but don't talk about

11:28:57    5   anything involving the case.       Because let me tell you, you

11:29:00    6   have heard absolutely no evidence in this case whatsoever.

11:29:04    7   So don't talk about anything related to the case while I'm

11:29:07    8   out of the courtroom.

11:29:08    9            The Court Security Officers are going to be

11:29:10   10   checking with you while I'm out of the courtroom to see if

11:29:13   11   anyone needs a restroom break, and they'll be taking you in

11:29:16   12   very small groups to maintain social distancing.            If you

11:29:20   13   do, if you have an issue with that while I'm out of the

11:29:24   14   courtroom, just get the attention of one of the Court

11:29:27   15   Security Officers, and they'll work with you on that.

11:29:28   16            So if you will give me a little bit of time, I'll

11:29:31   17   be back in the courtroom as soon as I can.

11:29:35   18            At this time, I'll meet counsel and the court

11:29:37   19   reporter in the jury room.

11:29:48   20            (Conference outside of the presence of the jury.)

11:31:04   21            THE COURT:     Ms. DeRieux, does Plaintiff have any

11:31:36   22   challenges for cause?

11:31:38   23            MS. DERIEUX:     Yes, sir.     We challenge Juror No. 1,

11:31:40   24   Mr. Jones, based on -- and these are my notes --

11:31:46   25            THE COURT:     Just give me the names right now.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 97 of 142 PageID #:
                                       42409                                           97



11:31:49    1            MS. DERIEUX:       Okay.     And No. 5, Mr. Parker.

11:31:52    2            THE COURT:       Anybody else?

11:31:53    3            MS. DERIEUX:       No, sir.

11:31:54    4            THE COURT:       All right.

11:31:54    5            Ms. Smith, do Defendants challenge anybody for

11:31:57    6   cause.

11:31:57    7            MS. SMITH:       Yes, Your Honor.     2, 5, 16, and 18.

11:31:59    8            THE COURT:       All right.     Do we have anybody on here

11:32:17    9   that based on the question about ownership of individual

11:32:21   10   shares of Apple stock, that anybody believes should be

11:32:26   11   disqualified as a matter of law?

11:32:30   12            MS. SMITH:       I believe they were all held in mutual

11:32:33   13   funds.   We -- we're not challenging.

11:32:34   14            THE COURT:       Clearly mutual funds that might own

11:32:37   15   shares of Apple are not an issue.          I just wanted to verify.

11:32:41   16   I don't want to get into this trial and then somebody says,

11:32:44   17   oops, this juror owns Apple stock and they should be

11:32:47   18   disqualified.     Okay.

11:32:49   19            MS. DERIEUX:       Based on my notes, we didn't have

11:32:51   20   any challenges on the stock question.

11:33:01   21            THE COURT:       Mr. Quarles, No. 9, didn't say he own

11:33:05   22   Apple stock.    He's retired from Pirkey Power Plant.

11:33:06   23            MS. DERIEUX:       He did.     My understanding was it was

11:33:09   24   a mutual found.

11:33:10   25            MS. SMITH:       That's my understanding as well.
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 98 of 142 PageID #:
                                       42410                                           98



11:33:13    1              MS. DERIEUX:     He came back -- he was the one that

11:33:13    2   after the others started talking about mutual funds, he

11:33:17    3   came back and raised his hand and said something like, me

11:33:19    4   too, was my understanding of his statement.

11:33:21    5              THE COURT:     Okay.   I just would rather be careful

11:33:26    6   now than have a problem later.

11:33:28    7              MS. DERIEUX:     I agree, Your Honor.     I was trying

11:33:30    8   to keep those hands up and catch everybody.

11:33:33    9              THE COURT:     All right.   We obviously don't have

11:33:35   10   anybody that raised their hand with a scheduling issue that

11:33:37   11   we need to address.

11:33:38   12              Let me ask this, you both challenged Mr. Parker,

11:33:55   13   Venire Member No. 5, for cause.        Do you want to agree that

11:34:03   14   he should be excused, or do you want me to bring him back

11:34:06   15   here and question him about his ability to be fair?

11:34:09   16              MS. DERIEUX:     I'm satisfied that we just agree.

11:34:11   17              MS. SMITH:     I'd like to agree.

11:34:12   18              THE COURT:     Okay.   Then by agreement of the

11:34:14   19   parties, Mr. Parker, No. 5, is excused.

11:34:18   20              MS. SMITH:     Your Honor, I have a question about 2

11:34:20   21   and 16.    This is -- I've never had a mother/daughter duo

11:34:25   22   on -- it's not really a challenge as to each person

11:34:28   23   individually.    It's the fact that the daughter said she

11:34:31   24   couldn't -- she couldn't do anything contrary to what her

11:34:35   25   mom did.    So I don't know exactly how to conduct that
     Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 99 of 142 PageID #:
                                       42411                                           99



11:34:38    1   challenge.    It's more of a group --

11:34:40    2            THE COURT:     I've never had it happen before --

11:34:42    3            MS. SMITH:     -- challenge.

11:34:44    4            THE COURT:     -- but it may very well be the case

11:34:49    5   the mother can do whatever she wants to do and not be

11:34:52    6   influenced by the daughter, but the daughter doesn't feel

11:34:55    7   she can do what she needs to do without being influenced by

11:34:58    8   the mother.

11:34:58    9            I'm happy to talk to them both but I think we're

11:34:59   10   just going to -- I'm just going to have to put the question

11:35:00   11   to them and have them say whether that would be an

11:35:03   12   impediment to them being fair or impartial to both sides or

11:35:11   13   whether it wouldn't.

11:35:11   14            MS. SMITH:     Okay.   My focus was more on the

11:35:15   15   daughter, I think.

11:35:15   16            THE COURT:     I've had cousins before and I've had

11:35:15   17   uncles and nephews before.       I've never had a parent and a

11:35:16   18   child before.     But I think in any of those cases of some

11:35:18   19   familial relationship, you just have to ask each member

11:35:22   20   about their ability to be fair and impartial if the other

11:35:27   21   family member were to end up on the jury.

11:35:29   22            Is that the only basis you're challenging No. 2

11:35:36   23   on?

11:35:36   24            MS. SMITH:     Yes, Your Honor.

11:35:37   25            THE COURT:     Okay.   And I would assume you might
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 100 of 142 PageID #:
                                       42412                                         100



11:35:39    1   have another basis to challenge No. 16?

11:35:42    2           MS. SMITH:     Yes, Your Honor.

11:35:42    3           THE COURT:     Okay.    Are there any other questions

11:35:44    4   from counsel to the Court before I start bringing these

11:35:48    5   folks in and visiting with them?

11:35:52    6           MS. DERIEUX:      Nothing from Plaintiff.        Thank you.

11:35:55    7           MS. SMITH:     No, Your Honor.

11:35:56    8           THE COURT:     Okay.    All right.     Let's ask the Court

11:35:58    9   Security Officer to bring in Panel Member No. 1, Mr. Jones.

11:36:16   10           (Juror brought into jury room.)

11:36:57   11           THE COURT:     Come in, Mr. Jones.

11:36:59   12           JUROR JONES:      Yes, sir.

11:37:00   13           THE COURT:     If you wouldn't mind, have a seat

11:37:02   14   right there, sir.

11:37:02   15           JUROR JONES:      Yes, sir.

11:37:02   16           THE COURT:     Thank you.

11:37:04   17           Mr. Jones, I have in my notes that when asked

11:37:08   18   about the position of a party that owned a patent but

11:37:11   19   didn't manufacture a product, you said that a

11:37:15   20   non-manufacturing patent owner would be at a disadvantage

11:37:18   21   in your mind.   I think you said, if I wrote this down

11:37:23   22   properly, they just owned a piece of paper.

11:37:25   23           Now, I also heard you say that you'd listen to the

11:37:28   24   evidence from both sides of the case before you made up

11:37:30   25   your mind on any issues.       But I guess my question to you
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 101 of 142 PageID #:
                                       42413                                         101



11:37:35    1   is, clearly, the Plaintiff here owns a patent or they

11:37:39    2   wouldn't have the right to bring this lawsuit.           But they --

11:37:42    3   by their own admission don't make a product.

11:37:45    4           JUROR JONES:      Right.

11:37:46    5           THE COURT:     Are you going to be able to treat the

11:37:48    6   Plaintiff just as fairly as you treat the Defendant, and

11:37:51    7   will they both start out in an equal position so that you

11:37:54    8   won't treat either of them differently until you start

11:37:59    9   hearing the evidence, and as you said clearly and

11:38:02   10   rightfully so, and you won't make any final decisions until

11:38:06   11   you hear all the evidence.

11:38:07   12           Or is there something about the fact that the

11:38:10   13   Plaintiff not making a product would cause you not to be

11:38:12   14   able to treat the Plaintiff and the Defendant just alike

11:38:16   15   and starting out even.

11:38:18   16           JUROR JONES:      No, sir, there's not.       It just, it

11:38:20   17   kind of fell with the question she had about the

11:38:23   18   landowners, where, you know, if someone come in and drilled

11:38:25   19   on your land, would you be upset?        Well, if you don't own

11:38:28   20   the mineral rights but you own the land, you can't say

11:38:32   21   nothing --

11:38:33   22           THE COURT:     Well, sometimes lawyers don't ask

11:38:35   23   great questions.    I was guilty of that many, many times.

11:38:38   24           JUROR JONES:      That was where I was.

11:38:40   25           THE COURT:     Okay.    So you could treat the
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 102 of 142 PageID #:
                                       42414                                         102



11:38:41    1   Plaintiff, PMC, and the Defendant, Apple, just the same

11:38:45    2   even though there's no question in anybody's mind that

11:38:48    3   Apple makes products, PMC doesn't make products?

11:38:51    4            JUROR JONES:     Yes.

11:38:53    5            THE COURT:     You could listen to the evidence and

11:38:55    6   make your decision based solely on the evidence from both

11:38:59    7   sides.

11:38:59    8            JUROR JONES:     Yes, sir.

11:39:00    9            THE COURT:     Okay.    Mr. Jones.

11:39:01   10            Any questions for Mr. Jones from Ms. DeRieux?

11:39:05   11            MS. DERIEUX:     Nothing further.      Thank you.

11:39:06   12            THE COURT:     Okay. I'm going to let you return to

11:39:10   13   your seat out there, Mr. Jones.        Just don't discuss

11:39:12   14   anything we've talked about in here.

11:39:14   15            JUROR JONES:     Yes, sir.

11:39:14   16            THE COURT:     Thank you very much.

11:39:16   17            JUROR JONES:     Thank you.

11:39:16   18            (Juror excused to return to the courtroom.)

11:39:16   19            THE COURT:     Let's bring in No. 2, Ms. Haley.

11:39:21   20            Mr. Jones is not excused.

11:39:45   21            (Juror brought into jury room.)

11:39:45   22            THE COURT:     Good morning, Ms. Haley.

11:39:50   23            JUROR HALEY:     Good morning.

11:39:51   24            THE COURT:     Would you come in and have a seat

11:39:52   25   right there?   Thank you.
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 103 of 142 PageID #:
                                       42415                                         103



11:39:53    1           Ms. Haley, I've been on the bench 10 years in

11:39:58    2   December.    I've never had a mother and a daughter on the

11:40:01    3   same jury panel.    And I heard your daughter, Ms. Gibbons,

11:40:09    4   talk about how much she respects you, as she should, and

11:40:12    5   how it would be hard for her to go a different direction if

11:40:15    6   you and she were on the same jury and you felt one way and

11:40:19    7   she might otherwise not feel that way but she'd be

11:40:23    8   influenced by the position you took.

11:40:24    9           I guess I need to get -- hear from you on the

11:40:26   10   reverse of that.    If you and she were on the jury, would

11:40:29   11   whatever position she took influence you or would you be

11:40:33   12   able to --

11:40:35   13           JUROR HALEY:      I have my own --

11:40:36   14           THE COURT:     -- make your own independent decision?

11:40:38   15           JUROR HALEY:      I have a mind of my own.

11:40:38   16           THE COURT:     I'm not suggesting --

11:40:40   17           JUROR HALEY:      I love my daughter, and she's really

11:40:44   18   intuitive on people, you know.        She reads them probably

11:40:47   19   better than I do.    But I still -- I have a mind of my own.

11:40:52   20           THE COURT:     And there's no guarantee that you and

11:40:54   21   she will both end up on this jury.

11:40:56   22           JUROR HALEY:      Yeah, I know.

11:40:57   23           THE COURT:     But if you did, you could handle

11:41:01   24   yourself just like the other seven people were seven

11:41:05   25   strangers and her being your daughter wouldn't change how
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 104 of 142 PageID #:
                                       42416                                         104



11:41:08    1   you would react to her or be influenced by her; is that

11:41:10    2   right?

11:41:10    3            JUROR HALEY:     No, I couldn't be influenced to

11:41:13    4   change what I think.

11:41:13    5            THE COURT:     Okay. Ms. Smith, do you have any

11:41:15    6   questions for Ms. Haley?

11:41:16    7            MS. SMITH:     No, Your Honor.

11:41:17    8            THE COURT:     Okay.     Ms. Haley, I'm going to let you

11:41:21    9   return to the jury -- to the courtroom.          Just don't discuss

11:41:23   10   anything we talked about in here.

11:41:25   11            JUROR HALEY:     Okay.

11:41:25   12            THE COURT:     Thank you very much.

11:41:28   13            (Juror excused to return to the courtroom.)

11:41:29   14            THE COURT:     All right.     Ms. Haley is not excused.

11:41:32   15            We've excused Mr. Parker, No. 5, by agreement.

11:41:38   16            That brings us to the other half of the equation,

11:41:42   17   No. 16, Ms. Gibbons.

11:41:44   18            Could we get Ms. Gibbons in, please?

11:42:01   19            (Juror brought into jury room.)

11:42:01   20            THE COURT:     Come in, Ms. Gibbons.       Do you mind

11:43:46   21   having a seat right there, please?         Thank you.

11:43:50   22            JUROR GIBBONS:     Do I need to take my mask down?

11:43:53   23            THE COURT:     Whatever you'd prefer --

11:43:55   24            JUROR GIBBONS:     Okay.

11:43:56   25            THE COURT:     -- just so I can hear you.
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 105 of 142 PageID #:
                                       42417                                         105



11:43:57    1              I heard your answers to the questions about if you

11:44:01    2   and your mother both ended up on the jury, and the way I

11:44:07    3   understood your answers were that if you both were on the

11:44:09    4   jury, whatever her position would be would influence you,

11:44:15    5   and it'd be hard for you to make the same kind of

11:44:17    6   independent decision as you would if she was not on the

11:44:20    7   jury.

11:44:20    8              Is that -- is that close, or if it's not, correct

11:44:23    9   it for me?

11:44:24   10              JUROR GIBBONS:   It is -- it close.       Okay.    A lot

11:44:26   11   of what my mom thinks is the same thing that I think.

11:44:30   12   So -- but I don't know if -- because if I firmly believe

11:44:35   13   that -- that she's wrong, then I'm going to stick with my

11:44:38   14   opinion.

11:44:39   15              THE COURT:   Okay.

11:44:41   16              JUROR GIBBONS:   Because I know she's smart, and I

11:44:42   17   love my other mother to death, but if I just firmly believe

11:44:48   18   that she's not right about it, then I don't think I could

11:44:50   19   go side with her.

11:44:52   20              THE COURT:   And if both of y'all end up on this

11:44:54   21   jury, it's my hope that the other six people are going to

11:44:59   22   be smart and nice people, too, that have good thoughts, as

11:45:01   23   well.

11:45:01   24              JUROR GIBBONS:   Yes, sir.

11:45:02   25              THE COURT:   But you're telling me if you feel like
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 106 of 142 PageID #:
                                       42418                                         106



11:45:05    1   she's wrong, you're not going to --

11:45:06    2           JUROR GIBBONS:      I would not side with her.

11:45:08    3           THE COURT:     -- cave in for lack of a better

11:45:08    4   expression?

11:45:08    5           JUROR GIBBONS:      No, sir.

11:45:10    6           THE COURT:     Okay.    And let me ask you this, I also

11:45:13    7   have in my notes that you just don't like Apple products.

11:45:16    8           JUROR GIBBONS:      I don't.

11:45:17    9           THE COURT:     And that's very honest.

11:45:18   10           JUROR GIBBONS:      But I would not -- I wouldn't hold

11:45:20   11   it against them because there -- just because I don't like

11:45:22   12   their products.    A lot of people do.       Just because I don't

11:45:23   13   like it doesn't mean it's not --

11:45:23   14           THE COURT:     And you understand -- you understand

11:45:25   15   that the products in this case that are going to be -- the

11:45:27   16   products and the processes that are going to be accused of

11:45:33   17   infringing are going to be Apple products and processes.

11:45:35   18           JUROR GIBBONS:      Yes, sir.

11:45:36   19           THE COURT:     So knowing that you really don't like

11:45:38   20   their products, do you think you could treat them just the

11:45:41   21   same as if it were Samsung or some other company out there

11:45:48   22   besides Apple?

11:45:49   23           JUROR GIBBONS:      I will always have my opinion

11:45:52   24   about the product, but I would like to think that I would

11:45:54   25   not hold it -- I don't -- is it going -- I mean, okay, is
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 107 of 142 PageID #:
                                       42419                                         107



11:46:00    1   it going to be about the products, or is this just about

11:46:04    2   patents of -- because if they say, okay, well, do you like

11:46:08    3   the -- what's your opinion of a galaxy -- whatever the new

11:46:15    4   Galaxy is, and the Apple, whatever the new Apple phone is,

11:46:18    5   I would probably side with the Galaxy because I just don't

11:46:22    6   like --

11:46:23    7             THE COURT:    And I don't think you're going to be

11:46:24    8   asked to do that.

11:46:25    9             I think what you're going to be asked to do is

11:46:27   10   look at the accused Apple products and then look at this

11:46:31   11   patent that's owned by PMC --

11:46:34   12             JUROR GIBBONS:    Yes, sir.

11:46:34   13             THE COURT:    -- and say -- and answer the question,

11:46:39   14   does what these products do meet all of the requirements

11:46:42   15   and line up perfectly and fit with what the claims in the

11:46:48   16   PMC patent -- the PMC patent say that PMC owns and has the

11:46:53   17   right to control.      And they're either going to line up, or

11:46:56   18   they're not going to line up.

11:46:57   19             JUROR GIBBONS:    Yes, sir.

11:46:58   20             THE COURT:    So you're going to be looking at the

11:47:00   21   language in the patent, comparing it to the products that

11:47:03   22   Apple owns, but you're not going to be looking at Samsung

11:47:07   23   phones or HTC phones or ZTE phones or Ericsson phones or

11:47:16   24   anybody -- anybody else's phones.

11:47:18   25             JUROR GIBBONS:    I would like to -- yeah, I think I
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 108 of 142 PageID #:
                                       42420                                         108



11:47:20    1   can -- I could give them a fair trial.

11:47:24    2           THE COURT:     Okay.

11:47:24    3           JUROR GIBBONS:      But I will be honest, I do have

11:47:27    4   very bad dyslexia, so, like, I don't understand stuff.             If

11:47:32    5   I read it, I would have to, like, read it over several

11:47:35    6   times before I understood it.       And most of the time, I

11:47:39    7   don't even understand it then.        I have to have it read to

11:47:42    8   me in order for me to understand.

11:47:44    9           THE COURT:     Okay.    Well, if you're on this jury,

11:47:49   10   you're going to be given a notebook, and in that notebook,

11:47:52   11   you're going to have a complete copy of this patent, and

11:47:55   12   you're going to have a pad that you can make notes on

11:47:58   13   throughout the trial as you listen to the evidence.             You're

11:48:01   14   also going to have some other material in there.

11:48:03   15           And then when the trial -- when the evidence is

11:48:07   16   all in and I send the jury back here to deliberate, you're

11:48:12   17   going to have a written verdict with questions in it that

11:48:15   18   everybody will be able to read those questions, and then

11:48:17   19   the group is going to have to answer those questions.

11:48:20   20           You're also going to be given instructions by me

11:48:24   21   on how you do your job and the rules that you apply.             And

11:48:29   22   those instructions are going to be given by me to the jury

11:48:32   23   orally in the courtroom, and then an exact written copy of

11:48:37   24   those instructions are going to be sent back to the jury

11:48:40   25   room so that everybody on the jury has their own copy of
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 109 of 142 PageID #:
                                       42421                                         109



11:48:43    1   those instructions and can look at them as much as they

11:48:45    2   need to.

11:48:46    3              Now, from where you sit now, if all that were to

11:48:50    4   happen, do you think you can be a part of a jury and make

11:48:53    5   an informed decision if you sat through this trial on the

11:48:56    6   jury, or do you think there's something that you know about

11:49:00    7   yourself that would keep you from being able to do that?

11:49:03    8              JUROR GIBBONS:   If I can understand everything,

11:49:06    9   reading it, yeah, I think I would be able to give them a

11:49:10   10   fair trial.

11:49:11   11              THE COURT:   Okay.     Ms. Smith, do you have any

11:49:16   12   questions for Ms. Gibbons?

11:49:18   13              MS. SMITH:   Ms. Gibbons, you've not heard of PMC

11:49:24   14   before you came into the courtroom?

11:49:25   15              JUROR GIBBONS:   No.

11:49:26   16              MS. SMITH:   So they're start out with a blank

11:49:29   17   slate, right?

11:49:32   18              JUROR GIBBONS:   (Nods head affirmatively.)

11:49:34   19              THE COURT:   And on the Apple side, you said

11:49:34   20   something when you were listening with Judge Gilstrap, you

11:49:36   21   said you'd always hold that view, those negative views of

11:49:39   22   their products, right?

11:49:40   23              JUROR GIBBONS:   Just that I don't like the way

11:49:42   24   they operate.

11:49:45   25              MS. SMITH:   Okay, and this case, I'll tell you, is
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 110 of 142 PageID #:
                                       42422                                         110



11:49:46    1   about the products, iPads, iPods, iPhones, all five days.

11:49:51    2   And we're going to say that Apple's innovative and that

11:49:55    3   Apple does things better than others, and I sense that when

11:49:58    4   I'm saying these things in court, you might have a

11:50:02    5   different opinion and you're -- you do, don't you?

11:50:06    6            JUROR GIBBONS:     (Nods head affirmatively.)

11:50:07    7            THE COURT:    And there's nothing I can do -- I

11:50:09    8   mean, you've had -- you've had not experience with one

11:50:11    9   Apple product but you've had a bad experience with multiple

11:50:15   10   products.

11:50:15   11            JUROR GIBBONS:     My kids -- my son likes it.         My

11:50:18   12   daughter wants one, but --

11:50:20   13            MS. SMITH:    But you won't get her one, will you?

11:50:23   14            JUROR GIBBONS:     Oh well, they have to buy their

11:50:24   15   own.   If they -- we provide them with a phone, but if you

11:50:26   16   want a better phone, then you provide your own.

11:50:29   17            MS. SMITH:    That's fair.      That's fair.     But what

11:50:30   18   my point being, you know, like you said, that you start out

11:50:33   19   with those views of the products, and no one can tell you

11:50:36   20   to forget about those views.       So Apple, you know, starts

11:50:39   21   out in a little different place than PMC, who starts at the

11:50:43   22   start line, because you've never heard of them before; is

11:50:46   23   that right?

11:50:46   24            JUROR GIBBONS:     I would -- I just don't like the

11:50:48   25   way they operate in how you -- it's not the actual, I
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 111 of 142 PageID #:
                                       42423                                         111



11:50:52    1   guess, product -- well, it is the product because that's

11:50:54    2   the -- how the product operates, but...

11:50:58    3           MS. SMITH:     Yeah, okay, thank you, ma'am.          I

11:51:00    4   appreciate that.

11:51:01    5           THE COURT:     Ms. DeRieux, do you have any questions

11:51:02    6   for Ms. Gibbons?

11:51:03    7           MS. DERIEUX:      If the judge gave you instructions

11:51:07    8   to limit your decision to what you heard in the courtroom,

11:51:12    9   would you be able to follow those instructions and not

11:51:18   10   bring in personal past thoughts or experiences, but limit

11:51:24   11   your focus during this trial to what you actually hear from

11:51:28   12   the witnesses and from the Court in terms of the decision

11:51:32   13   that you come to when you finally go to the jury room.

11:51:36   14           JUROR GIBBONS:      Yes, ma'am, I think I can.

11:51:38   15           MS. DERIEUX:      Thank you.     That's all, Your Honor.

11:51:40   16           THE COURT:     All right.      Ms. Gibbons, I'm going to

11:51:41   17   let you return to your place out in the courtroom.            Just

11:51:45   18   don't discuss anything we talked about in here.

11:51:47   19           JUROR GIBBONS:      Yes, sir.

11:51:48   20           THE COURT:     Thank you very much.

11:51:49   21           JUROR GIBBONS:      Thank you.

11:51:52   22           (Juror excused to return to the courtroom.)

11:51:52   23           THE COURT:     All right.      Let's get Mr. Groce,

11:52:05   24   No. 18, and bring him in, please.

11:52:08   25           I'm going to excuse Ms. Gibbons.
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 112 of 142 PageID #:
                                       42424                                         112



11:52:13    1           MS. SMITH:     Thank you, Your Honor.

11:52:13    2           THE COURT:     Well, it's not for anybody's thanks.

11:52:17    3   It's for two reasons.     I have some concerns given the

11:52:22    4   strength of her convictions that are negative to Apple that

11:52:26    5   she really could leave those experiences outside.            And

11:52:32    6   she's indicated some real concern about being able to

11:52:36    7   follow the evidence given her dyslexia, and this is going

11:52:40    8   to be by any standard a complicated trial.          And we have

11:52:45    9   plenty of people on the panel to get a jury from.

11:52:48   10           So she is -- she is in a position where I think

11:52:51   11   the safe thing to do is to excuse her, and she is excused.

11:53:00   12           (Juror brought into jury room.)

11:53:01   13           THE COURT:     Mr. Groce would you have a seat,

11:53:07   14   please, sir.

11:53:07   15           JUROR GROCE:      Yes, sir.

11:53:08   16           THE COURT:     Mr. Groce, my notes from what's

11:53:10   17   happened so far today, I have written down that you don't

11:53:12   18   like Apple products.     I think somebody tried to get you to

11:53:15   19   say you shouldn't be on this jury, and you never did say, I

11:53:19   20   shouldn't be on this jury.

11:53:20   21           But you did say clearly, you have some level of

11:53:24   22   dislike for Apple products.        And this trial is going to be

11:53:27   23   about certain Apple products.

11:53:30   24           JUROR GROCE:      Right.

11:53:30   25           THE COURT:     And the question I have for you, sir,
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 113 of 142 PageID #:
                                       42425                                         113



11:53:33    1   is whatever those experiences were --

11:53:35    2           JUROR GROCE:      Uh-huh.

11:53:35    3           THE COURT:     -- in the past before today, can you

11:53:40    4   completely set those aside and leave them outside the

11:53:44    5   courtroom and make any decisions you're going to make,

11:53:47    6   they're going to be very important decisions --

11:53:49    7           JUROR GROCE:      Uh-huh.

11:53:50    8           THE COURT:     -- without being influenced by those

11:53:52    9   at all and just decide whatever you're asked to decide

11:53:56   10   solely and only on what you hear and what you're shown in

11:54:00   11   the courtroom?

11:54:00   12           Or are you human enough, like some of us, to say,

11:54:04   13   I would try real hard, but I can't promise you I'd able to

11:54:08   14   not be influenced in some way?        I don't know how strong

11:54:11   15   those experiences have been with you.

11:54:14   16           JUROR GROCE:      Right.

11:54:14   17           THE COURT:     There are some that are not terribly

11:54:17   18   strong experiences, a lot easier to leave outside, and some

11:54:20   19   that are very strong experiences that are very hard to

11:54:23   20   leave outside.    So I just have to ask you in all candor to

11:54:27   21   explain to me where you fall on that.

11:54:29   22           JUROR GROCE:      Right.    Well, my experience is,

11:54:31   23   again, I have a very -- I'm not very good in technology,

11:54:35   24   and I don't have a lot of patience with it.           I've not had

11:54:42   25   good experience with Apple.        I like Android a lot better.
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 114 of 142 PageID #:
                                       42426                                         114



11:54:44    1   But that's beside the point.          It just seems simpler to

11:54:52    2   operate and use and all of that. You know, I'm human so I

11:54:54    3   just have to make the best decision that I could, you know.

11:54:56    4              THE COURT:     Well, do you think, in all honesty,

11:54:59    5   that if you were in that position and making a decision and

11:55:03    6   that decision involved Apple products, could you be as

11:55:11    7   neutral about that and not influenced by your prior

11:55:13    8   experiences as if this was trying to choose between a Ford

11:55:16    9   and a Chevy or something, you know, in a different area

11:55:20   10   altogether where you didn't have -- maybe you like Fords

11:55:23   11   better than Chevys, I don't know.

11:55:26   12              But in an area where you didn't have any prior bad

11:55:28   13   experiences or pre-existing feelings about the products.

11:55:32   14   If it was two products you'd not really ever seen or heard

11:55:36   15   before, could you treat Apple in this case like that?             Or

11:55:39   16   are those experiences such that you just can't tell me you

11:55:44   17   could be sure that they wouldn't impact your decision?

11:55:47   18   That's really the bottom line.

11:55:48   19              JUROR GROCE:     Yeah.     Well, like I say, I would

11:55:51   20   try.     But, I mean, I just -- I really couldn't be sure, I

11:55:54   21   guess.

11:55:54   22              THE COURT:     Okay.     Well, all I can ask for is your

11:55:58   23   most candid and honest answer.

11:56:00   24              JUROR GROCE:     Right.

11:56:00   25              THE COURT:     And I appreciate that.
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 115 of 142 PageID #:
                                       42427                                         115



11:56:01    1           JUROR GROCE:      Yes, sir.

11:56:02    2           THE COURT:     Ms. Smith, do you have any questions

11:56:03    3   for Mr. Groce?

11:56:05    4           MS. SMITH:     No, Your Honor.

11:56:06    5           THE COURT:     Ms. DeRieux?

11:56:08    6           MS. DERIEUX:      Nothing.     Thank you.

11:56:09    7           THE COURT:     All right.      Sir.   All right.     If

11:56:13    8   you'll go back and take your seat in the courtroom.               Just

11:56:17    9   don't discuss what we've talked about in here.

11:56:22   10           JUROR GROCE:      Yes, sir.

11:56:23   11           THE COURT:     Thank you very much.

11:56:24   12           (Juror excused to return to the courtroom.)

11:56:25   13           THE COURT:     I'm going to excuse Mr. Groce.

11:56:28   14           MS. SMITH:     Thank you, Your Honor.

11:56:28   15           THE COURT:     I appreciate his candor in saying he

11:56:35   16   would try.    But he could never tell me with any certainty

11:56:38   17   that he could be sure his negative prior experiences

11:56:41   18   wouldn't influence his service.

11:56:42   19           All right.     I have struck by agreement No. 5,

11:56:47   20   Mr. Parker.    And I've struck No. 16 and 18.         We're going to

11:56:53   21   seat eight jurors.     Each side is going to get four strikes.

11:56:57   22   That means 16 plus three -- is it 21 we strike through?

11:57:04   23           MS. DERIEUX:      I said 19.

11:57:06   24           MS. SMITH:     I thought 19.

11:57:08   25           THE COURT:     19.   I'm not sure that's right.           Let's
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 116 of 142 PageID #:
                                       42428                                         116



11:57:25    1   talk about it and make sure so we all leave here of one

11:57:29    2   mind.

11:57:29    3           Okay.    No. 5 is out.      No. 16 and No. 18 are out.

11:57:38    4   So that's three strikes on the first two pages.            That

11:57:44    5   leaves us 15 active people.        Then we need 19, 20, and 21 to

11:57:50    6   get back to -- no.     No, we don't need three more.         We just

11:57:57    7   need one more to get to 16.        So it is 19.    Okay.

11:58:03    8           All right.     Then strike through No. 19.

11:58:09    9           How much time do you all need to strike your list?

11:58:14   10           MS. SMITH:     May we have 15 minutes?

11:58:17   11           THE COURT:     I'll give you --

11:58:18   12           MS. DERIEUX:      May --

11:58:18   13           THE COURT:     Yes, ma'am.

11:58:19   14           MS. DERIEUX:      May we make just -- we need to go

11:58:20   15   off topic for just a minute.

11:58:22   16           MR. KLINE:     There is no challenge to the validity

11:58:25   17   of the patent in this case, Your Honor.

11:58:27   18           THE COURT:     Okay.

11:58:27   19           MR. KLINE:     So there's no issue upon which there's

11:58:30   20   a clear and convincing burden of proof.

11:58:32   21           THE COURT:     Okay.

11:58:33   22           MR. KLINE:     So if it's the appropriate time, if we

11:58:35   23   could just maybe let the jury that gets sat know that.             I

11:58:40   24   don't know, maybe we don't think that it will linger but --

11:58:42   25           THE COURT:     That's what happens when the
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 117 of 142 PageID #:
                                       42429                                         117



11:58:44    1   magistrate judge does the pre-trial.

11:58:47    2           MR. KLINE:     I certainly wasn't going to stand up,

11:58:50    3   Your Honor.   I thought we could straighten it out.

11:58:53    4           THE COURT:     I'll address that.

11:58:54    5           MR. KLINE:     Thank you very much.

11:58:56    6           THE COURT:     Okay.

11:58:56    7           MS. SMITH:     Your Honor, may one team use this room

11:58:59    8   and another team use the attorney conference room?

11:59:02    9           THE COURT:     Attorney client's room, that's fine.

11:59:03   10           And if you'll see Ms. Brunson when you have your

11:59:06   11   list, and turn them in to her, we'll get our eight jurors

11:59:08   12   identified.

11:59:08   13           MS. SMITH:     Thank you.

11:59:09   14           THE COURT:     I'll give you about 15 minutes.

11:59:12   15           MS. DERIEUX:      Thank you, Your Honor.

11:59:12   16           MS. SMITH:     Thank you.

11:59:12   17           THE COURT:     Let's do this, let's go back in the

11:59:14   18   courtroom, and I'll explain to the panel what's going on,

11:59:18   19   and then you can break.

11:59:18   20           (Recess.)

11:59:18   21   (Proceedings in the courtroom, venire panel.

11:59:28   22   Present.)

11:59:28   23           THE COURT:     Thank you for your patience, ladies

12:01:12   24   and gentlemen.

12:01:12   25           I'm going to afford the lawyers on both sides of
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 118 of 142 PageID #:
                                       42430                                         118



12:01:19    1   the case approximately 15 minutes to generate some

12:01:23    2   information and turn it into the courtroom deputy that

12:01:26    3   we'll need as a part of selecting the jury.

12:01:29    4             While they're out of the courtroom, I'm going to

12:01:31    5   step off of the bench.      You all should stay where you're

12:01:34    6   seated.   Again, the Court Security Officers will check with

12:01:37    7   you about restroom breaks while I'm out of the courtroom.

12:01:40    8             It's just a minute or two after 12:00 noon.           I

12:01:46    9   always get nervous about people not being able to go to

12:01:50   10   lunch at 12:00.    I know some people have physical

12:01:54   11   conditions that they need to have something in their

12:01:57   12   system.

12:01:58   13             So while I'm out of the courtroom for the next 15

12:02:00   14   or 20 minutes, the clerk's office will be in here with

12:02:04   15   bottled water.    And I think there are peanut butter

12:02:07   16   crackers, there's something to munch on, and those will

12:02:11   17   be -- those will be available if you want those.            If you

12:02:12   18   do, just signal that you do, and they'll bring them to you.

12:02:16   19             Not many of you out there know me very well, but I

12:02:18   20   can promise you, the fact that I would let somebody bring

12:02:22   21   crackers and water into my courtroom tells you that this is

12:02:24   22   taking longer than I would like it to take.           But it's just

12:02:27   23   part of what we have to do to be as safe as we can in this

12:02:31   24   current environment.

12:02:31   25             So while I'm off the bench, the clerk's office
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 119 of 142 PageID #:
                                       42431                                         119



12:02:36    1   will be in here with those items, and if you like some, let

12:02:40    2   them know.   If you need a trip to the restroom, let one of

12:02:42    3   the Court Security Officers or the Court's personnel know

12:02:45    4   and they'll try to work with you.

12:02:47    5           Again, if you want to talk to somebody next to

12:02:49    6   you, that's perfectly fine.       Just don't discuss anything

12:02:52    7   that's been talked about during the trial.

12:02:54    8           And also, while I have you here, I want to make

12:02:58    9   one correction, and this is my fault.

12:03:00   10           I said in some of my earlier instructions to you

12:03:05   11   that the Defendants say the patent in this case is invalid.

12:03:10   12   That's not the case.     They're not making that claim.

12:03:13   13           And if the Defendant were claiming the patent was

12:03:17   14   invalid, then the evidence of that would have to be judged

12:03:23   15   by that clear and convincing evidence standard instead of

12:03:30   16   the preponderance of the evidence standard.

12:03:31   17           So because the Defendant is not asserting the

12:03:33   18   invalidity of the Plaintiff's patent, then there's not

12:03:37   19   going to be any application of the clear and convincing

12:03:39   20   evidence standard.

12:03:40   21           And, quite honestly, I missed that, and I should

12:03:45   22   have been more careful about those instructions.            So the

12:03:47   23   only burden of proof the jury selected in this case is

12:03:50   24   going to apply is the preponderance of the evidence

12:03:52   25   standard.
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 120 of 142 PageID #:
                                       42432                                         120



12:03:53    1             So I want to get that on the record as soon as I

12:03:56    2   realized my mistake and make sure you are all clear on

12:04:00    3   that.

12:04:01    4             So with that, ladies and gentlemen, I'm going to

12:04:02    5   afford the lawyers a chance to strike their list and get me

12:04:06    6   that information as we've discussed outside the jury's

12:04:09    7   presence for the next 15 minutes or so, and in the

12:04:13    8   meantime, the Court will stand in recess.

12:04:15    9             COURT SECURITY OFFICER:      All rise.

12:04:20   10             (Venire panel out.)

12:33:06   11             (Recess.)

12:33:07   12             COURT SECURITY OFFICER:      All rise.

12:33:08   13             THE COURT:   Be seated, please.

12:33:09   14             All right.   Ladies and gentlemen, if you will

12:33:26   15   listen carefully as your name is called and come forward

12:33:29   16   and take your seat -- or your position, rather, in the jury

12:33:34   17   box.    I'm going to ask all eight members of the jury to be

12:33:37   18   remain standing until all eight of you are in the jury box.

12:33:43   19   And I'm going to ask the first person called, if they would

12:33:45   20   go down the front row of the jury box and stand in front of

12:33:50   21   the last chair.

12:33:50   22             And then the second person will go down the

12:33:52   23   jury -- the front row of the jury box and stand in front of

12:33:57   24   the third chair from the end, leave an empty seat between.

12:34:02   25   And we'll put the first four jurors on the front row in
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 121 of 142 PageID #:
                                       42433                                         121



12:34:02    1   that fashion.

12:34:05    2             And then, Juror No. 5, when your name is called,

12:34:07    3   if you'll go to the back row, go all the way to the end and

12:34:11    4   stand in front of the last chair, and then the next juror,

12:34:15    5   No. 6, will leave an empty chair between you and stand in

12:34:19    6   front of the third chair from the end and so forth and so

12:34:22    7   on.

12:34:22    8             That will position everybody on the jury such that

12:34:25    9   no two people are seated directly next to each other and

12:34:30   10   leave an empty chair between all eight of you.           And if you

12:34:33   11   would maintain that position in the jury box throughout the

12:34:37   12   trial during breaks and recesses when you come in, if

12:34:42   13   you'll go in that same order and be in that same position,

12:34:44   14   the Court will appreciate it.

12:34:46   15             So with that, Ms. Brunson, if you'll call the

12:34:51   16   members, the names of the eight members of our jury,

12:34:53   17   please.

12:34:53   18             COURTROOM DEPUTY:     James Cox, Arthur Overstreet,

12:35:00   19   Jerry Quarles, Angelique Smith, Jeanette Turner, Flemon

12:35:16   20   Rand, Mr. Rand, yes, sir.      Janie Washington and Carolyn

12:35:49   21   Moore.

12:35:52   22             THE COURT:   Thank you, ladies and gentlemen.           If

12:35:53   23   there's something in your seat, please pick it up.            But

12:35:56   24   otherwise, please have a seat.

12:36:01   25             Those of you on the panel that were not selected
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 122 of 142 PageID #:
                                       42434                                         122



12:36:04    1   to serve on this jury, I'm about to excuse you, but I want

12:36:06    2   to excuse you with a few final words before you leave us.

12:36:10    3            First of all, I want to thank you on behalf of the

12:36:15    4   Court, both the parties, all the lawyers.          Every one of us

12:36:18    5   on this side of the bar realizes that our system of justice

12:36:23    6   would not work and would come to a screeching halt unless

12:36:28    7   ordinary citizens like yourselves responded as you have and

12:36:32    8   when you're summonsed to appear for jury service that you

12:36:36    9   come, you present yourself.

12:36:37   10            I am very much aware that every one of you out

12:36:40   11   there who were not selected had other places to be this

12:36:44   12   morning, you had other things to do that were important in

12:36:47   13   your lives, and you set those things aside, and you

12:36:50   14   sacrificed in a very real way to be here and present

12:36:54   15   yourself for jury duty.

12:36:55   16            And I want you to know that all of us appreciate

12:36:58   17   that.   We understand that you are an integral and

12:37:03   18   indispensable part of the process.         And if you were not

12:37:07   19   where you are, if you had not appeared and presented

12:37:10   20   yourself and made the sacrifices necessary to do that, the

12:37:13   21   Court would not be able to go forward with this trial --

12:37:16   22   this important trial between these parties and reach an

12:37:19   23   ultimate resolution.

12:37:21   24            I hope that the next time you're served with a

12:37:26   25   summons, and I don't know when that will be, and I hope the
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 123 of 142 PageID #:
                                       42435                                         123



12:37:30    1   next time you are summonsed to come back to this court

12:37:34    2   since you all live in the Marshall Division of the Eastern

12:37:36    3   District of Texas that you'll come with the same positive

12:37:38    4   attitude and productive and cooperative spirit that I've

12:37:41    5   seen from all of you this morning.

12:37:43    6            Ladies and gentlemen, thank you so much.            You have

12:37:45    7   rendered very real and important public service.            And on

12:37:49    8   behalf of all of us, we thank you genuinely and sincerely.

12:37:53    9            As you leave the courtroom, if you will see the

12:37:55   10   clerk's office as you exit to the right, going out the

12:38:00   11   double doors in the back of the courtroom.          They're going

12:38:03   12   to want to retrieve these very expensive plastic numbers

12:38:07   13   you've been wearing on your clothing.         So don't take those

12:38:10   14   home as a souvenir.

12:38:12   15            Also if you need something in writing to verify

12:38:15   16   for an employer why you didn't show up for work today, they

12:38:19   17   will provide you with any and all documentation that you

12:38:22   18   need.   If you have any questions about your participation

12:38:25   19   as members of this venire panel, please see Ms. Clendening

12:38:25   20   and her staff in the clerk's office, and I promise you,

12:38:28   21   they will bend over backwards to help you and accommodate

12:38:31   22   you.

12:38:32   23            Again, ladies and gentlemen, those of you not

12:38:34   24   chosen for service on this jury, you leave with the thanks

12:38:39   25   and sincere appreciation of the Court and everyone involved
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 124 of 142 PageID #:
                                       42436                                         124



12:38:42    1   in this trial.    Those of you not selected are excused at

12:38:43    2   this time.

12:38:46    3           COURT SECURITY OFFICER:        All rise.

12:39:45    4           (Venire panel out.)

12:39:45    5           THE COURT:     All right.     I'll ask everybody except

12:39:47    6   the jury and the courtroom deputy to have a seat.            And I'll

12:39:50    7   ask our courtroom deputy to administer the oath to the

12:39:54    8   members of the jury at this time.

12:39:55    9           (Jurors sworn.)

12:40:11   10           THE COURT:     Thank you, ladies and gentlemen.

12:40:12   11   Please have a seat.

12:40:12   12           We're going to recess for lunch in just a minute,

12:40:15   13   but before we do, I have some instructions I need to go

12:40:19   14   over with you.

12:40:20   15           First of all, while you're on lunch break today,

12:40:25   16   please make sure that you communicate to Ms. Clendening's

12:40:29   17   office a good working cell phone number for you.            It is

12:40:33   18   possible something could arise over the course of the trial

12:40:35   19   where we would need to get in touch with you while you were

12:40:38   20   at home or before you arrived, and I want to make sure she

12:40:41   21   has a good working cell phone number for you.           So just as a

12:40:44   22   precaution, if you'll make sure that's communicated to the

12:40:47   23   clerk's office while you're on a lunch break.

12:40:49   24           Also, you have either in your chairs or next to

12:40:54   25   your chairs packets with the clear mask and the clear face
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 125 of 142 PageID #:
                                       42437                                         125



12:40:59    1   shields in them.    If you'll take those with you to the jury

12:41:01    2   room, and over the lunch hour figure out which of those --

12:41:04    3   or if not both, you'd like to use to replace these blocking

12:41:10    4   solid material masks that keep us all from seeing a

12:41:13    5   majority of your faces.

12:41:15    6             I will tell you this from personal experience,

12:41:17    7   there's a film over the plastic part, so unless you want

12:41:21    8   everything to look wrinkled, if you look through the film,

12:41:24    9   be sure to take the film off.       Because I forgot to do it

12:41:28   10   the first time I put one of those on, it was not a clear

12:41:31   11   view.

12:41:32   12             If you'll take the film off, once you get into

12:41:36   13   those packets, and you can do that over the lunch hour,

12:41:36   14   you'll see very clearly through either or both of those.

12:41:36   15   Of course, with the mask you won't be looking through them,

12:41:40   16   but you will with the face shield.

12:41:42   17             Also, ladies and gentlemen, and this is -- all my

12:41:46   18   instructions are important, but none of them are more

12:41:49   19   important than this one.      Do not discuss this case with

12:41:51   20   anyone.   And when I say "do not discuss it," I mean, don't

12:41:56   21   communicate about this case with anyone.          This goes back to

12:42:00   22   one of the fundamental premises of the jury trial system,

12:42:03   23   and that is, when all the evidence has been presented in

12:42:06   24   this case, you, the jury, are going to be asked to answer

12:42:09   25   certain questions that are going to be given to you in
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 126 of 142 PageID #:
                                       42438                                         126



12:42:13    1   what's called the verdict form.

12:42:14    2           And when you answer those questions, it must be

12:42:18    3   the case that the sole and only information you have to

12:42:22    4   draw upon in answering those questions is the information

12:42:26    5   that's come to you as a part of this trial in this

12:42:31    6   courtroom through the sworn testimony of the witnesses,

12:42:34    7   subject to cross-examination, and through the exhibits that

12:42:37    8   the Court has admitted into evidence.         Those must be the

12:42:42    9   only sources of information that you have to rely upon.

12:42:46   10           Therefore, it is essential that you not

12:42:49   11   communicate with anyone about the case, because if you do,

12:42:54   12   then it's almost unavoidable that other information will be

12:42:58   13   a part of what you have before you, and that, quite

12:43:01   14   honestly, jeopardizes and could put at serious risk the

12:43:07   15   entire process.

12:43:07   16           And there's been a tremendous amount of work and

12:43:11   17   effort and resources that have gone into this trial so far.

12:43:14   18   The last thing I want to do is to have to order a mistrial

12:43:17   19   and start over with a new jury.        And so, please, do not

12:43:20   20   discuss the case with anyone.

12:43:22   21           And I can tell you, ladies and gentlemen, unless

12:43:24   22   you live alone, when you get home tonight, wherever that

12:43:28   23   is, whoever is there, the first question out of their mouth

12:43:31   24   is going to be, well, tell me what happened in federal

12:43:34   25   court in Marshall today.      When you get that question, don't
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 127 of 142 PageID #:
                                       42439                                         127



12:43:38    1   even try to answer it.

12:43:39    2             Just smile and say, that very stern federal judge

12:43:43    3   told me not to talk about this case, and I can't do that.

12:43:47    4   After this trial is over, after I'm no longer a juror and

12:43:52    5   I've been released by the judge, then I can talk to you.

12:43:57    6   But until that happens, I'm under strict orders from the

12:44:00    7   Court not to discuss the case at all.         So let that be your

12:44:04    8   answer.   Don't even try to answer that inevitable question

12:44:07    9   about tell me what happened in federal court today.

12:44:09   10             Also, ladies and gentlemen, when I say "don't

12:44:11   11   communicate about the case," I also mean not to communicate

12:44:15   12   among the eight of yourselves.        You have not heard any

12:44:18   13   evidence in this case.

12:44:20   14             And until you have heard all the evidence and

12:44:23   15   until I instruct you to retire to the jury room after

12:44:26   16   you've received my final instructions on the law and you've

12:44:30   17   heard closing arguments from the attorneys, then and only

12:44:34   18   then when I instruct you to retire to the jury room and to

12:44:36   19   deliberate on those questions in the verdict form, then may

12:44:41   20   you discuss the case among yourselves.          But until then, you

12:44:44   21   must not discuss the case among the eight of yourselves.

12:44:47   22             It's almost in my mind, ladies and gentlemen, like

12:44:51   23   a light switch.    It's off until you've heard all of the

12:44:54   24   evidence, you've received my instructions on the law, and

12:44:58   25   counsel have presented their closing arguments.            And then
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 128 of 142 PageID #:
                                       42440                                         128



12:45:01    1   at the moment I tell you, ladies and gentlemen, you may

12:45:04    2   retire to the jury room and deliberate on your verdict, the

12:45:07    3   light switch gets switched on.

12:45:09    4           And at that moment, it is no longer that you can't

12:45:13    5   discuss the case among yourselves.         At that moment, it

12:45:16    6   becomes you must discuss the case among the eight of you in

12:45:20    7   an effort to reach a unanimous decision about each of the

12:45:23    8   questions in that verdict form.

12:45:25    9           So until that light switch is turned on, when all

12:45:29   10   the evidence is in, when my final instructions have been

12:45:34   11   given to you, when counsel have presented their closing

12:45:37   12   arguments, until that moment when I direct you to retire

12:45:40   13   and consider and deliberate on your verdict, you must not

12:45:44   14   discuss the case among the eight of yourselves in any way.

12:45:47   15           And when I say also "don't communicate about the

12:45:49   16   case," that's much more than oral communication.            Don't

12:45:54   17   email your cousin in West Virginia or your aunt in Arizona,

12:46:01   18   don't text message anybody, don't go on social media, if

12:46:05   19   you are a social media or social platform user, whether

12:46:10   20   it's Facebook or Instagram or Twitter or any of the others

12:46:14   21   out there, don't post or put up anything on any social

12:46:17   22   media site about this case.

12:46:20   23           And also, don't do any research about this case.

12:46:23   24   That's outside information, too.        Don't go online and look

12:46:28   25   up PMC, don't look up Apple, don't look up any of the
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 129 of 142 PageID #:
                                       42441                                         129



12:46:32    1   devices and products you're going to hear about in this

12:46:36    2   case, don't do any research about these lawyers.

12:46:38    3           In short, don't do any research at all, either

12:46:41    4   online or if you're old school and have a set of

12:46:45    5   encyclopedias, don't pull one off the shelf and do any

12:46:49    6   research.   No research whatsoever.

12:46:50    7           Again, it all circles back and it all comes back

12:46:54    8   to that fundamental concept that the sole and only

12:46:58    9   information that you should have to draw upon at the end of

12:47:02   10   this trial when you begin to deliberate on your verdict and

12:47:05   11   answer those questions must be limited to what was

12:47:11   12   presented in this courtroom through the sworn testimony of

12:47:14   13   the witnesses and through the exhibits the Court has

12:47:17   14   reviewed, considered, and admitted into evidence.            That's

12:47:20   15   it.

12:47:20   16           And if there is any other outside information

12:47:23   17   whatsoever, it jeopardizes the entire process.           So please

12:47:29   18   keep that in mind as we go throughout the trial.            As a

12:47:32   19   matter of fact, ladies and gentlemen, I have a habit that

12:47:36   20   every time you get up out of those chairs, whether it's to

12:47:38   21   go to lunch, whether it's to take a recess, whether it's to

12:47:41   22   go home for the evening, you're probably going to hear me

12:47:44   23   say, don't discuss the case with anyone.

12:47:47   24           You're going to be tired of hearing me remind you

12:47:49   25   about it until this trial is over.         But it's because it's
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 130 of 142 PageID #:
                                       42442                                         130



12:47:53    1   that critical and vital that I'm probably going to remind

12:47:58    2   you over and over again about it.

12:47:59    3            So, please, keep that instruction in the forefront

12:48:02    4   of your minds.

12:48:03    5            Also, ladies and gentlemen, I don't think this

12:48:09    6   will happen, but it's not outside the realm of possibility.

12:48:14    7   This is an important case.       This is important to both of

12:48:18    8   these parties.    There are no small insignificant cases that

12:48:23    9   get to trial before a jury in a United States District

12:48:26   10   Court.   Just doesn't happen.      They don't make it this far.

12:48:29   11            So it is possible that some outside third party

12:48:35   12   might attempt to contact you and influence you about your

12:48:39   13   decisions in this case.      I don't think that's likely.         But

12:48:42   14   it has happened in the past.

12:48:45   15            If at anywhere between now and the time I've

12:48:47   16   discharged you from jurors after I've accepted your

12:48:51   17   unanimous verdict, if at any time between now and then

12:48:54   18   anybody attempts to communicate with you in the way that

12:48:58   19   you feel uncomfortable with, you feel awkward, you feel

12:49:01   20   it's inappropriate in any way whatsoever, then you should

12:49:05   21   immediately inform Ms. Clendening, she will advise me, and

12:49:08   22   the Court will deal with it.

12:49:10   23            Again, I don't think it's likely, but it's within

12:49:12   24   the realm of possibility.      And so I need to put you on

12:49:16   25   notice about that.
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 131 of 142 PageID #:
                                       42443                                         131



12:49:17    1            Also, ladies and gentlemen, getting back to my

12:49:25    2   first instruction about having a defined and limited

12:49:28    3   universe of information from which to draw upon at the end

12:49:31    4   of this trial.

12:49:32    5            To help facilitate that, I've instructed these

12:49:36    6   lawyers and these parties and all their support staff that

12:49:40    7   if they are to pass you on the front steps or the walkway

12:49:43    8   or in the parking lot or in the hallway or anywhere,

12:49:47    9   they're not to speak to you.

12:49:49   10            So if somebody related to one of these two parties

12:49:54   11   walks right by you one morning, don't think they're being

12:49:57   12   rude.   Don't hold it against them.        Don't think they're

12:50:00   13   being unfriendly.    We are genuinely pretty friendly people

12:50:05   14   in East Texas.    And I know when somebody walks right by me

12:50:08   15   and doesn't -- pretends like I'm not there, it can

12:50:14   16   sometimes be offensive.

12:50:16   17            Understand in this case, that's what I've

12:50:18   18   instructed them to do.      They're not going to stop and say,

12:50:22   19   good morning.    How are you?     Did you have a good night?

12:50:25   20   That's a nice suit you're wearing or nice tie or nice dress

12:50:29   21   or whatever, that's not going to happen.

12:50:30   22            And when it doesn't happen, understand that's

12:50:34   23   because I've instructed them and everybody related to this

12:50:35   24   trial, on both sides, not to do.

12:50:37   25            Again, you're not to communicate with anybody in
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 132 of 142 PageID #:
                                       42444                                         132



12:50:39    1   any way that could possibly open the door to having any

12:50:45    2   information before you other than what comes out in the

12:50:48    3   evidence through this trial, the sworn testimony of the

12:50:50    4   witnesses, the admitted exhibits from the Court or the --

12:50:53    5   that the Court has admitted.

12:50:55    6            That's it.    So don't hold that against anybody.

12:50:59    7   This is not a huge courthouse.        There's certainly larger

12:51:04    8   ones.   And it's entirely possible that sometimes between

12:51:07    9   now and the time when we're finished, you'll pass one or

12:51:11   10   more of these people.

12:51:11   11            I suspect you're going to see that gallery almost

12:51:16   12   full of people once we start that trial, and 99 percent of

12:51:19   13   them are going to be associated with the Plaintiff or the

12:51:21   14   Defendant.   There are big support staffs that are involved

12:51:23   15   in a trial like this.

12:51:26   16            And there are going to be more than three people

12:51:29   17   on each side of the counsel table, as I told you earlier.

12:51:32   18   It takes a lot of people to try a case like this.            But

12:51:35   19   every one of them is not going to visit with you, they're

12:51:37   20   not going to talk to you, they're not going to engage in

12:51:40   21   friendly conversation.      And when that happens, just

12:51:42   22   remember, that's because I instructed them not to.            It's

12:51:45   23   not because they're being unfriendly.         And you're not to

12:51:48   24   hold that against them in any way.

12:51:49   25            Also, ladies and gentlemen, the lawyers during the
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 133 of 142 PageID #:
                                       42445                                         133



12:51:55    1   trial, you're probably going to see smartphones in their

12:51:59    2   hands.    You're probably going to see tablets in their

12:52:01    3   hands.    You're going to see laptop computers on these

12:52:05    4   tables.

12:52:06    5             There's a lot of electronics that goes into trying

12:52:08    6   a case like this, and they are all more or less the legal

12:52:13    7   pads and pencils of yesteryear brought forward.            They are

12:52:18    8   the modern tools which trial lawyers use to try cases and

12:52:21    9   they're entitled to use those, but they're not entitled to

12:52:22   10   disrupt this trial.

12:52:24   11             And everybody outside the jury box is on notice

12:52:26   12   from me that any devices brought into this courtroom have

12:52:30   13   to be silenced.    And if that's violated, I'll take direct

12:52:34   14   and appropriate action.

12:52:36   15             However, I'm going to ask each of you if you have

12:52:42   16   a smartphone, if you have a smartwatch, if you have any

12:52:48   17   smart device, I'm going to ask you, if you have it here

12:52:50   18   today, to leave it in the jury room and not bring it back

12:52:53   19   into the courtroom.     I'm going to ask you starting tomorrow

12:52:56   20   that you not bring it into the courthouse.

12:53:00   21             Either leave it at home, or if you need to over a

12:53:02   22   lunch break check an email on an important business matter

12:53:05   23   or something personal, go to your car over the lunch break

12:53:08   24   and check it there.     But don't bring it into the building.

12:53:10   25             Not only is it a possible disruption, it's also a
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 134 of 142 PageID #:
                                       42446                                         134



12:53:15    1   temptation to do research.       Because all those smart

12:53:19    2   devices, be it this small or this small or this small,

12:53:22    3   they're all small computers, they're all connected to the

12:53:27    4   Internet, and it's tempting to do just what I told you not

12:53:31    5   to, and that's research about anything involved in the

12:53:35    6   case.

12:53:35    7           You might hear a word you're not sure of.             If

12:53:37    8   you've got a smartphone, during recess, you might be

12:53:41    9   tempted to go online and see if you can get a better

12:53:44   10   definition of that word.      That's not proper.

12:53:47   11           So to avoid the temptation, if you have a smart

12:53:50   12   device with you today, phone, watch, tablet, anything like

12:53:53   13   that, leave it in the jury room, and when you come back

12:53:56   14   tomorrow, don't bring it into the courtroom, if you would

12:53:58   15   do that for me, please.

12:53:59   16           Now, with those instructions, your lunch should be

12:54:02   17   waiting for you in the jury room.        If you'll take the mask

12:54:05   18   and shields and so forth that you see close by with you,

12:54:09   19   figure those out over the lunch hour, and then when we have

12:54:11   20   you back in here, we'll begin with some additional

12:54:14   21   instructions I need to give you on the record, and then

12:54:18   22   we'll proceed to hear the opening statements from the

12:54:20   23   lawyers in the case.

12:54:20   24           Let me just give you a very, very brief high-level

12:54:25   25   roadmap of how this is going to go.
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 135 of 142 PageID #:
                                       42447                                         135



12:54:27    1           When you come back in from lunch, I'll give you

12:54:30    2   some additional instructions on the law.          Then counsel for

12:54:33    3   the Plaintiff will give you opening statement.           It's not an

12:54:38    4   opening argument, it's an opening statement to give you an

12:54:41    5   idea of what they expect the evidence is going to show over

12:54:43    6   the course of the trial.

12:54:44    7           Then the Defendant's lawyer will get up and give

12:54:49    8   the Defendant's opening statement.         Again, what the

12:54:52    9   Defendant expects the evidence is going to show you over

12:54:54   10   the course of the trial.

12:54:56   11           Then after that, the Plaintiff will put on the

12:54:58   12   Plaintiff's case.     It's called the Plaintiff's

12:55:00   13   case-in-chief.     And the Plaintiff will call their first

12:55:02   14   witness, and we will go through their witnesses one at a

12:55:05   15   time.

12:55:05   16           And when the Plaintiff is through directly

12:55:08   17   examining each witness, the Defendant will cross-examine

12:55:11   18   those witnesses.     And when the Plaintiff has put on all

12:55:15   19   their witnesses, then the Plaintiff will rest their

12:55:19   20   case-in-chief.

12:55:19   21           At that point, the Defendant will come forward and

12:55:23   22   put on their case-in-chief, and they will call their

12:55:25   23   witnesses, and the defense lawyers will directly examine

12:55:28   24   the defense witnesses and the Plaintiff's lawyers will

12:55:31   25   cross-examine the defense witnesses.         And when all the
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 136 of 142 PageID #:
                                       42448                                         136



12:55:37    1   defense witnesses have been put on, then the Defendants

12:55:39    2   will rest their case-in-chief.

12:55:41    3           Once the Defendant has rested its case-in-chief,

12:55:45    4   then the Plaintiff has an opportunity, if it chooses to, to

12:55:47    5   call what are known as rebuttal witnesses.          And one or more

12:55:51    6   rebuttal witnesses comprise what's called the Plaintiff's

12:55:53    7   rebuttal case.    The Plaintiff doesn't have to do that.           The

12:55:58    8   Plaintiff has the right to do that.

12:55:59    9           If the Plaintiff calls rebuttal witnesses, then

12:56:02   10   we'll go through the same process of direct examination by

12:56:06   11   the Plaintiff's lawyers and cross-examination by the

12:56:09   12   Defendant's lawyers.     And if there's a rebuttal case when

12:56:12   13   the rebuttal witnesses are finished, then the Plaintiff

12:56:14   14   will rest their rebuttal case.

12:56:16   15           If there is no rebuttal case, or when the rebuttal

12:56:19   16   case has been presented and the Plaintiff rests the

12:56:21   17   rebuttal case, then you will have heard all the evidence.

12:56:27   18           And when you've heard all the evidence in this

12:56:29   19   case, I will give you lengthy and detailed instructions on

12:56:32   20   the law that you are to apply.        Those are called the

12:56:37   21   Court's final instructions to the jury.          They're also

12:56:39   22   sometimes called, and you may have heard them referred to,

12:56:42   23   as the Court's charge to the jury.

12:56:44   24           Once I've given you my charge, my final

12:56:47   25   instructions, then counsel for the Plaintiff will present a
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 137 of 142 PageID #:
                                       42449                                         137



12:56:50    1   closing argument, the Defendant will present a closing

12:56:53    2   argument, and then the Plaintiff gets a final closing

12:56:56    3   argument.

12:56:56    4           The Plaintiff gets to go first because the

12:56:59    5   Plaintiff has the burden of proof.         And then once you've

12:57:03    6   heard the closing arguments from both Plaintiff's counsel

12:57:05    7   and defense counsel, then I will instruct you to retire to

12:57:09    8   the jury room, to take the written verdict form with you.

12:57:14    9           And I'm also going to give you your own written

12:57:16   10   copy of the lengthy instructions I'm going to give you

12:57:19   11   orally, and you'll have a written copy for each of the

12:57:22   12   eight of you to look at in the jury room.          And you'll take

12:57:26   13   those eight copies of my instructions, the one copy of the

12:57:29   14   written verdict with the questions in it, and you'll take

12:57:31   15   that to the jury room.

12:57:33   16           And you know what, that's when the light switch

12:57:35   17   switches on, and that's when you're required to discuss the

12:57:38   18   evidence you've heard with each other and answer those

12:57:41   19   questions in the verdict form in the best attempt you can

12:57:45   20   muster to give the Court a unanimous answer to each of

12:57:48   21   those questions, because your answers to those questions

12:57:51   22   have to be unanimous.

12:57:52   23           So that's an overview of how it's going to be

12:57:56   24   structured.

12:57:57   25           Also, while we're covering some basic housekeeping
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 138 of 142 PageID #:
                                       42450                                         138



12:58:02    1   matters, let me tell you this.        I have learned over my time

12:58:08    2   on the bench, and I believe this, that most folks in this

12:58:11    3   part of the world would rather come early and stay late and

12:58:16    4   be away from home and be away from work a shorter number of

12:58:20    5   days than coming late, going home early, and having a much

12:58:20    6   longer period of time that they're coming back and forth

12:58:27    7   and being away from their homes and their works.

12:58:28    8           Some federal courts in big cities where it takes

12:58:31    9   people a long time to get there start at 10:00 o'clock in

12:58:34   10   the morning, and they quit at 4:00 o'clock in the

12:58:37   11   afternoon.   And sometimes in those cases it takes 10 days

12:58:40   12   to what I can do in five days.        And I've learned that

12:58:43   13   people in East Texas would rather be gone five days and

12:58:47   14   work a longer day than be gone 10 days and work a shorter

12:58:51   15   day.

12:58:51   16           So we're going to try as best we can to start each

12:58:55   17   day beginning in the morning, because you're already here

12:58:58   18   today, but we're going to start each day beginning in the

12:59:02   19   morning at 8:30.    And I'm going to ask you to be assembled

12:59:04   20   in the jury room before 8:30 and ready to go at 8:30, which

12:59:08   21   means you probably need to plan to get to the courthouse

12:59:10   22   here in Marshall about 8:15.

12:59:14   23           And there will be breakfast, snacks provided by

12:59:19   24   the clerk's office each morning for you.          And we'll start

12:59:21   25   about 8:30 in the morning.       I'm not going to stop at 4:00
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 139 of 142 PageID #:
                                       42451                                         139



12:59:28    1   o'clock.    I'm not going to stop at 5:00 o'clock.          I'm

12:59:30    2   probably going to stop closer to 6:00 o'clock each day, and

12:59:34    3   then let you be recessed for the day and return to your

12:59:37    4   homes.

12:59:38    5              That's not an exact science.       Let me give you an

12:59:43    6   example.    If we have a witness on the witness stand who

12:59:45    7   starts at 4:30 and they have two hours of testimony to

12:59:51    8   give, I'm going to try to get that testimony complete and

12:59:56    9   not break it so that I can send you home when that witness

12:59:59   10   finishes.

12:59:59   11              I think it's much easier for you to follow the

01:00:02   12   evidence if we don't break the witnesses between different

01:00:08   13   days, and try to have as compact and succinct a narrative

01:00:14   14   of this case and avoid being disjointed and disjunctive if

01:00:17   15   we can.

01:00:18   16              So we may have a witness that finishes at 5:15 and

01:00:24   17   the next witness is two hours long, and I'm not going to

01:00:26   18   start a two-hour witness at 5:15.        So there are days you

01:00:30   19   might be out of here before 6:00 o'clock.

01:00:32   20              There are days you might be out of here at 6:00

01:00:35   21   o'clock or a few minutes after.        I'm just going to have to

01:00:38   22   roll with the punches, as they say, and deal with the

01:00:40   23   witnesses that these parties are going to call as a part of

01:00:43   24   their respective cases to be put on.

01:00:45   25              So don't go home thinking that this will be 9:00
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 140 of 142 PageID #:
                                       42452                                         140



01:00:49    1   to 5:00.     It will probably be a little longer than that.

01:00:52    2   But I promise you if we do that, I think there's a good

01:00:55    3   chance that we can finish this case this week, at the very

01:00:59    4   outside Monday of next week.

01:01:01    5              If I didn't do it this way, it'd probably take all

01:01:04    6   of next week to finish this case.        And to avoid stretching

01:01:09    7   it out over a great number of days -- a greater number of

01:01:12    8   days, I would prefer to do it that way.          And over the last

01:01:16    9   10 years, jurors like yourselves have told me they would

01:01:19   10   prefer to do it that way.

01:01:21   11              So I'm not going to take a poll and I'm not going

01:01:24   12   to ask you to vote, but I'm going to tell you based on

01:01:26   13   that, that's what I intend to do.        And that way you can

01:01:26   14   have an idea of what to expect, and you can have an idea to

01:01:30   15   let everybody that is at home with you know when to expect

01:01:33   16   you and when not to expect you.        I hope that will be

01:01:36   17   helpful to you.

01:01:36   18              All right.    With those instructions, ladies and

01:01:39   19   gentlemen, as I say, lunch should be waiting for you in the

01:01:41   20   jury room.     It's 1:00 o'clock.     We're going to do our best

01:01:47   21   to start back at 1:45.      With that, the jury is excused for

01:01:54   22   lunch.

01:01:55   23              COURT SECURITY OFFICER:     All rise.

01:01:58   24              (Jury out.)

01:02:24   25              THE COURT:    Be seated, please.     Who should I
    Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 141 of 142 PageID #:
                                       42453                                         141



01:02:26    1   expect to present opening statements for the Plaintiff?

01:02:28    2             MR. KLINE:    That would be me, Your Honor.         Doug

01:02:31    3   Kline.

01:02:31    4             THE COURT:    All right.    And who should I expect to

01:02:35    5   present opening for the Defendant?

01:02:37    6             MS. SMITH:    Mr. Sernel.    Marc Sernel.

01:02:40    7             THE COURT:    All right.    All right, counsel, we'll

01:02:41    8   break for lunch and we will reconvene as close to 1:45 as

01:02:46    9   we can.   Are there any questions or issues I need to know

01:02:48   10   about from either Plaintiff or Defendant at this juncture?

01:02:56   11             MR. AROVAS:    No, Your Honor.

01:02:56   12             THE COURT:    All right.    We stand in recess for

01:02:58   13   lunch.

           14             (Recess.)

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25
Case 2:15-cv-01366-JRG-RSP Document 574 Filed 03/19/21 Page 142 of 142 PageID #:
                                   42454                                         142



      1                                CERTIFICATION

      2

      3              I HEREBY CERTIFY that the foregoing is a true and

      4   correct transcript from the stenographic notes of the

      5   proceedings in the above-entitled matter to the best of my

      6   ability.

      7

      8

      9    /S/ Shelly Holmes                               3/15/2021
          SHELLY HOLMES, CSR, TCRR                         Date
     10   OFFICIAL REPORTER
          State of Texas No.: 7804
     11   Expiration Date: 10/31/2021

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25
